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                                                                             Page 1
·1· · · · · · ·UNITED STATES DISTRICT COURT

·2· · · · ·FOR THE WESTERN DISTRICT OF VIRGINIA

·3· · · · · · · ·CHARLOTTESVILLE DIVISION

·4

·5·   ·ELIZABETH SINES, et al.,· )
· ·   · · · · · · · · · · · · · ·)
·6·   · · · · · · Plaintiffs,· · )
· ·   · · · · · · · · · · · · · ·)· Civil Action No.
·7·   · · · vs.· · · · · · · · · ) 3:17-cv-00072-NKM
· ·   · · · · · · · · · · · · · ·)
·8·   ·JASON KESSLER, et al.,· · )
· ·   · · · · · · · · · · · · · ·)
·9·   · · · · · · Defendants.· · )
· ·   ·__________________________)
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13· · · · · · *· *· * CONFIDENTIAL *· *               *

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15· · · · · ·REMOTE VIDEOTAPED DEPOSITION OF

16· · · · · · · · · MICHAEL R. TUBBS

17· · · · · · · · Friday, June 19, 2020

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23· ·STENOGRAPHICALLY REPORTED BY:

24· ·RHONDA HALL-BREUWET, RDR, CRR, LCR, CCR, FPR

25· ·JOB NO. 180543


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                                                                             Page 2
·1
·2
·3
·4· · · · · · · · · · · · ·June 19, 2020
·5· · · · · · · · · · · · ·9:41 a.m.
·6
·7
·8· · · · · · · Remote Videotaped Deposition of
·9· ·MICHAEL R. TUBBS, held before Rhonda
10· ·Hall-Breuwet, Registered Diplomate Reporter,
11· ·Certified Realtime Reporter, Licensed Court
12· ·Reporter (TN), Certified Court Reporter (GA and
13· ·LA), Florida Professional Reporter, and Notary
14· ·Public of the State of Florida.
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                                                                             Page 3
·1· ·A P P E A R A N C E S:
·2· ·ATTORNEYS FOR PLAINTIFFS:
·3· · · · · · ·COOLEY
·4· · · · · · ·55 Hudson Yards
·5· · · · · · ·New York, NY 10001
·6· · · · · · ·BY:· ALAN LEVINE, ESQUIRE
·7· · · · · · · · · GEMMA SEIDITA, ESQUIRE
·8· · · · · · · · · AMANDA LIVERZANI, ESQUIRE
·9
10
11· ·ATTORNEYS FOR DEFENDANTS KESSLER, DAMIGO,
12· ·PARROTT, IDENTITY EVROPA, AND TRADITIONALIST
13· ·WORKER PARTY:
14· · · · · · ·LAW OFFICE OF JAMES E. KOLENICH
15· · · · · · ·9435 Waterstone Boulevard
16· · · · · · ·Cincinnati, Ohio· 45249
17· · · · · · ·BY:· JAMES KOLENICH, ESQUIRE
18
19
20· ·ATTORNEYS FOR DEFENDANT JAMES ALEX FIELDS, JR.:
21· · · · · · ·DUANE, HAUCK, DAVIS, GRAVATT & CAMPBELL
22· · · · · · ·100 West Franklin Street
23· · · · · · ·Richmond, Virginia 23220
24· · · · · · ·BY:· DAVID CAMPBELL, ESQUIRE
25


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                                                                             Page 4
·1· ·ATTORNEYS FOR LEAGUE OF THE SOUTH, MICHAEL
·2· ·HILL, AND MICHAEL TUBBS:
·3· · · · · · ·BRYAN J. JONES
·4· · · · · · ·106 West South Street
·5· · · · · · ·Charlottesville, Virginia 22902
·6· · · · · · ·BY:· BRYAN JONES, ESQUIRE
·7
·8· ·ALSO PRESENT:
·9· · · · · · · KATHY BLEE
10· · · · · · · PETE SIMI
11
12· ·VIDEOGRAPHER:
13· · · · · · · LEM LATTIMER
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                                                                             Page 5
·1· · · --------------- I N D E X -----------------
·2· ·WITNESS:· MICHAEL R. TUBBS
·3· ·EXAMINATION· · · · · · · · · · · · · · · · PAGE
·4· ·BY MR. LEVINE· · · · · · · · · · · · · · · · 12
·5
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·1· · · ·-------------- E X H I B I T S -----------
·2· ·NUMBER· · · · · · · · · · · · · · · · · ·MARKED
·3· ·Exhibit 1· · Second Amended Complaint· · · · 17
·4· ·Exhibit 2· · Statement by Michael Hill· · · ·27
·5· · · · · · · · from League of the South
·6· · · · · · · · Website, dated 2/4/18
·7· ·Exhibit 3· · Statement by Michael Hill· · · ·32
·8· · · · · · · · from League of the South
·9· · · · · · · · Website, dated 8/18/16
10· ·Exhibit 4· · Twitter Post· · · · · · · · · · 34
11· ·Exhibit 5· · Twitter Post· · · · · · · · · · 37
12· ·Exhibit 6· · Twitter Post· · · · · · · · · · 41
13· ·Exhibit 7· · Twitter Post· · · · · · · · · · 43
14· ·Exhibit 8· · Statement by Michael Hill· · · ·53
15· · · · · · · · from League of the South
16· · · · · · · · Website, dated 8/13/18
17· ·Exhibit 9· · Video Burning Talmud and· · · · 60
18· · · · · · · · Flag
19· ·Exhibit 10· ·Message from Michael Hill· · · ·66
20· · · · · · · · to Michael Tubbs, dated
21· · · · · · · · 7/11/17, Bates-stamped
22· · · · · · · · MH00007408
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                                                                             Page 7
·1· · · -------------- E X H I B I T S -----------
·2· ·NUMBER· · · · · · · · · · · · · · · · · ·MARKED
·3· ·Exhibit 11· ·Message from Hill to· · · · · · 70
·4· · · · · · · · Michael Tubbs, dated
·5· · · · · · · · 7/11/17, Bates-stamped
·6· · · · · · · · MH00007410
·7· ·Exhibit 12· ·Email Chain,· · · · · · · · · · 74
·8· · · · · · · · Bates-stamped MH00015529
·9· · · · · · · · - 15530
10· ·Exhibit 13· ·Video of Rally· · · · · · · · ·100
11· ·Exhibit 14· ·Video of Rally· · · · · · · · ·109
12· ·Exhibit 15· ·Video of Rally· · · · · · · · ·110
13· ·Exhibit 16· ·Photograph· · · · · · · · · · ·114
14· ·Exhibit 17· ·Video of Rally· · · · · · · · ·121
15· ·Exhibit 18· ·Video of Rally· · · · · · · · ·126
16· ·Exhibit 19· ·Photograph· · · · · · · · · · ·130
17· ·Exhibit 20· ·Video of Garage Fight· · · · · 133
18· ·Exhibit 21· ·Email from Michael Hill· · · · 139
19· · · · · · · · to Michael Tubbs, dated
20· · · · · · · · 8/27/17, Bates-stamped
21· · · · · · · · MH00015425
22· ·Exhibit 22· ·Message from Michael· · · · · ·142
23· · · · · · · · Tubbs to Brad Griffin Via
24· · · · · · · · VK, dated 2/8/18,
25· · · · · · · · Bates-stamped LOS00053882


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                                                                             Page 8
·1· · -------------- E X H I B I T S -----------
·2· ·NUMBER· · · · · · · · · · · · · · · · · ·MARKED
·3· ·Exhibit 23· ·Message Thread Between· · · · ·147
·4· · · · · · · · Michael Tubbs and Brian
·5· · · · · · · · McCoy, Bates-stamped
·6· · · · · · · · MT00000218 - 220
·7· ·Exhibit 24· ·Message Thread Between· · · · ·153
·8· · · · · · · · Michael Tubbs and
·9· · · · · · · · Charleen Braun,
10· · · · · · · · Bates-stamped MT00000250
11· · · · · · · · - 261
12· ·Exhibit 25· ·Message Thread Between· · · · ·161
13· · · · · · · · Michael Tubbs and Jessica
14· · · · · · · · Reavis, Bates-stamped
15· · · · · · · · MT00000243 - 245
16· ·Exhibit 26· ·Photographs Posted on· · · · · 164
17· · · · · · · · Twitter, Bates-stamped
18· · · · · · · · NOCUSTODIAN00004097
19· ·Exhibit 27· ·Twitter Feed· · · · · · · · · ·169
20· ·Exhibit 28· ·Twitter Feed· · · · · · · · · ·170
21· ·Exhibit 29· ·Twitter Feed· · · · · · · · · ·171
22· ·Exhibit 30· ·Twitter Feed· · · · · · · · · ·171
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·1· · · ·-------------- E X H I B I T S -----------
·2· ·NUMBER· · · · · · · · · · · · · · · · · ·MARKED
·3· ·Exhibit 31· ·Message from Michael· · · · · ·179
·4· · · · · · · · Tubbs to Michelle Tubbs,
·5· · · · · · · · dated 1/15/18,
·6· · · · · · · · Bates-stamped MH00000076
·7· ·Exhibit 32· ·Michael Hill, Michael· · · · · 197
·8· · · · · · · · Tubbs, and League of the
·9· · · · · · · · South's Answers to
10· · · · · · · · Plaintiffs' First Set of
11· · · · · · · · Interrogatories to All
12· · · · · · · · Defendants
13· ·Exhibit 33· ·Michael Tubbs's First· · · · · 199
14· · · · · · · · Supplement to His Answer
15· · · · · · · · to Plaintiffs' First Set
16· · · · · · · · of Interrogatories to All
17· · · · · · · · Defendants
18· ·Exhibit 34· ·Michael Tubbs's Second· · · · ·200
19· · · · · · · · Supplement to His Answer
20· · · · · · · · to Plaintiffs' First Set
21· · · · · · · · of Interrogatories to All
22· · · · · · · · Defendants
23· ·Exhibit 35· ·Email Chain,· · · · · · · · · ·202
24· · · · · · · · Bates-stamped MH00014834
25· · · · · · · · - 835


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·1· · -------------- E X H I B I T S -----------
·2· ·NUMBER· · · · · · · · · · · · · · · · · ·MARKED
·3· ·Exhibit 36· ·VK Profile Log,· · · · · · · · 206
·4· · · · · · · · Bates-stamped MT00000314
·5· · · · · · · · - 324
·6· ·Exhibit 37· ·Messages Between Michael· · · ·207
·7· · · · · · · · Tubbs and Tony Jenkins,
·8· · · · · · · · Bates-stamped MT00000289
·9· · · · · · · · - 291
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                                                                            Page 11
·1· · · · · ·MICHAEL R. TUBBS
·2· · · · THE VIDEOGRAPHER:· Good morning,
·3· ·Counselors.· My name's Lem Lattimer.
·4· ·I'm a legal videographer in association
·5· ·with TSG Reporting.
·6· · · · Due to the severity of COVID-19 and
·7· ·following the practice of social
·8· ·distancing, I will not be in the same
·9· ·room with the witness.· Instead, I will
10· ·record this videotaped deposition
11· ·remotely.· The reporter, Rhonda
12· ·Hall-Breuwet, also will not be in the
13· ·same room and will swear the witness in
14· ·remotely.
15· · · · Do all parties stipulate to the
16· ·validity of this video recording and
17· ·remote swearing and that it will be
18· ·admissible in the courtroom as if it had
19· ·been taken following Rule 30 of the
20· ·Federal Rules of Civil Procedures and
21· ·the state's rules where this case is
22· ·pending?
23· · · · MR. LEVINE:· Yes for the plaintiffs.
24· · · · MR. JONES:· Yes for the defense.
25· · · · THE VIDEOGRAPHER:· Thank you.· This


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·is the start of media labeled Number 1
·3· · · ·of the video-recorded deposition of
·4· · · ·Michael R. Tubbs in the matter of
·5· · · ·Elizabeth Sines, et al., versus Jason
·6· · · ·Kessler, et al., on June the 19th, 2020,
·7· · · ·at approximately 9:41 a.m.· All
·8· · · ·appearances are noted on the record.
·9· · · · · · Will the court reporter please swear
10· · · ·the witness in.
11· · · · · · CERTIFIED STENOGRAPHER:· Raise your
12· · · ·right hand, please.
13· · · · · · Do you solemnly swear the testimony
14· · · ·you are about to give will be the truth,
15· · · ·the whole truth, and nothing but the
16· · · ·truth?
17· · · · · · THE WITNESS:· I do.
18· · · · · · · · ·MICHAEL R. TUBBS,
19· ·acknowledged having been duly sworn to tell
20· ·the truth and testified upon his oath as
21· ·follows:
22· · · · · · · · DIRECT EXAMINATION
23· ·BY MR. LEVINE:
24· · · ·Q.· ·Good morning, Mr. Tubbs.
25· · · ·A.· ·Good morning, sir.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·My name is Alan Levine, and I am
·3· ·senior counsel at Cooley LLP in New York, and
·4· ·I represent plaintiffs in Sines v. Kessler.
·5· · · · · · Have you ever been deposed before?
·6· · · ·A.· ·Yes.
·7· · · ·Q.· ·How many times?
·8· · · ·A.· ·To the best of my recollection,
·9· ·once.
10· · · ·Q.· ·When was that?
11· · · ·A.· ·A few months ago.
12· · · ·Q.· ·What was the case?
13· · · ·A.· ·It involved a accident on my place
14· ·of business.
15· · · ·Q.· ·What kind of case was it?
16· · · ·A.· ·A drunk driver had rear-ended a
17· ·company vehicle.
18· · · ·Q.· ·Where was the deposition taken?
19· · · ·A.· ·In Jacksonville, Florida.
20· · · ·Q.· ·Have you ever testified at any other
21· ·time?
22· · · ·A.· ·Yes, I have.
23· · · ·Q.· ·When was the last time that you
24· ·testified?
25· · · ·A.· ·To the best of my recollection, it


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·might have been around 2015.
·3· · · ·Q.· ·And was that in a court?
·4· · · ·A.· ·Yes.
·5· · · ·Q.· ·Where was the Court?
·6· · · ·A.· ·Jacksonville, Florida.
·7· · · ·Q.· ·Was it a federal court or a state
·8· ·court?
·9· · · ·A.· ·I think it was a state court.
10· · · ·Q.· ·What was the subject of the
11· ·testimony?
12· · · ·A.· ·I had been injured in a construction
13· ·accident, and I had to answer questions
14· ·regarding that accident.
15· · · ·Q.· ·Were you a plaintiff in the case
16· ·involving that accident?
17· · · ·A.· ·I'm not sure.· I was injured.· There
18· ·was no lawsuit or anything involved.
19· · · ·Q.· ·What was the case about?
20· · · ·A.· ·It was about me being injured on the
21· ·job.· I just had to provide details of what
22· ·happened from my point of view.
23· · · ·Q.· ·And what was your -- what was the
24· ·name of your employer at that time?
25· · · ·A.· ·EC Concrete.


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                                                                            Page 15
·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·Spell that.
·3· · · ·A.· ·E as in echo, C as in Charlie,
·4· ·concrete.
·5· · · ·Q.· ·And before that testimony in 2015
·6· ·had you testified at any earlier time in your
·7· ·life, in court?
·8· · · ·A.· ·Not that I recall.
·9· · · ·Q.· ·So if you've testified at least once
10· ·in a deposition, these ground rules may be
11· ·familiar to you, but I just want to identify
12· ·them so that we're all understanding how
13· ·we're going to proceed.· Okay?
14· · · ·A.· ·Yes, sir.
15· · · ·Q.· ·The court reporter, already
16· ·identified herself, is going to be taking
17· ·everything down that is said, everything that
18· ·I say, everything that you say, and
19· ·everything that your lawyer says.· The only
20· ·time when the court reporter will not be
21· ·taking down exactly what is said is if your
22· ·lawyer and I agree to go off the record.· But
23· ·we will not go off the record if a question
24· ·is pending.· So all of your answers to
25· ·questions will be recorded by the reporter.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · · · · Do you understand?
·3· · · ·A.· ·I understand.
·4· · · ·Q.· ·Second, please wait until I finish
·5· ·asking my questions, and I will try to wait
·6· ·until you finish answering my question so
·7· ·that we can give the court reporter the
·8· ·opportunity to get everything recorded that
·9· ·was said.· Okay?
10· · · ·A.· ·Understood.
11· · · ·Q.· ·And if you don't understand a
12· ·question that I ask, then please ask me to
13· ·rephrase the question.· Or if you didn't hear
14· ·it completely, please ask me to have it
15· ·restated for you.· I want you to understand
16· ·the questions that you're answering.· Okay?
17· · · ·A.· ·Understood.
18· · · ·Q.· ·Since we're all remote here, your
19· ·lawyer is listening from a different location
20· ·just like I am, and you need to wait a second
21· ·after I finish a question before you answer
22· ·so that Mr. Jones can offer an objection if
23· ·one is appropriate and he wants to do that.
24· ·Okay?
25· · · ·A.· ·Understood.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·If you need a break at any time,
·3· ·please feel free to let me know, and I will
·4· ·accommodate you so long as there isn't a
·5· ·question pending.· Every question must be
·6· ·asked [sic] before any breaks take place.
·7· ·Okay?
·8· · · ·A.· ·Understood.
·9· · · ·Q.· ·And you understand that you've been
10· ·sworn to tell the truth and you've taken an
11· ·oath to do so, correct?
12· · · ·A.· ·Yes.
13· · · ·Q.· ·Are you under the influence of any
14· ·medication or drugs that would affect your
15· ·ability to testify truthfully and accurately
16· ·today?
17· · · ·A.· ·No, sir.
18· · · ·Q.· ·And is there any other reason that
19· ·you may not be able to testify truthfully and
20· ·accurately today?
21· · · ·A.· ·No, sir.
22· · · · · · (Exhibit Number 1, Second
23· · · · · · Amended Complaint, was marked
24· · · · · · for identification.)
25· ·BY MR. LEVINE:


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·I want to show you Exhibit 1.· This
·3· ·is the cover page of a document titled Second
·4· ·Amended Complaint which identifies you as the
·5· ·defendant in this case.· Are you familiar
·6· ·with it?
·7· · · ·A.· ·It appears to be a document that I
·8· ·have reviewed in the past.
·9· · · ·Q.· ·And you understand that you're a
10· ·defendant in this lawsuit, correct?
11· · · ·A.· ·Yes.
12· · · ·Q.· ·And Mr. Bryan Jones is representing
13· ·you in this lawsuit; is that correct?
14· · · ·A.· ·Yes.
15· · · ·Q.· ·And he is privately retained; is
16· ·that correct?
17· · · ·A.· ·Yes.
18· · · ·Q.· ·What did you do to prepare for
19· ·today's deposition?
20· · · ·A.· ·I was briefed by my attorney.
21· · · ·Q.· ·And how many occasions has that
22· ·happened?
23· · · ·A.· ·I believe twice.
24· · · ·Q.· ·Did you speak with your attorney
25· ·last night about the deposition?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·Yes, I did.· I'm sorry.· Yes, I did.
·3· · · ·Q.· ·And did he describe to you what
·4· ·happened with Mr. Hill's deposition
·5· ·yesterday?
·6· · · · · · MR. JONES:· I'm going to object.
·7· · · ·You don't need to answer that question,
·8· · · ·Mr. Tubbs.· It's privileged.
·9· ·BY MR. LEVINE:
10· · · ·Q.· ·Did you learn -- did you learn,
11· ·Mr. Tubbs, anything about Mr. Hill's
12· ·deposition yesterday?· Yes or no.· I won't
13· ·ask the conversations.
14· · · · · · MR. JONES:· I'm going to object.
15· · · ·That's privileged.· You don't need to
16· · · ·answer, Mr. Tubbs.
17· · · · · · MR. LEVINE:· Okay.· I think I'm
18· · · ·entitled to get an answer whether a
19· · · ·conversation took place.· That's not
20· · · ·privileged.· I'm not going to ask him
21· · · ·what the substance was of the
22· · · ·conversation.
23· · · · · · MR. JONES:· You're asking what the
24· · · ·substance of the conversation --
25· · · · · · MR. LEVINE:· The question -- no, I'm


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·not.· I'm asking whether there was a
·3· · · ·conversation yesterday between -- last
·4· · · ·night between the witness and you about
·5· · · ·Mr. Hill's deposition, not what the
·6· · · ·conversation was.
·7· · · · · · MR. JONES:· You do not need to
·8· · · ·answer, Mr. Tubbs.
·9· ·BY MR. LEVINE:
10· · · ·Q.· ·Other than last night, how many
11· ·times did you talk to your lawyer before
12· ·about this deposition?
13· · · ·A.· ·We might have had a few
14· ·conversations that a deposition was going to
15· ·be happening in the future.
16· · · ·Q.· ·What's your full legal name?
17· · · ·A.· ·Michael Ralph Tubbs.
18· · · ·Q.· ·Have you ever used a different legal
19· ·name?
20· · · ·A.· ·No.
21· · · ·Q.· ·Have you used any other name on
22· ·social media?
23· · · ·A.· ·Yes.
24· · · ·Q.· ·What name?
25· · · ·A.· ·Mike Sable.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·Have you used any other name besides
·3· ·Michael Sable?
·4· · · ·A.· ·Not that I recall.
·5· · · ·Q.· ·Where do you live?
·6· · · ·A.· ·Jacksonville, Florida.
·7· · · ·Q.· ·How long have you lived in
·8· ·Jacksonville, Florida?
·9· · · ·A.· ·The vast majority of my last 60
10· ·years.
11· · · ·Q.· ·Six oh?
12· · · ·A.· ·Six zero years, yes, sir.
13· · · ·Q.· ·And what is the highest level of
14· ·education that you have received?
15· · · ·A.· ·High school.
16· · · ·Q.· ·Did you go after high school to any
17· ·kind of college or vocational school?
18· · · ·A.· ·No.
19· · · ·Q.· ·And where did you graduate from high
20· ·school?
21· · · ·A.· ·Florida Junior College.
22· · · ·Q.· ·And what's your current employment?
23· · · ·A.· ·I'm a safety manager.
24· · · ·Q.· ·What's the name of the company?
25· · · ·A.· ·I would rather not discuss the name


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·of my employer.
·3· · · ·Q.· ·What's the nature of the employer's
·4· ·business?
·5· · · ·A.· ·Construction.
·6· · · ·Q.· ·Where is the construction company?
·7· · · ·A.· ·Jacksonville, Florida.
·8· · · ·Q.· ·And for how long have you been
·9· ·employed there?
10· · · ·A.· ·Approximately four years.
11· · · ·Q.· ·And where were you employed before
12· ·that?
13· · · ·A.· ·Another construction company at
14· ·Jacksonville, Florida.
15· · · ·Q.· ·And what was the name of that
16· ·construction company?
17· · · ·A.· ·I would rather not say.
18· · · ·Q.· ·And what's the nature of the
19· ·construction business that these companies
20· ·have been involved in?
21· · · ·A.· ·Concrete placement.
22· · · ·Q.· ·And is your job as safety -- are you
23· ·a safety foreman?
24· · · ·A.· ·Safety manager.
25· · · ·Q.· ·When did you become safety manager


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·at your current employment?
·3· · · ·A.· ·Upon application.
·4· · · ·Q.· ·Now, are you a member of the League
·5· ·of the South?
·6· · · ·A.· ·I am.
·7· · · ·Q.· ·When did you become a member of the
·8· ·League of the South?
·9· · · ·A.· ·Approximately 2000.
10· · · ·Q.· ·And how did you become a member of
11· ·the League of the South?
12· · · ·A.· ·I paid dues and submitted an
13· ·application.
14· · · ·Q.· ·Who introduced you to the League of
15· ·the South?
16· · · ·A.· ·I attended a rally in Montgomery,
17· ·Alabama, in 2000 and met League members
18· ·there.
19· · · ·Q.· ·Did you meet a man by the name of
20· ·Michael Hill at that time?
21· · · ·A.· ·I saw Michael Hill speak, but I did
22· ·not meet him personally.
23· · · ·Q.· ·And when did you -- following that
24· ·rally, when did you join League of the South?
25· · · ·A.· ·Sometime shortly after I got home


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·from that rally.
·3· · · ·Q.· ·Did you -- why did you join League
·4· ·of the South?
·5· · · ·A.· ·I believe the organization
·6· ·represented best my views about the defense
·7· ·of the South land and her people.
·8· · · ·Q.· ·Did you take -- after the rally did
·9· ·you take any steps to learn anything else
10· ·about League of the South other than what you
11· ·learned at the rally?
12· · · ·A.· ·Yes.
13· · · ·Q.· ·What did you do?
14· · · ·A.· ·I viewed their website.
15· · · ·Q.· ·And did there come a time when you
16· ·met Mr. Hill?
17· · · ·A.· ·Yes.
18· · · ·Q.· ·When?
19· · · ·A.· ·I can't remember the first time I
20· ·actually met Mr. Hill.
21· · · ·Q.· ·Approximately when?
22· · · ·A.· ·It would probably be a couple years
23· ·after 2000.
24· · · ·Q.· ·And did you get active in League of
25· ·the South after you met him?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·Yes.
·3· · · ·Q.· ·And have you attended rallies and
·4· ·talked to Mr. Hill about his vision for
·5· ·League of the South?
·6· · · ·A.· ·Yes.
·7· · · ·Q.· ·And have you read his material that
·8· ·he's posted on the website of League of the
·9· ·South?
10· · · ·A.· ·Yes.
11· · · ·Q.· ·And have you read his material
12· ·that's been published in -- withdrawn.
13· · · · · · Are you familiar with a publication
14· ·called Free Magnolia?
15· · · ·A.· ·Yes, I am.
16· · · ·Q.· ·And what is Free Magnolia?
17· · · ·A.· ·It's an organizational newspaper.
18· · · ·Q.· ·Is it the organizational newspaper
19· ·for League of the South?
20· · · ·A.· ·Yes, it is.
21· · · ·Q.· ·And do you read that regularly?
22· · · ·A.· ·Not as regularly as I should.
23· · · ·Q.· ·So is it -- have you read Mr. Hill's
24· ·statements in Free Magnolia and on the
25· ·website over the last several years?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·I have read many of them.
·3· · · ·Q.· ·And do you subscribe to Mr. Hill's
·4· ·views of the League of the South's vision?
·5· · · ·A.· ·I believe for the most part I do.
·6· · · ·Q.· ·Do you subscribe to Mr. Hill's views
·7· ·of Jews?
·8· · · ·A.· ·I'm not exactly sure what Mr. Hill's
·9· ·views are on Jews.
10· · · ·Q.· ·Do you subscribe to Mr. Hill's views
11· ·of African-Americans?
12· · · ·A.· ·I'm not certain exactly what
13· ·Dr. Hill's views are on African-Americans.
14· · · ·Q.· ·Do you consider yourself a
15· ·Southern/White Nationalist?
16· · · ·A.· ·I consider myself a Southern
17· ·Nationalist.
18· · · ·Q.· ·Do you consider yourself a White
19· ·Nationalist?
20· · · ·A.· ·No, I do not.
21· · · ·Q.· ·What is the difference, in your
22· ·view, between a Southern Nationalist and a
23· ·White Nationalist?
24· · · ·A.· ·In my view only, a Southern
25· ·Nationalist is dedicated to the Southern


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·people and the Southern soil, whereas a
·3· ·generic White Nationalist argues for the
·4· ·defense of whites all over the world.
·5· · · ·Q.· ·So the difference between Southern
·6· ·nationalism and white nationalism to you is
·7· ·solely the soil of the South that you're
·8· ·concerned about?
·9· · · ·A.· ·The people and Southern soil.
10· · · ·Q.· ·But the -- in other respects, the
11· ·views of -- the views of White Nationalists
12· ·in respect to Jews and blacks is something
13· ·that is common to Southern nationalism; is
14· ·that right?
15· · · ·A.· ·I am not aware of any position paper
16· ·held by the League of the South that aligns
17· ·with the views of generic white nationalism
18· ·on that subject.
19· · · · · · MR. LEVINE:· I'm going to show you
20· · · ·an exhibit which we'll mark as
21· · · ·Exhibit 2.
22· · · · · · (Exhibit Number 2, Statement by
23· · · · · · Michael Hill from League of the
24· · · · · · South Website, dated 2/4/18,
25· · · · · · was marked for identification.)


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·BY MR. LEVINE:
·3· · · ·Q.· ·This is a statement by Mr. Hill on
·4· ·the League of the South website from
·5· ·February 2018, and this is -- it says "League
·6· ·of the South Statement on Southern/White
·7· ·Nationalism."
·8· · · · · · Do you want to read that?
·9· · · ·A.· ·You wish for me to read it in its
10· ·entirety here?
11· · · ·Q.· ·Yes.
12· · · ·A.· ·(Reviewing document.)
13· · · ·Q.· ·We can scroll up when you're ready.
14· · · ·A.· ·Scroll to the third paragraph.
15· · · · · · (Reviewing document.)
16· · · · · · Scroll up to the next paragraph.
17· · · · · · (Reviewing document.)
18· · · · · · I'm finished.
19· · · ·Q.· ·So this document is on the League of
20· ·the South website, and it was Mr. Hill's
21· ·statement of -- withdrawn.
22· · · · · · Mr. Hill is president of the League
23· ·of the South, correct?
24· · · ·A.· ·Yes, Mr. Hill is president of the
25· ·League of the South.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·And he has been president of the
·3· ·League of the South for the entire time that
·4· ·you've been a member of it, correct?
·5· · · ·A.· ·Yes.
·6· · · ·Q.· ·So this is a statement of
·7· ·Southern/white nationalism by Mr. Hill on
·8· ·behalf of and for the League of the South.
·9· ·Do you see this?· Have you read it?
10· · · ·A.· ·I read it.
11· · · ·Q.· ·And do you subscribe to the views
12· ·that Mr. Hill describes here?
13· · · ·A.· ·I agree to a point.
14· · · ·Q.· ·In the middle here it says -- do you
15· ·see in the -- in the middle paragraph here
16· ·that starts "but we do not fight only for
17· ·ourselves," do you see that paragraph?
18· · · ·A.· ·Yes, I do.
19· · · ·Q.· ·The sentence at the end of that
20· ·paragraph says, "Our enemies must be
21· ·completely deprived of any footholds or
22· ·bridgeheads in our territory lest they use
23· ·them to renew their attacks against us and
24· ·our posterity."
25· · · · · · Do you see that sentence?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·I see that.
·3· · · ·Q.· ·Do you share this view of the League
·4· ·of the South in respect of that sentence?
·5· · · ·A.· ·I believe that we should do whatever
·6· ·it takes to prevent people from attacking us.
·7· · · ·Q.· ·And who are the enemies that are
·8· ·referred to here as far as you're concerned?
·9· · · ·A.· ·Anyone who attacks us and our
10· ·posterity.
11· · · ·Q.· ·Does that include African-Americans?
12· · · ·A.· ·It probably includes some of them,
13· ·yes.
14· · · ·Q.· ·Does it include Jews?
15· · · ·A.· ·It probably includes some of them,
16· ·yes.
17· · · ·Q.· ·Well, wouldn't you -- do you
18· ·describe yourself as racist?
19· · · ·A.· ·I've never used that term to
20· ·describe myself.
21· · · ·Q.· ·Would you describe yourself as
22· ·racist?
23· · · ·A.· ·Could you define the term "racist."
24· · · ·Q.· ·Sure.· A racist is a belief that
25· ·groups of humans possess different behavioral


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·traits corresponding to physical appearance
·3· ·and can be divided based on superiority of
·4· ·one group over another and a belief that
·5· ·people should be treated differently solely
·6· ·based on those differences.
·7· · · ·A.· ·Where did that definition come from?
·8· ·Did you just create that definition or are
·9· ·you reading it from somewhere?
10· · · ·Q.· ·You asked me to give you a
11· ·definition.· That's the one I'm reading to
12· ·you.
13· · · · · · Do you subscribe to that or not,
14· ·Mr. Tubbs?
15· · · ·A.· ·I am not certain of the authenticity
16· ·or reliability of that definition accurately
17· ·defining racism.
18· · · ·Q.· ·It's irrelevant.· I'm asking you
19· ·whether you have a view that blacks are
20· ·different than whites solely because of their
21· ·color.
22· · · ·A.· ·No, I do not agree to that.
23· · · ·Q.· ·And do you have a view that Jews are
24· ·different than whites and have a prejudice
25· ·against Jews?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·That's two questions there.· Would
·3· ·you like to break that down for me?
·4· · · ·Q.· ·Do you have a prejudice against
·5· ·Jews?
·6· · · ·A.· ·My opinion of Jews is not one of
·7· ·prejudging but from a personal experience.
·8· · · ·Q.· ·Let me show you -- do you have a
·9· ·prejudice against blacks?
10· · · ·A.· ·I treat all people with respect
11· ·until they show me that they do not deserve
12· ·that respect.
13· · · · · · MR. LEVINE:· Let me show you
14· · · ·Exhibit 3.
15· · · · · · (Exhibit Number 3, Statement by
16· · · · · · Michael Hill from League of the
17· · · · · · South Website, dated 8/18/16,
18· · · · · · was marked for identification.)
19· ·BY MR. LEVINE:
20· · · ·Q.· ·This is also from the League of the
21· ·South website, also written by Mr. Hill, on
22· ·or about August 18, 2016.· Please read that.
23· · · ·A.· ·(Reviewing document.)
24· · · · · · Next paragraph.
25· · · · · · (Reviewing document.)


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · · · · I've completed it.
·3· ·BY MR. LEVINE:
·4· · · ·Q.· ·So in the second to the last
·5· ·sentence, Mr. Hill says, "So in direct
·6· ·contradiction to the politically correct
·7· ·dictates of the current day, I pledge to be a
·8· ·White Supremacist, a racist, an anti-Semite,
·9· ·a homophobe, a xenophobe, an Islamophobe, and
10· ·any other sort of phobe that benefits my
11· ·people, so help me God."
12· · · · · · Do you share Mr. Hill's pledge?
13· · · ·A.· ·Well, I am not a -- I'm not afraid
14· ·of homosexuals, foreigners, or Islam, so I
15· ·could not possibly be homophobe, xenophobe,
16· ·or Islamophobe.· The other words I believe
17· ·have been created by our enemies to denigrate
18· ·traditional white Christian Southern beliefs,
19· ·cultures, and lifestyles.
20· · · ·Q.· ·The words -- you mean "White
21· ·Supremacist," "racist," and "anti-Semite"?
22· · · ·A.· ·Yes.
23· · · ·Q.· ·So it's the derivation of those
24· ·words that you object to?
25· · · ·A.· ·I'm sorry.· Will you repeat that


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·question?
·3· · · ·Q.· ·What is it about those words that
·4· ·you don't believe describe your social
·5· ·beliefs?
·6· · · ·A.· ·I just would not use those words to
·7· ·describe myself and my beliefs.
·8· · · ·Q.· ·Do you think it would be fair for
·9· ·someone, knowing what you write and tweet and
10· ·say, to describe you as a racist and an
11· ·anti-Semite?
12· · · · · · MR. JONES:· Object.· It calls for
13· · · ·speculation.
14· ·BY MR. LEVINE:
15· · · ·Q.· ·I'm asking you if it would be fair
16· ·for someone to describe you that way.
17· · · · · · MR. JONES:· Same objection.
18· · · · · · THE WITNESS:· I don't believe so.
19· · · · · · (Exhibit Number 4, Twitter
20· · · · · · Post, was marked for
21· · · · · · identification.)
22· ·BY MR. LEVINE:
23· · · ·Q.· ·Let me show you Exhibit 4.· This
24· ·is -- do you use tweet -- Twitter?
25· · · ·A.· ·Yes, I do.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·And is Michael82379998 your Twitter
·3· ·identity?
·4· · · ·A.· ·Yes.
·5· · · ·Q.· ·For how long have you used Twitter?
·6· · · ·A.· ·I don't recall.· It's not been very
·7· ·long.
·8· · · ·Q.· ·When did you first start using it?
·9· · · ·A.· ·It might have been this year.
10· · · ·Q.· ·You identify this tweet as yours on
11· ·June 2nd?
12· · · ·A.· ·I do.
13· · · ·Q.· ·And do you see you're responding to
14· ·@BaronStrucker?
15· · · ·A.· ·Yes, I do.
16· · · ·Q.· ·It says, "Racism Scale:· Where are
17· ·you?"· And then it has a scale -- it says,
18· ·"Where do you fall?"
19· · · · · · Do you see that?
20· · · ·A.· ·I see that.
21· · · ·Q.· ·And your response to that tweet
22· ·wasn't to pick one of the descriptions on the
23· ·scale that Mr. Strucker put up there; isn't
24· ·that right?
25· · · ·A.· ·Could you repeat that question?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·You didn't identify one of the
·3· ·points of reference on Mr. Strucker's scale,
·4· ·did you?
·5· · · ·A.· ·No, I did not.
·6· · · ·Q.· ·You asked, "Where's literally
·7· ·Hitler" on the scale, correct?"
·8· · · ·A.· ·I did.
·9· · · ·Q.· ·Did you intend to identify yourself
10· ·as "literally Hitler"?
11· · · ·A.· ·No, I did not.
12· · · ·Q.· ·Did you -- how did you come upon
13· ·Mr. Strucker's racism scale?
14· · · ·A.· ·I believe it was just in my feed and
15· ·just popped up.
16· · · ·Q.· ·Do you follow Mr. Strucker's
17· ·racism -- withdrawn.
18· · · · · · Do you follow Mr. Strucker's Twitter
19· ·feeds regularly?
20· · · ·A.· ·I'm sorry.· What was that last part?
21· · · ·Q.· ·Do you follow Mr. Strucker's Twitter
22· ·feeds?
23· · · ·A.· ·I do.
24· · · ·Q.· ·And is he identified with racist
25· ·tweets?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·Again, I'm not sure what the proper
·3· ·definition of "racist" is.
·4· · · ·Q.· ·Well, do you read -- did you read
·5· ·all of his points of reference on the racism
·6· ·scale?
·7· · · ·A.· ·I don't believe I did.
·8· · · · · · MR. LEVINE:· Let's go to Exhibit 4
·9· · · ·[sic].
10· · · · · · THE WITNESS:· Are you going to ask
11· · · ·me why I responded in the way that I
12· · · ·did?
13· · · · · · MR. LEVINE:· No.· Mr. -- Mr. Jones
14· · · ·can ask you questions at the end of the
15· · · ·deposition, Mr. Tubbs.· I'm going to ask
16· · · ·you the questions I want to ask you.
17· · · · · · Let's put up Exhibit 4 [sic].
18· · · · · · (Exhibit Number 5, Twitter
19· · · · · · Post, was marked for
20· · · · · · identification.)
21· ·BY MR. LEVINE:
22· · · ·Q.· ·This is another tweet from you.· Do
23· ·you identify your Twitter identity?
24· · · ·A.· ·Yes, I do.
25· · · ·Q.· ·And this is a -- the tweet that you


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·responded to was -- the Twitter identity is
·3· ·@REAl_youngGeo, and it says, "I talked about
·4· ·this in 2017 and no one talked about it then.
·5· ·Now that we have the world's attention, let's
·6· ·shine light on the slave trade that currently
·7· ·going on in Libya and we don't see it all
·8· ·over the social media."
·9· · · · · · And then there are four pictures of
10· ·black men in cages and marching and being
11· ·grouped as part of the slave trade in Libya.
12· ·Did you see that at the time?
13· · · ·A.· ·I see those pictures, yes.
14· · · ·Q.· ·And you tweeted in response to those
15· ·pictures, "Good for Libya," correct?
16· · · ·A.· ·I did.· I don't know that those
17· ·pictures are real pictures from Libya.
18· · · ·Q.· ·Whether they were real or not you
19· ·tweeted, "Good for Libya," correct?
20· · · ·A.· ·Libya is a sovereign company that
21· ·can run its affairs the way it wishes to.
22· ·It's none of our business.
23· · · ·Q.· ·You were applauding Libya's use of
24· ·slave trade; isn't that right?
25· · · ·A.· ·I am glad that Libya is still a


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·sovereign country.
·3· · · ·Q.· ·You were applauding Libya's use of
·4· ·slave trade; isn't that right?
·5· · · ·A.· ·I really don't know anything about
·6· ·the slave trade in Libya.
·7· · · ·Q.· ·You tweeted, "Good for Libya" in
·8· ·response to a tweet that Libya was using
·9· ·slave trade, correct?
10· · · ·A.· ·I did.
11· · · ·Q.· ·So you were applauding Libya's use
12· ·of slave trade; isn't that right?
13· · · ·A.· ·I did not know at the time whether
14· ·Libya really had a slave trade or not.
15· · · ·Q.· ·It doesn't matter whether you knew
16· ·it at the time.· Isn't it a fact that you
17· ·applauded what you saw in the tweet about
18· ·Libya's slave trade?
19· · · ·A.· ·I am happy that Libya is a sovereign
20· ·country and in charge of its own affairs to
21· ·be administered as it feels is right.
22· · · ·Q.· ·I'm asking you, Mr. Tubbs, to answer
23· ·my question.· Isn't it a fact that you
24· ·applauded Libya's use of slave trade, and
25· ·that's what you meant --


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · · · · MR. JONES:· Asked and answered.
·3· ·BY MR. LEVINE:
·4· · · ·Q.· ·-- when you said, "Good for Libya"?
·5· · · ·A.· ·My response does not mention the
·6· ·Libyan slave trade at all.· I'm referring to
·7· ·the sovereign actions of the state of Libya
·8· ·and its maintenance of its own affairs.
·9· ·Nobody has any business interfering with
10· ·Libya's sovereignty or their internal
11· ·affairs.
12· · · ·Q.· ·I'm not asking you, Mr. Tubbs, who's
13· ·interfering or not.· I'm asking you the
14· ·meaning of your tweet responding to these
15· ·pictures.· You were applauding --
16· · · ·A.· ·And I just told you, sir.
17· · · ·Q.· ·You were applauding their use of
18· ·slave trade.· Isn't that right?
19· · · · · · MR. JONES:· Objection.· Asked and
20· · · ·answered.
21· ·BY MR. LEVINE:
22· · · ·Q.· ·Answer it.
23· · · ·A.· ·You're putting words in my mouth.                  I
24· ·explained to you what my statement meant.
25· · · ·Q.· ·Let's show Exhibit 5 -- oh,


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·Exhibit 6.· I'm sorry.
·3· · · · · · (Exhibit Number 6, Twitter
·4· · · · · · Post, was marked for
·5· · · · · · identification.)
·6· ·BY MR. LEVINE:
·7· · · ·Q.· ·This is another tweet from
·8· ·Mr. Strucker, and you are retweeting
·9· ·@industrial134716H, and what you're
10· ·retweeting is, "Black women won the American
11· ·debating championship with this," and then a
12· ·picture.· "Allow yourself to be dazzled by
13· ·their debating skills.· The writing's been on
14· ·the wall for a long time."· And you tweeted
15· ·the words:· "Africans are not capable of
16· ·Western civilization"; is that correct?
17· · · ·A.· ·I don't see that statement anywhere.
18· · · ·Q.· ·Did you see on the top your
19· ·statement, "Africans are not capable of
20· ·Western civilization"?
21· · · ·A.· ·I see that now.
22· · · ·Q.· ·So you retweeted that, correct?
23· · · ·A.· ·It appears so.
24· · · ·Q.· ·So by retweeting it would you say
25· ·you adopted that position?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·I was mostly interested in the --
·3· ·what was portrayed in the video.
·4· · · ·Q.· ·Isn't it a fact that when people
·5· ·retweet statements it's generally understood
·6· ·that they're adopting them?
·7· · · ·A.· ·No, sir.· I don't believe that at
·8· ·all.
·9· · · ·Q.· ·Did you retweet it with the
10· ·statement "I don't agree"?
11· · · ·A.· ·No, sir, I did not.
12· · · ·Q.· ·You retweeted the statement,
13· ·"Africans are not capable of Western
14· ·civilization," correct?
15· · · ·A.· ·It appears so.
16· · · ·Q.· ·Do you believe Africans are not
17· ·capable of Western civilization?
18· · · ·A.· ·I don't see any duplications of
19· ·Western civilization on the continent of
20· ·Africa.
21· · · ·Q.· ·Do you believe that Africans are not
22· ·capable of Western civilization?
23· · · ·A.· ·I have not seen any examples
24· ·equating to Western civilization on the
25· ·continent of Africa.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · · · · MR. LEVINE:· Let's go to the next
·3· · · ·exhibit, Number 7.
·4· · · · · · (Exhibit Number 7, Twitter
·5· · · · · · Post, was marked for
·6· · · · · · identification.)
·7· ·BY MR. LEVINE:
·8· · · ·Q.· ·This is a tweet.· Do you recognize
·9· ·your Twitter identity here?
10· · · ·A.· ·Yes, I do.
11· · · ·Q.· ·And you're responding to a tweet
12· ·from the Snow Duchess which says, "Regarding
13· ·the many statutes being desecrated, painted,
14· ·pulled to the ground, all over the Western
15· ·world, name any statues or memorials that
16· ·offend you as a white person."
17· · · · · · Did you see that?
18· · · ·A.· ·Yes, I do.
19· · · ·Q.· ·And you first tweeted "Every
20· ·Holohoax memorial," correct?
21· · · ·A.· ·Yes.· Yes, I did.
22· · · ·Q.· ·And what were you referring to as a
23· ·Holohoax memorial?
24· · · ·A.· ·Any memorial to the so-called
25· ·Holohoax, Holocaust.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·What's the Holohoax, sir?
·3· · · ·A.· ·The so-called Holocaust.
·4· · · ·Q.· ·And what was the Holocaust?
·5· · · ·A.· ·Well, this particular Holocaust
·6· ·refers to the alleged extermination of Jews
·7· ·in Europe during World War II.
·8· · · ·Q.· ·Do you believe that didn't take
·9· ·place?
10· · · ·A.· ·When you say "that," what are you
11· ·referring to?
12· · · ·Q.· ·Do you believe the Holocaust did not
13· ·take place?
14· · · ·A.· ·I don't believe many of the stories
15· ·that are equated to the Holocaust.
16· · · ·Q.· ·Do you believe the basic fact that
17· ·approximately 6 million Jews were
18· ·exterminated in Europe during World War II by
19· ·the Germans?
20· · · ·A.· ·I follow the understanding of
21· ·several prominent Jews who debate the 6
22· ·million figure.
23· · · ·Q.· ·Do you dispute -- so you dispute the
24· ·fact that the Holocaust took place?
25· · · ·A.· ·That's not what I said.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·So what -- what's your view of the
·3· ·Holocaust, sir?
·4· · · ·A.· ·I don't believe that any Holocaust
·5· ·memorials belong in the United States.· They
·6· ·are offensive to me.
·7· · · ·Q.· ·Who were the several quote -- the
·8· ·"several prominent Jews" who debate this fact
·9· ·of 6 million --
10· · · ·A.· ·I don't have the names.
11· · · ·Q.· ·-- that you were referring to?
12· · · ·A.· ·I don't have their names in front of
13· ·me right now.
14· · · ·Q.· ·Where did you read that?
15· · · ·A.· ·There is multiple sources.
16· · · ·Q.· ·Do you believe that the Germans
17· ·exterminated millions of Jews solely because
18· ·they were Jews during World War II?
19· · · ·A.· ·I'm certain that there are many Jews
20· ·who died in World War II at the hands of the
21· ·Nazis.
22· · · ·Q.· ·Do you believe they were killed
23· ·solely because they were Jews?
24· · · ·A.· ·No.
25· · · ·Q.· ·So you don't believe that Hitler, on


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·behalf of Nazi Germany, killed Jews in
·3· ·Germany, their own German citizens that were
·4· ·Jews, solely because they were Jews?
·5· · · ·A.· ·I believe that there were no mass
·6· ·killings in Germany at that time.
·7· · · ·Q.· ·So your belief is that the
·8· ·concentration camps and the crematoriums
·9· ·didn't actually exist?
10· · · ·A.· ·You had said in Germany.· None of
11· ·those alleged extermination camps were in
12· ·Germany.
13· · · ·Q.· ·That's not true, but whether they
14· ·were in Germany or in Poland, is it your
15· ·testimony that there weren't concentration
16· ·camps and crematoriums that actually existed
17· ·that exterminated Jews -- where Jews were
18· ·exterminated?
19· · · ·A.· ·Could you rephrase that question?
20· · · ·Q.· ·Is it your belief that the Germans
21· ·did not create concentration camps and
22· ·crematoriums in Germany and Poland at which
23· ·they exterminated Jews solely for being Jews?
24· · · ·A.· ·I don't believe that answer includes
25· ·the soil of Germany.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·And going back to -- so you object
·3· ·to Holocaust memorials, memorial statues, and
·4· ·buildings?
·5· · · ·A.· ·Yes, I do.· I find it offensive.
·6· · · ·Q.· ·Why do you find them offensive?
·7· · · ·A.· ·I believe that those memorials
·8· ·belong in Europe.
·9· · · ·Q.· ·And you also tweeted in response to
10· ·the Snow Duchess, "Every MLK statue," did you
11· ·not?
12· · · ·A.· ·I did.
13· · · ·Q.· ·And what does MLK stand for?
14· · · ·A.· ·Martin Luther King.
15· · · ·Q.· ·And what's your objection to Martin
16· ·Luther King statues?
17· · · ·A.· ·I understand that he was a
18· ·Communist, a plagiarizer, a liar and a
19· ·whoremonger, and I don't believe that he
20· ·represents American values, nor do I believe
21· ·that he should have been memorialized.
22· · · ·Q.· ·He was a black preacher who was a
23· ·leader of African-Americans in the United
24· ·States and others.· Isn't that correct?
25· · · ·A.· ·Yes, he was.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·And does that -- statues to him
·3· ·offend you?
·4· · · ·A.· ·Yes, they do.
·5· · · ·Q.· ·Why do they offend you?
·6· · · ·A.· ·I believe -- I will repeat my
·7· ·answer.· Because Martin Luther King Jr. was a
·8· ·Communist, a plagiarizer, a whoremonger, a
·9· ·liar, and a Communist revolutionary.
10· · · ·Q.· ·And did you -- in 2017 did you have
11· ·a position with League of the South?
12· · · ·A.· ·Could you define position?
13· · · ·Q.· ·You were in League of the South,
14· ·correct, in 2017?
15· · · ·A.· ·I was in the League of the South,
16· ·yes.
17· · · ·Q.· ·And did Mr. Hill, as president of
18· ·League of the South, give you any position --
19· ·official position in League of the South?
20· · · ·A.· ·Yes, he did.
21· · · ·Q.· ·What position did he give you?
22· · · ·A.· ·Chief of staff.
23· · · ·Q.· ·And what did the responsibilities of
24· ·chief of staff include?
25· · · ·A.· ·Basically to organize a national


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·staff for the assistance of Dr. Hill and to
·3· ·help organize the state chapters.
·4· · · ·Q.· ·And during 2017, what kinds of
·5· ·activities did you take in furtherance of
·6· ·that job?
·7· · · ·A.· ·The only duties I recall are
·8· ·preparations for the activities in
·9· ·Charlottesville.
10· · · ·Q.· ·And please describe for me in your
11· ·own words what those preparations were that
12· ·you took.
13· · · ·A.· ·Dr. Hill asked me to give a briefing
14· ·to everyone the night before the rally to
15· ·discuss -- to highlight points that he made
16· ·in his 7 August statement to -- to League
17· ·members on the League of the South website.
18· · · ·Q.· ·Before -- did you have anything else
19· ·to do before the night before, as chief of
20· ·staff?
21· · · ·A.· ·I attended a meeting of leadership
22· ·to plan how we were going to convoy to
23· ·Charlottesville and how we were going to
24· ·maintain that convoy, where we were going to
25· ·meet, how we were going to -- where we were


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·going to rally, how we were going to exit
·3· ·Charlottesville in return.
·4· · · ·Q.· ·And who attended that meeting of
·5· ·leadership?
·6· · · ·A.· ·I don't recall everyone who was
·7· ·present, but I recall Dr. Hill, Ike Baker,
·8· ·Matthew Heimbach, and there were others
·9· ·there, but I don't recall who they were.
10· · · ·Q.· ·Where did the meeting take place?
11· · · ·A.· ·It took place in a cabin at a remote
12· ·resort.· The name escapes me.
13· · · ·Q.· ·When did the meeting take place?
14· · · ·A.· ·It took place on the night of Friday
15· ·11 August, very late.· I arrived at the
16· ·meeting late.· It had already been in
17· ·progress.
18· · · ·Q.· ·Was there any meetings or activities
19· ·that you took part in before that weekend in
20· ·your position as chief of staff?
21· · · ·A.· ·Relating to what, sir?
22· · · ·Q.· ·Relating to the plans to Unite the
23· ·Right.
24· · · ·A.· ·As I recall, my only responsibility
25· ·was really to notify members of the Florida


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·League of the South about what was happening,
·3· ·where it was going to take place, where our
·4· ·launchings were going to be, what time to be
·5· ·there, etc.
·6· · · ·Q.· ·Just going back to the League of the
·7· ·South generally, did you learn in the spring
·8· ·of 2017 that the League of the South formed
·9· ·an alliance with the Traditional Workers
10· ·Party, the National Socialist Movement, and
11· ·Vanguard America called The National Front?
12· · · ·A.· ·Yes, I was.
13· · · ·Q.· ·And were you in favor of that
14· ·alliance at the time?
15· · · ·A.· ·No, I was not.
16· · · ·Q.· ·Did you nonetheless participate in
17· ·League of the South's activities with those
18· ·groups?
19· · · ·A.· ·Yes, I did.
20· · · ·Q.· ·And did you learn sometime in the
21· ·summer of 2018 that Mr. Hill disassociated
22· ·League of the South from that group?
23· · · ·A.· ·Yes, I did.
24· · · ·Q.· ·But for purposes of the Unite the
25· ·Right rally, did that alliance exist?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·Yes, it did.
·3· · · ·Q.· ·And you worked with representatives
·4· ·of all three of those organizations in
·5· ·planning for the march; is that correct?
·6· · · ·A.· ·No, sir.· I had no role with those
·7· ·organizations in planning other than the
·8· ·meeting of Friday the 11th.
·9· · · ·Q.· ·The meeting of Friday the 11th was
10· ·planning for the events of the 12th, correct?
11· · · ·A.· ·It was planning solely on the
12· ·logistics of the convoy to Charlottesville
13· ·and the return, as far as I remember.
14· · · ·Q.· ·Included in that meeting was
15· ·Mr. Heimbach, correct?
16· · · ·A.· ·Yes.
17· · · ·Q.· ·And he was there for the Traditional
18· ·Workers Party, correct?
19· · · ·A.· ·Yes.
20· · · ·Q.· ·And was Jeffrey Schoep there on
21· ·behalf of National Socialist Movement?
22· · · ·A.· ·I don't recall remembering his face
23· ·being there.
24· · · ·Q.· ·Was -- do you recall anybody being
25· ·there for NSM?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·No, I don't.
·3· · · ·Q.· ·Do you recall Mr. Russo being there
·4· ·from Vanguard America?
·5· · · ·A.· ·I'm sorry.· Repeat that, please.
·6· · · ·Q.· ·Was Mr. Russo present from Vanguard
·7· ·America?
·8· · · ·A.· ·I don't know who Mr. Russo is.
·9· · · · · · MR. LEVINE:· Let's go to Exhibit 8.
10· · · · · · (Exhibit Number 8, Statement by
11· · · · · · Michael Hill from League of the
12· · · · · · South Website, dated 8/13/18,
13· · · · · · was marked for identification.)
14· ·BY MR. LEVINE:
15· · · ·Q.· ·This is posted on August 13, 2018,
16· ·by Mr. Hill on behalf of the League of the
17· ·South.· You want to read it, please?
18· · · ·A.· ·Yeah.
19· · · · · · (Reviewing document.)
20· · · · · · Can you bring that back down a
21· ·little bit.
22· · · · · · (Reviewing document.)
23· · · · · · I've completed it.
24· · · ·Q.· ·So in the middle there of the second
25· ·to the last paragraph it says, "Rather, we,"


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·referring to the League of the South, "see
·3· ·ourselves as the heart and soul of the Hard
·4· ·Right, an uncompromising movement of real
·5· ·blood and soil Southern/White Nationalists
·6· ·who will not compromise our vision of a
·7· ·Southern homeland for Whites.· To us, Dixie
·8· ·is and should be White Man's Land.· We are
·9· ·firm on the Negro Question and the Jew
10· ·Question.· And we make no apologies to anyone
11· ·for what we believe or what we seek to
12· ·accomplish for our people."
13· · · · · · Do you remember reading this post by
14· ·Mr. Hill on the League of the South website?
15· · · ·A.· ·It's been a while.· I vaguely recall
16· ·some of it.
17· · · ·Q.· ·And do you subscribe to Mr. Hill's
18· ·description of the League of the South's and
19· ·its memberships' views as I just read?
20· · · ·A.· ·We have no official position papers
21· ·in the League of the South clarifying this.
22· · · ·Q.· ·I'm not asking you whether there are
23· ·official position papers other than this
24· ·document which appeared on the League of the
25· ·South website, correct?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·You're asking me if you were correct
·3· ·in your question?
·4· · · ·Q.· ·This document appears on the League
·5· ·of the South website, correct?
·6· · · ·A.· ·It appears so, yes.
·7· · · ·Q.· ·And it's authored by the president
·8· ·of the League of the South, correct?
·9· · · ·A.· ·It appears to be, yes.
10· · · ·Q.· ·You wouldn't consider this a
11· ·position paper of the League of the South?
12· · · ·A.· ·No, sir.· Our official position
13· ·papers are listed in a separate category.
14· ·This is the opinion of the president of the
15· ·League of the South.
16· · · ·Q.· ·Do you share his opinions as
17· ·describing the League of the South's views?
18· · · ·A.· ·Could you be more specific in which
19· ·part of it?
20· · · ·Q.· ·The sentence I just read, sir.                     I
21· ·read you only one -- I read you two
22· ·sentences, three sentences.· I want you to
23· ·focus on those three sentences, starting with
24· ·the word "rather," and ending at the end of
25· ·the paragraph with the word "people."


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · · · · Mr. Hill says, "we," referring to
·3· ·the League of the South.· You're a member of
·4· ·the League of the South, correct?
·5· · · ·A.· ·Yes, I am.
·6· · · ·Q.· ·He says, "We see ourselves as the
·7· ·heart and soul of the Hard Right."· Do you
·8· ·agree with that?
·9· · · ·A.· ·I believe the League of the South is
10· ·the strongest element of those who
11· ·participated at Charlottesville.
12· · · ·Q.· ·Do you consider League of the South
13· ·the heart and soul of the Hard Right?
14· · · ·A.· ·I'm not certain what
15· ·compromises the -- or comprises the Hard
16· ·Right.
17· · · ·Q.· ·Do you agree that the movement that
18· ·League of the South is part of is "a movement
19· ·of real blood and soil Southern/White
20· ·Nationalists who will not compromise the
21· ·vision of a Southern homeland for Whites"?
22· · · ·A.· ·I believe that the League of the
23· ·South is composed of Southern Nationalists
24· ·who want a homeland for our people.
25· · · ·Q.· ·And do you subscribe to the


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·reference "blood and soil"?
·3· · · ·A.· ·I do.
·4· · · ·Q.· ·Do you know the derivation of the
·5· ·words "blood and soil"?
·6· · · ·A.· ·I believe that when referring to
·7· ·blood, it refers to the blood of the Southern
·8· ·people and the soil on which we live.
·9· · · ·Q.· ·And do you -- do you know that the
10· ·term "blood and soil" was first described in
11· ·Germany by a German political philosopher by
12· ·the name of Darré, and it was used as a
13· ·slogan for Nazi Germany?
14· · · ·A.· ·I have heard that the term has been
15· ·used before by other Nationalist
16· ·organizations.
17· · · ·Q.· ·Do you know that it was used by Nazi
18· ·Germany?
19· · · ·A.· ·Yes, I do.
20· · · ·Q.· ·Now, the second sentence of
21· ·Dr. Hill's statement, his second and third
22· ·sentence is, "To us, Dixie is and should be
23· ·White Man's Land."
24· · · · · · Do you agree with that?
25· · · ·A.· ·For the most part, yes, I do.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·And then it says "We," referring to
·3· ·League of the South, "are firm on the Negro
·4· ·Question and the Jew Question."
·5· · · · · · Do you see that?
·6· · · ·A.· ·Yes, I do.
·7· · · ·Q.· ·What do you understand the "Negro
·8· ·Question" to be?
·9· · · ·A.· ·I don't know for sure.· It's never
10· ·been posted in a League position paper
11· ·defining it.
12· · · ·Q.· ·What do you believe it to be?
13· · · ·A.· ·I'm not sure that I understand it to
14· ·mean what Dr. Hill means it to be.
15· · · ·Q.· ·What do you think Dr. Hill means it
16· ·to be?
17· · · ·A.· ·I -- I don't know.
18· · · ·Q.· ·In all of the conversations with
19· ·Dr. Hill and all of the rallies and speeches
20· ·that you've attended where he has spoken and
21· ·all of the material that you've read that he
22· ·has posted, you don't know what Dr. Hill
23· ·means when he refers to the words "Negro
24· ·Question"?
25· · · ·A.· ·I believe this might be the first


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·time I've seen the terms "Negro Question" and
·3· ·"Jew Question" in a League document.
·4· · · ·Q.· ·So what do you believe Dr. Hill
·5· ·means when he refers to the "Jew Question"?
·6· · · ·A.· ·I can't speak for Dr. Hill.
·7· · · ·Q.· ·What do you understand -- when you
·8· ·read the words "Jew Question" in this
·9· ·paragraph, what do you understand them to
10· ·mean?
11· · · ·A.· ·I understand it to mean that there
12· ·are Jews who are working towards our
13· ·destruction as a people.
14· · · ·Q.· ·And because of that you have an
15· ·animus towards them?
16· · · ·A.· ·I would have an animus towards
17· ·anyone who seeks my destruction.
18· · · ·Q.· ·But do you have an animus towards
19· ·Jews because you believe they're working
20· ·towards your destruction?
21· · · ·A.· ·Yes, I do.
22· · · ·Q.· ·And that applies to all the Jews
23· ·basically; isn't that right?
24· · · ·A.· ·I don't know about all Jews.
25· · · · · · MR. LEVINE:· Let me show you


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Exhibit 9.
·3· · · · · · (Exhibit Number 9, Video
·4· · · · · · Burning Talmud and Flag, was
·5· · · · · · marked for identification.)
·6· ·BY MR. LEVINE:
·7· · · ·Q.· ·I'm going to play a video for you,
·8· ·Mr. Tubbs.· Please listen to it.· Watch it,
·9· ·and then I'll ask you some questions when
10· ·we're done.
11· · · · · · (Video playing.)
12· ·BY MR. LEVINE:
13· · · ·Q.· ·Mr. Tubbs, that took place in
14· ·Tennessee.· It was a League event in August
15· ·of 2018.· Did you attend that event?
16· · · ·A.· ·No, I did not.
17· · · ·Q.· ·Have you seen this YouTube video
18· ·before about this speech?
19· · · ·A.· ·Yes, I have.
20· · · ·Q.· ·When did you see it?
21· · · ·A.· ·I don't recall, but it was probably
22· ·shortly after the event.
23· · · ·Q.· ·And where did you see it?
24· · · ·A.· ·Probably on my computer.
25· · · ·Q.· ·And how did you learn of it to go


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·look for it on YouTube?
·3· · · ·A.· ·I don't recall.
·4· · · ·Q.· ·Well, do you recall one of the
·5· ·people from League of the South telling you
·6· ·about it?
·7· · · ·A.· ·I'm certain that somebody in the
·8· ·League of the South had to tell me about it.
·9· · · ·Q.· ·Do you see at the very -- at the
10· ·very end -- withdrawn.
11· · · · · · On the screen here we have the text
12· ·that we have transcribed of Mr. Hill's
13· ·statement.· Was there anything about
14· ·Mr. Hill's statement that you saw on the
15· ·YouTube at the time that you saw it and at
16· ·the time you're hearing it now that you
17· ·disagreed with?
18· · · ·A.· ·Well, with all due respect to our
19· ·president, Dr. Hill, this video caused a lot
20· ·of conflict within the League.
21· · · ·Q.· ·I asked you whether you disagreed
22· ·with any of it.
23· · · ·A.· ·Yes, I do.
24· · · ·Q.· ·What did you disagree with?
25· · · ·A.· ·I don't believe that the video


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·should have taken place.
·3· · · ·Q.· ·Why?
·4· · · ·A.· ·I don't believe it looked -- I don't
·5· ·believe it represented the League of the
·6· ·South very well.
·7· · · ·Q.· ·Is there anything that Dr. Hill said
·8· ·that you don't agree with?
·9· · · ·A.· ·No.· I agree with it.
10· · · ·Q.· ·And he said, "For the Gentiles of
11· ·the world, we stand for the White race
12· ·against all of our enemies, particularly the
13· ·Jew," correct?
14· · · ·A.· ·He did say that, yes.
15· · · ·Q.· ·And you agree with that?
16· · · ·A.· ·I do.
17· · · · · · MR. LEVINE:· Let's take a
18· · · ·five-minute break right now.· We'll go
19· · · ·off the record.
20· · · · · · THE VIDEOGRAPHER:· The time is
21· · · ·10:55 a.m.· We're off the record.
22· · · · · · (Off the record from 10:55 a.m.
23· · · · · · to 11:01 a.m.)
24· · · · · · THE VIDEOGRAPHER:· The time is 11:02
25· · · ·a.m.· We're on the record.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·BY MR. LEVINE:
·3· · · ·Q.· ·Mr. Tubbs, you testified just a few
·4· ·minutes ago that Mr. Hill asked you to be
·5· ·chief of operations, I think you said, for
·6· ·Unite the Right rally; is that correct?
·7· · · ·A.· ·I was already chief of staff for the
·8· ·organization before that.
·9· · · ·Q.· ·What did he ask you to do for the
10· ·Unite the Right rally?
11· · · ·A.· ·Very little that I recall.· Mostly
12· ·organize the Florida League of the South to
13· ·get to the location and get them lodged and
14· ·had me conduct a briefing the night before.
15· · · ·Q.· ·Did you understand as chief of staff
16· ·for League of the South that you would be the
17· ·leader of the -- of the people attending for
18· ·League of the South in the march?
19· · · ·A.· ·That was not my understanding, no.
20· · · ·Q.· ·Did that --
21· · · ·A.· ·Not --
22· · · ·Q.· ·Did you end up being in charge of
23· ·the marchers?
24· · · ·A.· ·I ended up being in charge of a
25· ·small segment of the marchers.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·What segment of marchers were you in
·3· ·charge of?
·4· · · ·A.· ·That would include the people
·5· ·defending the stairway to the park against
·6· ·the rioters.
·7· · · ·Q.· ·I'm saying, the marchers down the
·8· ·street, were you leading the group of
·9· ·marchers from League of the South?
10· · · ·A.· ·I was in the front of the column
11· ·with Dr. Hill and Matthew Heimbach.
12· · · ·Q.· ·And the briefing that you gave the
13· ·night before was given to whom again?
14· · · ·A.· ·I don't have a list of all that were
15· ·in attendance, but it was the vast majority,
16· ·if not all of the people who were lodged in
17· ·our location that night.
18· · · ·Q.· ·Did you give a briefing to people
19· ·from TWP and NSM?
20· · · ·A.· ·I don't recall who was present there
21· ·for that meeting.
22· · · ·Q.· ·Did you have any conversations with
23· ·Mr. Schoep or Mr. Heimbach before the events
24· ·about what was to be expected on August 12?
25· · · ·A.· ·Are you speaking of during the night


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·of the 11th?
·3· · · ·Q.· ·No.· Before, sir.
·4· · · ·A.· ·No.· I don't believe that I had ever
·5· ·spoken to Mr. Schoep before the meeting in
·6· ·Charlottesville, if then, and I was not
·7· ·responsible for communicating with Matt
·8· ·Heimbach, as far as I recall.
·9· · · ·Q.· ·Did you coordinate with --
10· ·withdrawn.
11· · · · · · Do you know Ike Baker?
12· · · ·A.· ·Yes, I do.
13· · · ·Q.· ·Who is Ike Baker?
14· · · ·A.· ·Ike Baker is currently the chief of
15· ·operations for the League of the South.
16· · · ·Q.· ·In August of 2017 what was Ike
17· ·Baker's position?
18· · · ·A.· ·I don't recall if he had an actual
19· ·position, if you are referring to an
20· ·officer's position.
21· · · ·Q.· ·Did he have a position at the Unite
22· ·the Right rally for League of the South at
23· ·Mr. Hill's request?
24· · · ·A.· ·Can you define position?
25· · · ·Q.· ·Did he have responsibility at the


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·Unite the Right rally for any part of the
·3· ·operations --
·4· · · ·A.· ·Yes, he did.
·5· · · ·Q.· ·-- at Mr. Hill's request?
·6· · · ·A.· ·Yes, he did.
·7· · · · · · MR. LEVINE:· I'm going to show you
·8· · · ·Exhibit 10.
·9· · · · · · (Exhibit Number 10, Message
10· · · · · · from Michael Hill to Michael
11· · · · · · Tubbs, dated 7/11/17,
12· · · · · · Bates-stamped MH00007408, was
13· · · · · · marked for identification.)
14· ·BY MR. LEVINE:
15· · · ·Q.· ·Is this a message from Mr. Hill to
16· ·you on or about July 11?
17· · · ·A.· ·It appears to be.
18· · · ·Q.· ·And what does the number 9044830634
19· ·refer to?· Is that your -- one of your
20· ·identifications?
21· · · ·A.· ·That's a phone number.
22· · · ·Q.· ·And is this a text between you and
23· ·Dr. Hill?
24· · · ·A.· ·I don't know.· I've never seen
25· ·something that appears in this format, to the


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·best of my recollection.
·3· · · ·Q.· ·So the text is from Dr. Hill to you,
·4· ·and it says, "Yes, an official policy on that
·5· ·subject would be beneficial.· Ike did a great
·6· ·job prepping the cops for our presence in
·7· ·Pikeville.· Speaking of the Charlottesville
·8· ·event, I'd like for you to once again be in
·9· ·command of general operations, with Ike,
10· ·Dennis Durham, and whomever else we decide as
11· ·your lieutenants with specific operational
12· ·assignments.· I'll again handle overall
13· ·strategy."· Did you accept that assignment?
14· · · ·A.· ·The last sentence reads, "Give this
15· ·some thought."
16· · · ·Q.· ·I asked you whether you accepted it.
17· · · ·A.· ·I wasn't finished with my answer.
18· ·Thank you.
19· · · · · · I accepted the position of assisting
20· ·Dr. Hill with whatever he needed.
21· · · ·Q.· ·So did you not take on the role as
22· ·commander of the general operations?
23· · · ·A.· ·No.· I don't recall actually being
24· ·in charge of the operation itself.· I was
25· ·working in the League with Dr. Hill and Ike.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·And what was Ike's role?
·3· · · ·A.· ·Ike was tasked with giving a
·4· ·briefing on Friday, 11 August, to the folks
·5· ·who assembled at the lodging area.· And I
·6· ·don't recall what else he may have been
·7· ·responsible for.
·8· · · ·Q.· ·And do you know a man by the name of
·9· ·Dennis Durham?
10· · · ·A.· ·I do.
11· · · ·Q.· ·And what was his role?
12· · · ·A.· ·I don't believe that Dennis Durbin
13· ·[sic] participated in Charlottesville.                 I
14· ·don't recall him being there.
15· · · ·Q.· ·Did you give Ike Baker any specific
16· ·operational assignments?
17· · · ·A.· ·I don't recall.
18· · · ·Q.· ·If -- did you participate in the
19· ·briefing on the night of August 11th?
20· · · ·A.· ·Yes, I did.
21· · · ·Q.· ·And I take it the briefing was to
22· ·describe the routes that all of you would
23· ·take to get into Charlottesville and then how
24· ·you would go from the garage where you parked
25· ·to the park, correct?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·That briefing was the responsibility
·3· ·of Ike Baker, yes.
·4· · · ·Q.· ·Did -- did you participate in that
·5· ·briefing at all?
·6· · · ·A.· ·Yes, I did.
·7· · · ·Q.· ·And where did you get the
·8· ·information from which you decided what the
·9· ·route would be?
10· · · ·A.· ·I did not decide what the route
11· ·would be.· That was the task of Ike Baker.
12· · · ·Q.· ·Do you know where he got the
13· ·information from which he decided what the
14· ·route would be?
15· · · ·A.· ·I believe he reviewed a map of the
16· ·area.
17· · · ·Q.· ·Did you participate in any
18· ·discussions with him about what the route
19· ·would be before August 11th?
20· · · ·A.· ·I don't recall doing that, no.
21· · · ·Q.· ·Did you have any conversations with
22· ·Dr. Hill about what the route would be?
23· · · ·A.· ·I don't recall having any input on
24· ·that, no.
25· · · ·Q.· ·Do you recall seeing maps of the


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·area and the street and the park, aerial maps
·3· ·from Google Maps that were provided to
·4· ·Dr. Hill?
·5· · · ·A.· ·I don't recall seeing any maps, no.
·6· · · ·Q.· ·Did you know of any efforts that
·7· ·Mr. Baker did -- or took in connection with
·8· ·the Charlottesville police?
·9· · · ·A.· ·No, I am not aware of any
10· ·communications that he had with the
11· ·Charlottesville police.
12· · · · · · MR. LEVINE:· Let me show you
13· · · ·Exhibit 11.
14· · · · · · (Exhibit Number 11, Message
15· · · · · · from Hill to Michael Tubbs,
16· · · · · · dated 7/11/17, Bates-stamped
17· · · · · · MH00007410, was marked for
18· · · · · · identification.)
19· ·BY MR. LEVINE:
20· · · ·Q.· ·This is another communication
21· ·between Dr. Hill and you, correct?
22· · · ·A.· ·It appears to be, yes.
23· · · ·Q.· ·On or about July 11th, correct?
24· · · ·A.· ·It would appear so, yes.
25· · · ·Q.· ·Could you read that to yourself.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·(Reviewing document.)
·3· · · · · · I'm finished.
·4· · · ·Q.· ·Did you discuss -- withdrawn.
·5· · · · · · So you learned in this communication
·6· ·from Dr. Hill that he had asked Ike Baker to
·7· ·contact state and local law enforcement in
·8· ·Charlottesville before the events of
·9· ·August 11 and 12, correct?
10· · · ·A.· ·I don't recall this message, but it
11· ·appears so.
12· · · ·Q.· ·Do you recall talking to Baker about
13· ·what he said to the state and local law
14· ·enforcement?
15· · · ·A.· ·It's been a long time.· I just don't
16· ·recall any conversation like that.
17· · · ·Q.· ·He then -- Dr. Hill then says "He,"
18· ·referring to Baker "seems to work well with
19· ·the rank and file officers."· Do you agree
20· ·with that assessment of Ike Baker?
21· · · ·A.· ·I can't say.· I've never witnessed
22· ·any interactions or conversations he's had
23· ·with rank and file police officers.
24· · · ·Q.· ·And then Dr. Hill goes on, "He tells
25· ·me the CPD chief," which I believe refers to


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·the Charlottesville police department "is a
·3· ·high yellow and of course the mayor is Jude
·4· ·Schwein."· Do you know what a high yellow
·5· ·refers to?
·6· · · ·A.· ·I believe that means some form of
·7· ·mulatto.
·8· · · ·Q.· ·And what is a Jude Schwein?
·9· · · ·A.· ·I guess that means a Jew.
10· · · ·Q.· ·Do you know the words mean Jewish
11· ·pig?
12· · · ·A.· ·It appears to be German and I don't
13· ·speak German.
14· · · ·Q.· ·Did you ask Dr. Hill what he meant?
15· · · ·A.· ·No.· I didn't feel the need to.
16· · · ·Q.· ·So did there come a time when --
17· ·withdrawn.
18· · · · · · In thinking about and planning for
19· ·the Charlottesville rally, did you anticipate
20· ·a violent encounter with counter-protestors?
21· · · ·A.· ·We received information that there
22· ·were people who were planning on disrupting
23· ·our event with violence, yes.
24· · · ·Q.· ·So going -- before you ever got to
25· ·Charlottesville on August 11th, you had an


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·expectation that it might turn violent,
·3· ·correct?
·4· · · ·A.· ·We expected that possibility.
·5· · · ·Q.· ·You actually looked forward to that
·6· ·possibility, didn't you?
·7· · · ·A.· ·No, not really.
·8· · · ·Q.· ·Didn't you really look forward and
·9· ·hope for it?
10· · · ·A.· ·I know what you're getting at, and
11· ·the answer is no.· I don't hope for violence.
12· · · ·Q.· ·Didn't you hope that you would have
13· ·a chance to mix it up with some of the
14· ·counter-protestors?
15· · · ·A.· ·No, I did not, as is evident by my
16· ·lack of protective gear or weapons.
17· · · · · · MR. LEVINE:· Let's look at
18· · · ·Exhibit 12.
19· ·BY MR. LEVINE:
20· · · ·Q.· ·You think that the fact that you
21· ·didn't wear any protective gear proves that
22· ·you were not hoping for violence?
23· · · ·A.· ·I believe that is an indicator of my
24· ·expectations.
25· · · ·Q.· ·And do you believe your conduct also


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·is an indicator of your expectations?
·3· · · ·A.· ·Yes, I do.
·4· · · · · · MR. LEVINE:· So let's look at
·5· · · ·Exhibit 12.
·6· · · · · · (Exhibit Number 12, Email
·7· · · · · · Chain, Bates-stamped MH00015529
·8· · · · · · - 15530, was marked for
·9· · · · · · identification.)
10· ·BY MR. LEVINE:
11· · · ·Q.· ·Now, this is a series of emails.
12· ·Have you seen these -- this email before?
13· · · ·A.· ·I would have to read it first.
14· · · ·Q.· ·All right.· Let's start -- we'll --
15· ·well, you can scroll from the stop or bottom.
16· ·I don't --
17· · · ·A.· ·Can you go back up just a little
18· ·bit.
19· · · · · · (Reviewing document.)
20· · · · · · All right.· Scroll up a little.· Am
21· ·I looking at the same message here?
22· · · ·Q.· ·You're looking -- the first message
23· ·was the message that you received from
24· ·Dr. Hill --
25· · · ·A.· ·I didn't have a chance.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·-- on or about -- on or about
·3· ·July -- I think it's July 7th, that you
·4· ·received, "as well as others."· That's the
·5· ·first message.· Do you see that?
·6· · · ·A.· ·I see it.· Not all of it.
·7· · · ·Q.· ·Do you see, is
·8· ·LSPres@ProtonMail.com, is that Mr. Tubbs --
·9· ·Mr. Hill, Dr. Hill?
10· · · ·A.· ·LSPres is Dr. Hill, yes.
11· · · ·Q.· ·And this -- and LSCoC@ProtonMail is
12· ·your email address on ProtonMail?
13· · · ·A.· ·That is correct.
14· · · ·Q.· ·And this went to Ike Baker, Pat
15· ·Hines, Tim Malone, Mark Thomey, and Spencer
16· ·Borum also, correct?
17· · · ·A.· ·I see their names, yes.
18· · · ·Q.· ·Are they all members of League of
19· ·the South?
20· · · ·A.· ·I believe they were at that time,
21· ·yes.
22· · · ·Q.· ·And did you have conversations with
23· ·all of them about plans for League of the
24· ·South's participation in the Unite the Right
25· ·rally on August 12th?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·I'm sorry.· Could you repeat that
·3· ·question.
·4· · · ·Q.· ·Did you have conversations with all
·5· ·of them about plans for the League of the
·6· ·South's participation in the Unite the Right
·7· ·rally on August 12th?
·8· · · ·A.· ·No, I did not.
·9· · · ·Q.· ·Did you have conversations with Pat
10· ·Hines at all?
11· · · ·A.· ·I don't recall.
12· · · ·Q.· ·Did you have any conversations with
13· ·Tiny Malone?
14· · · ·A.· ·I don't recall.
15· · · ·Q.· ·Did you have any conversations with
16· ·Mark Thomey?
17· · · ·A.· ·I don't recall.
18· · · ·Q.· ·Did you have any conversations with
19· ·Spencer Borum?
20· · · ·A.· ·I don't recall.
21· · · ·Q.· ·Were all of them present at the
22· ·rally on August 12th?
23· · · ·A.· ·I don't recall if Tiny Malone was
24· ·present or not.· I just don't remember.
25· · · ·Q.· ·The others were?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·I believe that Ike Baker, Pat Hines,
·3· ·and Spencer Borum were present, to the best
·4· ·of my recollection.
·5· · · ·Q.· ·And in this -- this email
·6· ·communication that you received along with
·7· ·the other gentlemen, it says, "Gentlemen:                   I
·8· ·received a call this morning from the
·9· ·organizer of the upcoming Charlottesville
10· ·event.· Yesterday he heard from what I
11· ·consider to be a reputable source (one with
12· ·whom I've had direct dealings) on an Antifa
13· ·strategy meeting held very recently in DC.
14· ·According to the info I received, that
15· ·meeting was a hot and contentious one between
16· ·those who want to continue to back off in
17· ·order to fool the opposition by no-showing,
18· ·as Antifa had recently done in Houston and
19· ·Gettysburg, and those who want to ramp up the
20· ·violence to a hot and heavy level.· The
21· ·latter (a majority) won, and will reportedly
22· ·have its way.· The upshot is this:· Antifa
23· ·indeed will show up in large numbers in
24· ·Charlottesville and they, according to what
25· ·I've been told, will have explosives,


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·firearms, and various other weapons with the
·3· ·intent to use them against us."
·4· · · · · · You got that information, correct?
·5· · · ·A.· ·I believe I did.
·6· · · ·Q.· ·And you responded to it; isn't that
·7· ·right?
·8· · · ·A.· ·I don't recall, but I probably did.
·9· · · ·Q.· ·You're MRT, correct?
10· · · ·A.· ·Those are my initials, yes.
11· · · ·Q.· ·So the -- you responded on July 8th
12· ·at 2:30 p.m.· Do you see your response to
13· ·Dr. Hill alone?
14· · · ·A.· ·I do.
15· · · ·Q.· ·It says, "Even though we haven't had
16· ·any hard intel so far to make us believe
17· ·there was going to be violence, I think we
18· ·all assumed there would be (and maybe even
19· ·hoped for it)."
20· · · · · · Do you see that?
21· · · ·A.· ·I do see that.
22· · · ·Q.· ·And then you said, "We should move
23· ·forward preparing for a worst-case scenario."
24· · · · · · Do you see that?
25· · · ·A.· ·I do.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·So before getting this, you had an
·3· ·expectation or an assumption that there would
·4· ·be violence, correct?
·5· · · ·A.· ·Yes, we had reason to believe that
·6· ·there would be violence taken --
·7· · · ·Q.· ·And your words to Dr. Hill were,
·8· ·"And maybe even hoped for it," correct?
·9· · · ·A.· ·Yes, I wrote that believing there
10· ·were probably some in the Alt-Right who were
11· ·hoping for violence.
12· · · ·Q.· ·But you wrote this for yourself,
13· ·correct?
14· · · ·A.· ·I used the word "we."· "I think we
15· ·all assumed there would be and maybe even
16· ·hoped for it."· I was speaking for a number
17· ·of people there.
18· · · ·Q.· ·Were you speaking also for yourself?
19· · · ·A.· ·No, I was not.
20· · · ·Q.· ·You actually wrote that to Dr. Hill
21· ·and didn't intend to be speaking for
22· ·yourself?
23· · · ·A.· ·The sentence reads I am speaking for
24· ·we.
25· · · ·Q.· ·Mr. -- Mr. Tubbs, I'm asking you,


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·did you give any impression that you were
·3· ·talking on behalf of other people and not on
·4· ·behalf of yourself when you used the word
·5· ·"we"?
·6· · · ·A.· ·I believed I was speaking on behalf
·7· ·of other people.
·8· · · ·Q.· ·I asked you whether -- did you
·9· ·give -- do you believe that you gave the
10· ·impression that you were talking on behalf of
11· ·yourself?
12· · · ·A.· ·No.· That's not what it looks like
13· ·to me, and I know that it was not.
14· · · ·Q.· ·Now, in preparing for the League of
15· ·the South's participation at the rally on
16· ·August 12th, was there any discussion of
17· ·designing shields?
18· · · ·A.· ·Yes.· Dr. Hill told me that there
19· ·would be shields available.
20· · · ·Q.· ·And what did you understand -- what
21· ·did he tell you about that?
22· · · ·A.· ·He said that there was a fellow in
23· ·the league who was making 12 shields for the
24· ·use of League members in Charlottesville.
25· · · ·Q.· ·Did you believe that that was a


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·sufficient number?
·3· · · ·A.· ·I had no idea at the time what would
·4· ·be a sufficient number for defense.
·5· · · ·Q.· ·How many people did you expect to
·6· ·attend on behalf of the League of the South?
·7· · · ·A.· ·At least a hundred.
·8· · · ·Q.· ·How many people ended up attending
·9· ·on behalf of League of the South?
10· · · ·A.· ·I don't know that number.
11· · · ·Q.· ·Was it close to a hundred?
12· · · ·A.· ·Probably much less.
13· · · ·Q.· ·If you expected at least a hundred
14· ·to attend, did you have any discussion with
15· ·Dr. Hill as to whether 12 shields would be
16· ·enough?
17· · · ·A.· ·I don't recall any discussion.                     I
18· ·think we were limited on materials and time
19· ·to producing only 12.· I don't know what the
20· ·reason for the number 12 was.
21· · · ·Q.· ·I asked you whether you had any
22· ·discussions with him whether that was enough.
23· · · ·A.· ·I don't recall having that kind of
24· ·discussion.
25· · · ·Q.· ·Did you have any role in designing


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·the shields?
·3· · · ·A.· ·No.
·4· · · ·Q.· ·Was there a discussion about people
·5· ·carrying flags or bringing flags?
·6· · · ·A.· ·I don't recall a specific discussion
·7· ·about that, but we knew that people would be
·8· ·bringing flags.
·9· · · ·Q.· ·Did you bring a flag?
10· · · ·A.· ·No, I did not.
11· · · ·Q.· ·Who's -- is Spencer Borum somebody
12· ·that you talked to about the plans?
13· · · ·A.· ·I don't believe I had any
14· ·conversations with Spencer Borum regarding
15· ·plans.
16· · · ·Q.· ·Did he bring a flag?
17· · · ·A.· ·I don't know if he brought a flag or
18· ·not.
19· · · ·Q.· ·What flags were used by League of
20· ·the South members?
21· · · ·A.· ·The only flag that I recall
22· ·specifically being used was the Southern
23· ·Nationalist black cross flags.
24· · · ·Q.· ·Was there any discussion about what
25· ·weapons to bring, if any?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·Yes, there was.
·3· · · ·Q.· ·And what did you understand the
·4· ·instructions were?
·5· · · ·A.· ·During Dr. Hill's letter of
·6· ·7 August, point number two, he said to obey
·7· ·all applicable laws and statutes regarding
·8· ·the possession and bearing of firearms and
·9· ·other weapons, clothing, and other
10· ·accoutrements of -- and accessories.
11· · · ·Q.· ·You didn't answer my question.
12· · · ·A.· ·Would you please repeat your
13· ·question?
14· · · ·Q.· ·What instructions were given to
15· ·people attending on bringing firearms?
16· · · ·A.· ·Again, I reference the letter of
17· ·7 August where Dr. Hill was very specific
18· ·about the bearing of firearms when he says,
19· ·"Obey all applicable laws and statutes
20· ·regarding the possession and bearing of
21· ·firearms."
22· · · ·Q.· ·That doesn't answer the question of
23· ·what specific instructions he gave.· Did he
24· ·give --
25· · · ·A.· ·Those are the only instructions I


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·recall.
·3· · · ·Q.· ·Was there any -- well, Virginia was
·4· ·an open carry state in August of 2017,
·5· ·correct?
·6· · · ·A.· ·To the best of my recollection, yes,
·7· ·it was.
·8· · · ·Q.· ·And was there any discussion about
·9· ·League of the South members open carrying
10· ·weapons?
11· · · ·A.· ·When we were told to obey all
12· ·applicable laws and statutes regarding
13· ·possession and bearing of firearms, the fact
14· ·that Virginia was an open-carry state would
15· ·require us to open carry firearms rather than
16· ·conceal them or carry them in any other
17· ·manner.
18· · · ·Q.· ·So did anybody open carry firearms
19· ·for League of the South that day?
20· · · ·A.· ·I believe that some did.
21· · · ·Q.· ·Who?
22· · · ·A.· ·I believe I recall correctly that
23· ·Dr. Hill might have carried a handgun.
24· · · ·Q.· ·Didn't actually Dr. Hill conceal his
25· ·handgun?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·I don't recall.
·3· · · ·Q.· ·So as far as in your understanding
·4· ·of the law, Dr. Hill wasn't obeying the law
·5· ·in concealing his firearm?
·6· · · · · · MR. JONES:· I'm going to object.
·7· · · ·That calls for a legal conclusion.
·8· ·BY MR. LEVINE:
·9· · · ·Q.· ·Did you know that Dr. Hill was
10· ·concealing a handgun?
11· · · ·A.· ·I do not recall him even carrying a
12· ·handgun before the rally.
13· · · ·Q.· ·Now, did -- did League of the
14· ·South's members wear helmets?
15· · · ·A.· ·I believe there were some who wore
16· ·helmets.
17· · · ·Q.· ·Did any of them carry knives?
18· · · ·A.· ·They were told specifically not to
19· ·bring any knives.· So I don't believe that
20· ·there were.
21· · · ·Q.· ·Did you have any input on whether
22· ·the members would be wearing uniforms?
23· · · ·A.· ·Yes, I did.
24· · · ·Q.· ·What was your role in that?
25· · · ·A.· ·Just instructing everyone they


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·should wear the League uniform.
·3· · · ·Q.· ·What was the League uniform?
·4· · · ·A.· ·At that time the basic uniform
·5· ·consisted of khaki pants and a black polo
·6· ·shirt with the League logo emblazoned --
·7· ·embroidered on the left breast.
·8· · · ·Q.· ·And where do people buy that black
·9· ·T-shirt with the logo?
10· · · ·A.· ·The place that they purchased it at
11· ·that time has since closed down.
12· · · ·Q.· ·Where do you buy them now?
13· · · ·A.· ·Whoever we can get to embroider the
14· ·design.
15· · · ·Q.· ·So is there a place that members now
16· ·can buy the shirt with the logo?
17· · · ·A.· ·There is now again, yes.
18· · · ·Q.· ·What's the name of it?
19· · · ·A.· ·I don't recall the name.
20· · · ·Q.· ·Now, how did you get to
21· ·Charlottesville on August 11th?
22· · · ·A.· ·I drove my personal vehicle.
23· · · ·Q.· ·Who did you drive with?
24· · · ·A.· ·Nobody.
25· · · ·Q.· ·When did you leave Jacksonville?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·I don't recall.
·3· · · ·Q.· ·Was it the night -- day before?
·4· · · ·A.· ·No.· It was Friday, Friday morning
·5· ·sometime.
·6· · · ·Q.· ·How long a drive is it?
·7· · · ·A.· ·I don't recall.
·8· · · ·Q.· ·When did you arrive on August 11th?
·9· · · ·A.· ·It was very late.· Possibly sometime
10· ·around 11:00 p.m.· I was supposed to attend a
11· ·meeting and the meeting was already in
12· ·progress.
13· · · ·Q.· ·Did you drive straight to the
14· ·location where the League was staying?
15· · · ·A.· ·Yes.
16· · · ·Q.· ·How did you get directions to go
17· ·there?
18· · · ·A.· ·I believe a message had been put out
19· ·to League members who were participating with
20· ·those directions.
21· · · ·Q.· ·What was the means of communicating
22· ·to the members, of the directions?
23· · · ·A.· ·I don't recall how I received that
24· ·message.
25· · · ·Q.· ·How did -- in August of 2017, how


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·did the League communicate with its members?
·3· · · ·A.· ·I don't recall all the platforms
·4· ·that were in use at that time.· There were
·5· ·phone calls.· There were emails.· Perhaps
·6· ·social media posts.
·7· · · ·Q.· ·Can you remember any means that were
·8· ·used, any platform that was used to
·9· ·communicate with the members in August of
10· ·2017?
11· · · ·A.· ·I don't recall exactly, but I
12· ·believe email and phone calls were mostly
13· ·used.
14· · · ·Q.· ·And what was the form of email?· On
15· ·ProtonMail?
16· · · ·A.· ·To the best of my recollection, I
17· ·believe it was ProtonMail.
18· · · ·Q.· ·When did the League start to use
19· ·ProtonMail?
20· · · ·A.· ·I don't recall.
21· · · ·Q.· ·Before it used ProtonMail what did
22· ·it use?
23· · · ·A.· ·I believe standard emails and
24· ·telephone and social media.
25· · · ·Q.· ·And why did the League change from


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·those standard emails and social media to
·3· ·ProtonMail?
·4· · · ·A.· ·I believe we needed to consolidate
·5· ·all communications in one place where it
·6· ·would make it easier for people to find all
·7· ·communications.
·8· · · ·Q.· ·Did Dr. Hill make that decision?
·9· · · ·A.· ·I don't recall who made that
10· ·decision.
11· · · ·Q.· ·Was -- was ProtonMail a more secure
12· ·form of communication than Yahoo! or Gmail?
13· · · ·A.· ·I believe it has been advertised to
14· ·be more secure.
15· · · ·Q.· ·Where is the company that is -- owns
16· ·ProtonMail located?
17· · · ·A.· ·I believe it's located in Europe.
18· · · ·Q.· ·Do you understand it to be a Swiss
19· ·company?
20· · · ·A.· ·I wasn't sure of its location.
21· · · ·Q.· ·Isn't it a fact that ProtonMail was
22· ·selected as a means of communication because
23· ·it was viewed as secure and protected by
24· ·Swiss privacy laws?
25· · · ·A.· ·I don't recall what the intentions


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·were of the person who decided to adopt
·3· ·Proton email as a standard email, but I'm
·4· ·certain the security was a concern.
·5· · · ·Q.· ·So did you -- did you learn before
·6· ·you left Charlottesville on August 11th that
·7· ·there was a planned event Friday night of a
·8· ·torch light rally?
·9· · · ·A.· ·No, I was not aware of that rally.
10· · · ·Q.· ·Pardon?
11· · · ·A.· ·No, I was not aware of that torch
12· ·light rally.
13· · · ·Q.· ·You never were made aware that there
14· ·was going to be a torch light rally of the
15· ·participants?
16· · · ·A.· ·No, I was not.
17· · · ·Q.· ·When did you learn -- when did you
18· ·learn that there was a torch light rally?
19· · · ·A.· ·The next day at the rally in
20· ·Charlottesville.
21· · · ·Q.· ·Do you know a man by the name of
22· ·Brad Griffin?
23· · · ·A.· ·I do.
24· · · ·Q.· ·Did you see Brad Griffin that
25· ·weekend?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·Yes, I did.
·3· · · ·Q.· ·Did you see Brad Griffin Friday
·4· ·night when you arrived at the meeting?
·5· · · ·A.· ·I don't believe I recall seeing Brad
·6· ·Griffin Friday night.
·7· · · ·Q.· ·Did Brad Griffin have a role in
·8· ·League of the South at that time?
·9· · · ·A.· ·I don't recall.· I don't believe he
10· ·had a position.
11· · · ·Q.· ·Did he have any role at the rally on
12· ·behalf of League of the South?
13· · · ·A.· ·I don't recall anybody designating
14· ·him a role in the rally.
15· · · ·Q.· ·Are you familiar with Brad Griffin's
16· ·blog called Occidental Dissent?
17· · · ·A.· ·Yes, I am.
18· · · ·Q.· ·Do you read that?
19· · · ·A.· ·Occasionally, yes, I do.
20· · · ·Q.· ·And is he a member of the League of
21· ·the South?
22· · · ·A.· ·I'm not sure if he is still
23· ·currently a member or not.
24· · · ·Q.· ·During 2017 and 2018 was he a
25· ·member?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·To the best of my knowledge, he was
·3· ·a member during that time.
·4· · · ·Q.· ·And did you understand that he would
·5· ·blog certain -- certain texts on behalf of
·6· ·the League of the South?
·7· · · ·A.· ·I believe that Brad Griffin's blog
·8· ·is purely a personal tool.· It's not a
·9· ·official League mouthpiece.
10· · · ·Q.· ·Is it your testimony that Dr. Hill
11· ·doesn't ask Brad Griffin to speak on behalf
12· ·of the League?
13· · · ·A.· ·I don't know if Dr. Hill asked Brad
14· ·Griffin to do that or not.· I'm not aware of
15· ·any communications between him and Brad
16· ·Griffin.
17· · · ·Q.· ·Now, in one of your interrogatory
18· ·responses that you filed in connection with
19· ·this case, you said that you participated in
20· ·a meeting on August 11th at or near
21· ·Charlottesville where you spoke to
22· ·Mr. Heimbach and a Mr. Cesar Adolfo.· Did
23· ·that conversation take place?
24· · · ·A.· ·I remember the two of those men
25· ·being present.· I don't remember having


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·direct conversations with them during that
·3· ·meeting.
·4· · · ·Q.· ·Where -- where did the conversation
·5· ·with Mr. Heimbach and Mr. Adolfo take place?
·6· · · ·A.· ·Are you asking if I had a
·7· ·conversation with those two gentlemen?
·8· · · ·Q.· ·I'm only referring to a disclosure
·9· ·that you made in a document that was filed in
10· ·connection with this case, and it says that
11· ·you participated in a meeting on August 11,
12· ·2017, at or near Charlottesville where you
13· ·spoke to Mr. Heimbach and Mr. Cesar Adolfo.
14· ·Is that accurate or not?
15· · · ·A.· ·I remember the two men being in the
16· ·room.· If we spoke at all, it was just an
17· ·exchange of pleasantries probably.
18· · · ·Q.· ·Are these two men in the same room
19· ·in the same conversation that you testified
20· ·earlier that you went to?
21· · · ·A.· ·Yes.
22· · · ·Q.· ·Late that night?
23· · · ·A.· ·Yes.
24· · · ·Q.· ·In the cabin?
25· · · ·A.· ·Yes.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·How many people were in the room?
·3· · · ·A.· ·I don't recall the number.
·4· · · ·Q.· ·Who's Mr. Cesar Adolfo?
·5· · · ·A.· ·I don't know who he is.
·6· · · ·Q.· ·Had you ever met him before?
·7· · · ·A.· ·No, sir.
·8· · · ·Q.· ·How do you remember his name?
·9· · · ·A.· ·I thought it was an unusual name to
10· ·be connected with the Alt-Right.
11· · · ·Q.· ·Do you know if he's affiliated with
12· ·the League of the South?
13· · · ·A.· ·No, he's not affiliated with the
14· ·League at all.
15· · · ·Q.· ·Is he affiliated with Vanguard?
16· · · ·A.· ·I don't know.
17· · · ·Q.· ·Was he affiliated with the TWP?
18· · · ·A.· ·I don't know.
19· · · ·Q.· ·Was he affiliated with NSM?
20· · · ·A.· ·I don't know.
21· · · ·Q.· ·Was there any discussion at that
22· ·meeting that you participated in about the
23· ·torch light rally that night?
24· · · ·A.· ·I don't recall any discussion of it.
25· · · ·Q.· ·Can you identify anybody else at the


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·meeting other than those two individuals?
·3· · · ·A.· ·As I had mentioned before, I only
·4· ·recall Dr. Hill, Ike Baker, Matt Heimbach.
·5· ·Now that you mention Cesar I remember him
·6· ·being present.· There were people there that
·7· ·I did not know and had not seen before and
·8· ·did not see afterwards.
·9· · · ·Q.· ·So after -- the purpose of that
10· ·meeting was to discuss the logistics of
11· ·getting to the rally the next day; is that
12· ·correct?
13· · · ·A.· ·The part of the meeting that I was
14· ·able to sit in on mainly focused on that
15· ·subject, yes.
16· · · ·Q.· ·Did the part of the meeting that you
17· ·sat in on focus on any other subject?
18· · · ·A.· ·Not that I recall.
19· · · ·Q.· ·And what time did you depart the
20· ·campground on Saturday morning?
21· · · ·A.· ·I don't recall.· It was very early.
22· · · ·Q.· ·Did you have any conversations
23· ·Friday night after the meeting with Dr. Hill?
24· · · ·A.· ·We had a follow-on meeting for all
25· ·the people in the campground, and Dr. Hill


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·asked me to speak to the people assembled.
·3· · · ·Q.· ·And what did you talk about?
·4· · · ·A.· ·I reiterated Dr. Hill's desires
·5· ·recorded in his letter of 7 August regarding
·6· ·how to behave at the rally.· I gave
·7· ·instructions on remaining within the law of
·8· ·the state of Virginia.· I advised people on
·9· ·how to wave properly, thinking that we were
10· ·going to be at a typical rally of the League
11· ·of the South and greeting other people, told
12· ·everybody not to give the bird finger to our
13· ·adversaries, to obey the state laws regarding
14· ·weapons and self-defense, other subjects
15· ·along that nature.
16· · · ·Q.· ·What is the proper wave?
17· · · ·A.· ·The proper way is to -- wave is to
18· ·bend the elbow so there does not appear to be
19· ·a Roman salute.
20· · · ·Q.· ·Could you demonstrate it, please?
21· · · ·A.· ·Well, it's difficult with the --
22· ·with the small screen there.
23· · · ·Q.· ·And when you said you told people to
24· ·obey the law of the state, did you discuss
25· ·issues of the law of self-defense?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·I reiterated what Dr. Hill had
·3· ·written in his 7 August letter which included
·4· ·engage in violence and at the proper level
·5· ·only in defense of your own person, that of
·6· ·your compatriots and your property.· Stand
·7· ·your ground, speak your mind, and proclaim
·8· ·your message but do not initiate physical
·9· ·contact with anyone who approaches you.
10· · · ·Q.· ·So the -- were there any other
11· ·instructions given?
12· · · ·A.· ·By who, sir?
13· · · ·Q.· ·By you.
14· · · ·A.· ·I don't recall the details of the
15· ·instructions I gave, but they mainly focused
16· ·on points similar to that.
17· · · ·Q.· ·Who decided which 12 people got
18· ·shields?
19· · · ·A.· ·I don't recall.
20· · · ·Q.· ·Did you have any role in that?
21· · · ·A.· ·I don't believe I did.
22· · · ·Q.· ·Did you decide who would walk next
23· ·to you?
24· · · ·A.· ·No, sir.
25· · · ·Q.· ·Was it understood that you would be


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·leading the group?
·3· · · ·A.· ·No.· I just -- in the parking garage
·4· ·I just decided I was going to go up there and
·5· ·stand beside Dr. Hill in case he needed any
·6· ·help.
·7· · · ·Q.· ·Did you take the role as the leader
·8· ·of the marchers?
·9· · · ·A.· ·I don't believe that I was in any
10· ·leadership role of the overall column.· It
11· ·was a joint exercise with myself, Dr. Hill,
12· ·and Matt Heimbach.
13· · · ·Q.· ·Well, you actually, though, were in
14· ·the front of the column, correct?
15· · · ·A.· ·I was.
16· · · ·Q.· ·In fact, you were at the front of
17· ·the column of all of the marchers.· Isn't
18· ·that correct?
19· · · ·A.· ·That is correct.
20· · · ·Q.· ·So all of the marchers including the
21· ·people from all of the other participating
22· ·organizations, correct?
23· · · ·A.· ·I don't know about all of the
24· ·participating organizations, but there were
25· ·several other organizations within that


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·column.
·3· · · ·Q.· ·They included the TWP, correct?
·4· · · ·A.· ·I know that Matt Heimbach was
·5· ·present from the TWP.
·6· · · ·Q.· ·It included NSM, correct?
·7· · · ·A.· ·I don't recall.
·8· · · ·Q.· ·When you finally part from the
·9· ·garage -- departed from the garage and
10· ·proceeded to march, was there any people
11· ·participating with you who were in front of
12· ·you?
13· · · ·A.· ·There was one person to my left who
14· ·was slightly ahead of me.
15· · · ·Q.· ·But there wasn't any group ahead of
16· ·you; is that right?
17· · · ·A.· ·That's correct.
18· · · ·Q.· ·You were leading and immediately
19· ·behind you were the League members, correct?
20· · · ·A.· ·Correct.
21· · · ·Q.· ·And did you decide how they were
22· ·going to stand in respect of the men with
23· ·shields and the men without shields?
24· · · ·A.· ·No, I did not.
25· · · ·Q.· ·Who decided that?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·I don't recall, but I believe it was
·3· ·determined that they should be up front in
·4· ·case of violence against us.
·5· · · ·Q.· ·Who decided that?
·6· · · ·A.· ·I don't recall.
·7· · · ·Q.· ·And were you part of the discussion
·8· ·about where people would stand?
·9· · · ·A.· ·I don't recall.· I believe everybody
10· ·just fell in and organized themselves in the
11· ·parking garage behind Dr. Hill.
12· · · ·Q.· ·So it's your testimony that Dr. Hill
13· ·gave the instructions of how people would be
14· ·marching and not you?
15· · · ·A.· ·I don't recall.· I might have had
16· ·some part in it.· I just don't recall how the
17· ·conversation went or how we organized people.
18· · · ·Q.· ·Well, let me show you now a video of
19· ·the events of that morning.· And I'll show
20· ·you the video, and then I'll ask you some
21· ·questions about it, sir.
22· · · · · · Have you watched the videos of the
23· ·rally?
24· · · ·A.· ·I've seen several videos.
25· · · · · · (Exhibit Number 13, Video of


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · · · · Rally, was marked for
·3· · · · · · identification.)
·4· · · · · · (Video playing.)
·5· ·BY MR. LEVINE:
·6· · · ·Q.· ·So who is walking next to you there,
·7· ·Mr. Tubbs?
·8· · · ·A.· ·That is Spencer Borum.
·9· · · ·Q.· ·And Dr. Hill isn't next to you,
10· ·correct?
11· · · ·A.· ·I don't see him there.
12· · · ·Q.· ·And Mr. Heimbach isn't next to you
13· ·either, is he?
14· · · ·A.· ·That is correct.
15· · · ·Q.· ·And --
16· · · ·A.· ·He is to my right rear.
17· · · ·Q.· ·Pardon?
18· · · ·A.· ·Mr. Heimbach in -- is to my right
19· ·rear.
20· · · ·Q.· ·And behind you, correct?
21· · · ·A.· ·That is correct.
22· · · ·Q.· ·And the beginning of that video
23· ·shows you walking up the street some -- it
24· ·starts with you some 30 or 40 yards away from
25· ·the other people that are locked in arm,


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·correct?
·3· · · ·A.· ·I believe so.
·4· · · ·Q.· ·Okay.
·5· · · · · · (Video playing.)
·6· ·BY MR. LEVINE:
·7· · · ·Q.· ·Have you seen this video before,
·8· ·Mr. Tubbs?
·9· · · ·A.· ·No, I have not.
10· · · ·Q.· ·Am I correct that at the beginning
11· ·you led the group down the street, saw the
12· ·protesters, counter-protestors standing arm
13· ·in arm, and decided to barrel your way
14· ·through them on the street to get to the
15· ·park; is that right?
16· · · ·A.· ·No, sir, that's not correct.
17· · · ·Q.· ·Well, you did walk into them,
18· ·correct?
19· · · ·A.· ·I did walk up to them, yes.
20· · · ·Q.· ·And Mr. Borum then used his shield
21· ·and pushed them, including you, to get
22· ·through them; isn't that right?
23· · · ·A.· ·No, sir, that's not correct.
24· ·Mr. Borum was not carrying a shield.
25· · · ·Q.· ·Who was -- he was carrying a flag.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·Excuse me.
·3· · · · · · Did you and the people immediately
·4· ·behind you from the League push your way
·5· ·through the protesters to get closer to the
·6· ·park?
·7· · · ·A.· ·When I came face to face with the
·8· ·crowd blocking the street, I asked them to
·9· ·step aside, and I was attacked immediately,
10· ·and then I suffered a concussion from a man
11· ·wearing a black hat and wielding a club, and
12· ·I don't remember much after that until we got
13· ·into the park.
14· · · ·Q.· ·So the testimony -- your testimony
15· ·is you don't really recall the events that
16· ·you just saw on the video?
17· · · ·A.· ·From the time that I was attacked by
18· ·the rioters blocking the street until the
19· ·time we entered the park, it was very fuzzy.
20· · · ·Q.· ·So did you recall yourself -- do you
21· ·recall that the group -- part of the group
22· ·got through the protesters and then you
23· ·walked back past the police car and got the
24· ·other remainder part of the group and brought
25· ·them all up together again and then started


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·to walk a second time?· Does any of that --
·3· ·do you remember any of that?
·4· · · ·A.· ·After I was attacked I don't know --
·5· · · ·Q.· ·I asked you, sir, if you remembered
·6· ·any of what I just said.
·7· · · ·A.· ·No.
·8· · · ·Q.· ·So let's just -- I want to replay
·9· ·the tape.· As I -- as I view the video,
10· ·Mr. Tubbs, you and your group in the front
11· ·push your way through the protesters.· You
12· ·were divided.· There was some skirmishing.
13· ·You then walked backwards to get the balance
14· ·of your group and they -- and you brought
15· ·them up with you to rejoin the group when you
16· ·started to walk again, and I want to see if
17· ·you see that and recall yourself doing that.
18· · · · · · (Video playing.)
19· ·BY MR. LEVINE:
20· · · ·Q.· ·Mr. Tubbs, do you see yourself now
21· ·having just walked back -- back down the
22· ·street to where other League of the South
23· ·members were congregating?
24· · · ·A.· ·I do.
25· · · ·Q.· ·And so do you recall doing that?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·All I recall is trying to reach back
·3· ·to the safety of the crowd that we came with.
·4· · · ·Q.· ·Well, in reaching back to the safety
·5· ·of the crowd, you then brought the crowd with
·6· ·you to the front; isn't that right?
·7· · · ·A.· ·I don't recall at that time being in
·8· ·charge of anything.
·9· · · ·Q.· ·Well, let's look.· By the way, did
10· ·you just testify that you suffered a
11· ·concussion right at the beginning of the
12· ·contact?· Is that your testimony?
13· · · ·A.· ·Yes, it is.
14· · · ·Q.· ·Did you ever get treated for a
15· ·concussion?
16· · · ·A.· ·No.· I did not have any insurance at
17· ·that time.
18· · · ·Q.· ·Did you get treated for a conclusion
19· ·on that day?
20· · · ·A.· ·No, I did not.
21· · · ·Q.· ·Did you -- did you drive back to --
22· ·to the camp in your car?
23· · · ·A.· ·No.· I rode with someone else, the
24· ·same way that I got there.
25· · · ·Q.· ·Did you drive your car back to


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·Jacksonville the next day?
·3· · · ·A.· ·Yes, I did.
·4· · · ·Q.· ·Did you ever comment to anyone in
·5· ·the League that you suffered a concussion?
·6· · · ·A.· ·Yes, I did.
·7· · · ·Q.· ·Who did you -- who did you
·8· ·communicate that with?
·9· · · ·A.· ·Our head medic at that time who was
10· ·present to treat the people in our group.
11· · · ·Q.· ·Did you get treated for a concussion
12· ·at that time?
13· · · ·A.· ·All I could do was put ice on it.
14· · · ·Q.· ·Well, let's now finish looking at
15· ·the video.
16· · · · · · (Video playing.)
17· ·BY MR. LEVINE:
18· · · ·Q.· ·So do you see yourself now walking
19· ·back to the front of the group?
20· · · ·A.· ·I can't tell which direction I'm
21· ·walking there.· It looks like people are both
22· ·ahead of me and behind me.
23· · · ·Q.· ·Right.· I'm asking, don't you recall
24· ·or does this refresh your recollection that
25· ·you went back to what you just described as


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·the safety of the group and brought the
·3· ·people from that group up to the front where
·4· ·you and the others had arrived at after
·5· ·having pushed your way through the
·6· ·protesters?· Does that refresh your
·7· ·recollection of what happened?
·8· · · ·A.· ·I believe that you are attaching a
·9· ·false interpretation to those events, that
10· ·you've stated several things that are not
11· ·factual.
12· · · ·Q.· ·Well, why don't you finish looking
13· ·at the tape and then tell me what I said
14· ·that's wrong.
15· · · · · · (Video playing.)
16· ·BY MR. LEVINE:
17· · · ·Q.· ·So do you see that the group now is
18· ·larger with the people having followed you?
19· · · ·A.· ·I see from that video that there
20· ·were a number of people ahead of me that I
21· ·was walking towards that had already moved
22· ·forward.· I don't recall that happening.
23· · · ·Q.· ·Do you recall -- do you see now that
24· ·you retook your lead position in the front?
25· · · ·A.· ·I see that.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·So -- and do you recognize any of
·3· ·the League of the South's colleagues there
·4· ·carrying shields?
·5· · · ·A.· ·Not in that picture, no.
·6· · · ·Q.· ·The picture we're looking at right
·7· ·now, do you recognize anyone?
·8· · · ·A.· ·As I earlier stated, no, I do not.
·9· · · ·Q.· ·What about the man with the beard?
10· · · ·A.· ·I'm not sure who that is.
11· · · ·Q.· ·Who do you think it is?
12· · · · · · MR. JONES:· Objection.· Calls for
13· · · ·speculation.
14· ·BY MR. LEVINE:
15· · · ·Q.· ·You can answer.
16· · · ·A.· ·I can only speculate.· I don't know.
17· · · ·Q.· ·Okay.· Let's finish listening --
18· ·watching this.· So now -- stop.
19· · · · · · So when -- when you regrouped, you
20· ·then proceeded to continue to walk through
21· ·the protesters to get to the park; isn't that
22· ·right?
23· · · ·A.· ·I believe that is correct.
24· · · · · · (Video playing.)
25· ·BY MR. LEVINE:


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·Now, Mr. Tubbs, I want to show you
·3· ·another video of some of the same events for
·4· ·you to review, and I want to ask you some
·5· ·additional questions.
·6· · · · · · MR. LEVINE:· Let's mark -- let's
·7· · · ·mark Exhibit 14.
·8· · · · · · (Exhibit Number 14, Video of
·9· · · · · · Rally, was marked for
10· · · · · · identification.)
11· · · · · · (Video playing.)
12· ·BY MR. LEVINE:
13· · · ·Q.· ·Mr. Tubbs, do you remember the very
14· ·beginning of that -- that video?· Did -- did
15· ·it look like you stopped to talk to them, or
16· ·does it look like you just kept walking into
17· ·them?
18· · · ·A.· ·I spoke to them as I was coming
19· ·forward.
20· · · ·Q.· ·You didn't stop.· You kept going,
21· ·correct?
22· · · ·A.· ·I walked for as long as I could walk
23· ·before I was overwhelmed and beaten.
24· · · ·Q.· ·Does it appear that you were beaten,
25· ·sir?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·If you look at that video, you see
·3· ·the entire crowd was on top of me.               I
·4· ·disappear under the bodies.· And other photos
·5· ·will show a man with a black hat beating me
·6· ·on the head with a club.
·7· · · ·Q.· ·Did you fall to the ground?
·8· · · ·A.· ·I don't recall.
·9· · · · · · MR. LEVINE:· Let's look at
10· · · ·exhibit -- let's mark Exhibit 15.
11· · · · · · (Exhibit Number 15, Video of
12· · · · · · Rally, was marked for
13· · · · · · identification.)
14· ·BY MR. LEVINE:
15· · · ·Q.· ·After that second incursion, sir,
16· ·did you get to the steps of the park?
17· · · ·A.· ·Could you define "second incursion"?
18· · · ·Q.· ·After that second time when you
19· ·walked through the protesters, did you
20· ·successfully get to the steps of the park?
21· · · ·A.· ·I don't recall a second attempt to
22· ·get through protesters.
23· · · ·Q.· ·Didn't you just testify earlier that
24· ·there was a second time that you led the
25· ·group to the protesters?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·I don't recall saying anything about
·3· ·moving through protesters.
·4· · · ·Q.· ·Don't you recall from the video that
·5· ·after you pushed your way through the
·6· ·protesters on the first occasion the group
·7· ·was split in two?· You then -- we saw the
·8· ·video where you walked back what you call to
·9· ·the safety of the group and then returned and
10· ·looked back to the front of the group where
11· ·Spencer was.· The others followed you, and
12· ·then you proceeded to walk through the
13· ·protesters the second time and got to the
14· ·steps of the park.· Isn't that what happened?
15· · · ·A.· ·You're covering a lot of different
16· ·material there that I think needs to be
17· ·broken down, starting with --
18· · · ·Q.· ·I'm asking you --
19· · · ·A.· ·I'm sorry.· I was not finished
20· ·speaking, sir.· Beginning with the beginning
21· ·of your statement you said that I forced my
22· ·way through.· I asked the crowd to part.
23· ·When I got up to them, they assaulted me.
24· · · ·Q.· ·Did you make two efforts to get
25· ·through the protesters to get to the park?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·I believe there was only one effort
·3· ·to actually get through protesters preventing
·4· ·us from entering the park.
·5· · · ·Q.· ·Let's look at the video again,
·6· ·Exhibit 14 -- or 13 and see if it refreshes
·7· ·your recollection that what I'm saying is
·8· ·true.
·9· · · · · · (Video playing.)
10· ·BY MR. LEVINE:
11· · · ·Q.· ·Do you recall now that Dr. Hill
12· ·comes -- after the first effort and the split
13· ·of the groups, Dr. Hill comes up to stand
14· ·next to you in the front of the column as you
15· ·proceed to go for the second time to get to
16· ·the park?
17· · · ·A.· ·Yes, it appears that Dr. Hill moves
18· ·to the front of the group of men with
19· ·shields.
20· · · ·Q.· ·Next to you, correct?
21· · · ·A.· ·That's correct.
22· · · ·Q.· ·Now let's look at tab -- Exhibit 15.
23· ·And after Dr. Hill joined you, you then walk
24· ·a second time and get to the top of the
25· ·steps, correct?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·I believe that the stairs were the
·3· ·next goal from that position.
·4· · · ·Q.· ·And you got there, correct?
·5· · · ·A.· ·Yes.
·6· · · ·Q.· ·And you got there in part by pushing
·7· ·through the protesters that were preventing
·8· ·you from getting there, correct?
·9· · · ·A.· ·Are you saying that I pushed through
10· ·the protesters?
11· · · ·Q.· ·You leading your column did,
12· ·correct?
13· · · ·A.· ·I think we've already had that
14· ·discussion.
15· · · ·Q.· ·But whether you claim you pushed
16· ·them or didn't -- or don't admit you pushed
17· ·them, you got through the protesters to the
18· ·steps, correct?
19· · · ·A.· ·Yes.· The protesters parted and we
20· ·made our way to the stairs.
21· · · ·Q.· ·Take a look at Exhibit 15.
22· · · · · · (Video playing.)
23· ·BY MR. LEVINE:
24· · · ·Q.· ·That's -- that's Dr. Hill with Matt
25· ·Heimbach, correct?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·That's correct.
·3· · · ·Q.· ·And they are not in the front of the
·4· ·column in the beginning; is that correct?
·5· · · ·A.· ·I'm sorry.· Which column are we
·6· ·talking about?
·7· · · ·Q.· ·This is the first column.
·8· · · ·A.· ·They were in front of the first
·9· ·column all the way from the parking garage to
10· ·where we met the rioters in the street.
11· · · ·Q.· ·Well, let's see.· Okay.
12· · · · · · (Video playing.)
13· ·BY MR. LEVINE:
14· · · ·Q.· ·Do you -- do you recall that
15· ·incident with the woman?
16· · · ·A.· ·That wasn't a woman.· That was a
17· ·man.· All that was happening behind me when I
18· ·was being beaten by the line across the
19· ·street.
20· · · · · · MR. LEVINE:· Let's look at
21· · · ·Exhibit 16.
22· · · · · · (Exhibit Number 16, Photograph,
23· · · · · · was marked for identification.)
24· ·BY MR. LEVINE:
25· · · ·Q.· ·Is that a photo of you, sir?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·That is.
·3· · · ·Q.· ·And that's at the very beginning of
·4· ·the first meet of the protesters?
·5· · · ·A.· ·It appears to be.
·6· · · ·Q.· ·And is that Spencer Borum?
·7· · · ·A.· ·If you're referring to that person
·8· ·in the League shirt --
·9· · · ·Q.· ·In front of you?
10· · · ·A.· ·-- yes.
11· · · ·Q.· ·And so the two of you were the first
12· ·to make contact, correct?
13· · · ·A.· ·That's correct.
14· · · ·Q.· ·And you initiated the contact.
15· ·Isn't that right?· Didn't you push -- didn't
16· ·you push Spencer as he was pushing into them?
17· · · ·A.· ·No, I was not pushing Spencer.                    I
18· ·was helping him maintain his balance and
19· ·being knocked over.
20· · · ·Q.· ·But isn't it correct that you
21· ·initiated contact with the protesters?
22· · · ·A.· ·We were told by a Charlottesville
23· ·police officer standing on the corner that
24· ·that was the proper route to follow to get
25· ·into the park so that's the route we took.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·When I approached the protesters I asked them
·3· ·to step aside, and nobody stepped aside.
·4· ·They attacked me.
·5· · · ·Q.· ·So after no one stepped aside, you
·6· ·initiated contact with them, correct?
·7· · · ·A.· ·No.· They initiated contact.
·8· · · ·Q.· ·Aren't you moving towards them and
·9· ·not they moving towards you?· Isn't that what
10· ·the picture shows?
11· · · ·A.· ·The entire video is very clear in
12· ·that the line across the street attacked our
13· ·column.
14· · · ·Q.· ·So it's your testimony that you and
15· ·Mr. Borum didn't initiate contact with the
16· ·protesters.· Is that it?· Is that your
17· ·testimony?
18· · · ·A.· ·I'm saying that I walked up to that
19· ·crowd with Spencer Borum.· They immediately
20· ·engaged Spencer, then I was attacked.
21· · · ·Q.· ·They -- they wouldn't have engaged
22· ·Spencer if Spencer didn't walk into them.
23· ·Isn't that right?
24· · · · · · MR. JONES:· Objection to what they
25· · · ·would have done.· Argumentative.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·BY MR. LEVINE:
·3· · · ·Q.· ·Isn't it a fact that until Spencer
·4· ·engaged them they didn't attack him or you?
·5· · · ·A.· ·It was my impression during the
·6· ·event that they attacked Spencer.
·7· · · ·Q.· ·But the evidence doesn't show that,
·8· ·does it?
·9· · · · · · MR. JONES:· Object to the form of
10· · · ·the question.· It's argumentative.· Also
11· · · ·asked and answered.
12· ·BY MR. LEVINE:
13· · · ·Q.· ·You can answer.
14· · · ·A.· ·What is the question?
15· · · ·Q.· ·Isn't it a fact that Spencer and you
16· ·initiated the contact with the protesters,
17· ·not the other way around?
18· · · ·A.· ·That is not what I believe I
19· ·experienced that day.
20· · · ·Q.· ·But do the pictures show something
21· ·different than what you're --
22· · · · · · MR. JONES:· Object.· Asked and
23· · · ·answered.
24· ·BY MR. LEVINE:
25· · · ·Q.· ·You may answer.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·What is the question?
·3· · · ·Q.· ·Do the pictures show something
·4· ·different than what you remember?
·5· · · ·A.· ·That picture you're showing me now
·6· ·appears to show Spencer Borum being pushed
·7· ·off balance and the crowd advancing on him.
·8· ·Their hands are on him.
·9· · · ·Q.· ·Wasn't he pushed off balance because
10· ·he pushed into them, walked into them?
11· · · ·A.· ·I don't know.· I wasn't standing
12· ·between Spencer Borum and the crowd.· It
13· ·appeared to me that he was attacked.
14· · · ·Q.· ·You were standing right over him,
15· ·sir, isn't that right?· You had everything in
16· ·front of you in plain view?
17· · · ·A.· ·Well, when you're in the middle of a
18· ·group of people that are attacking you and
19· ·want to kill you, it's difficult to recollect
20· ·all the details.
21· · · ·Q.· ·You walked into them, didn't you?
22· · · ·A.· ·I followed the directions of the
23· ·Charlottesville police department officer and
24· ·moved in the direction that he told us to.
25· · · ·Q.· ·It's your testimony that you walked


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·2· ·into these protesters at the instruction of
·3· ·the Charlottesville police officer?· Is that
·4· ·your testimony, Mr. Tubbs?
·5· · · ·A.· ·I approached the line of protesters
·6· ·at what we understood to be the direction of
·7· ·a Charlottesville police department officer,
·8· ·yes.
·9· · · ·Q.· ·Is there any Charlottesville police
10· ·officer that you saw as we looked at the
11· ·video?
12· · · ·A.· ·I don't recall.
13· · · ·Q.· ·Well, we'll look at it one more
14· ·time, and tell me if you can recall, after
15· ·looking at the video, who was the
16· ·Charlottesville police officer that told you
17· ·to walk into the protesters.
18· · · · · · (Video playing.)
19· ·BY MR. LEVINE:
20· · · ·Q.· ·In those 25 seconds of watching you
21· ·proceed up to the first confrontation with
22· ·the protesters, did you see any
23· ·Charlottesville police department official
24· ·policeman on the street?
25· · · ·A.· ·Obviously the video is jumpy and


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·doesn't cover all the area, including the
·3· ·sidewalks and the areas behind the vans.· So
·4· ·no, I did not see a Charlottesville police
·5· ·department officer in that video.
·6· · · ·Q.· ·Do you see yourself leaving the
·7· ·column at any point during those 30 seconds
·8· ·to go talk to a police officer --
·9· · · ·A.· ·Yes, sir, I do.
10· · · ·Q.· ·-- on the side of the street?
11· · · · · · Please answer the question.
12· · · ·A.· ·I did.· I said, "Yes, I do."
13· · · ·Q.· ·Where do you see yourself leaving
14· ·during that walk to talk to the police
15· ·officer?
16· · · ·A.· ·I'm sorry.· You're coming in broken
17· ·up.· Could you repeat that question?
18· · · ·Q.· ·I said, in the 30 seconds that we
19· ·just looked at of your walking up the street
20· ·and confronting the protesters, did you see
21· ·yourself leaving during that walk to talk to
22· ·any police officer?
23· · · ·A.· ·The last part of your question is
24· ·coming in broken.· Are you asking me if I
25· ·spoke to a police officer?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·In those 30 seconds, does it show
·3· ·you talking to any police officer?
·4· · · ·A.· ·No.· I did not speak to a police
·5· ·officer.· That would be Matthew Heimbach.
·6· · · ·Q.· ·Okay.· Let's -- and then after the
·7· ·second time that you walked through the
·8· ·protesters, you got to the steps of the park,
·9· ·correct?
10· · · ·A.· ·I'm sorry.· You're coming in
11· ·distorted.
12· · · ·Q.· ·I'll speak slower.
13· · · ·A.· ·I don't think it's a question of the
14· ·rapidity of your speech.· There's something
15· ·electronic.
16· · · ·Q.· ·After the second time that you
17· ·walked through the protesters, you got to the
18· ·steps of the park, correct?
19· · · ·A.· ·Yes.
20· · · ·Q.· ·Let's look at -- let's look at
21· ·Exhibit 17.
22· · · · · · (Exhibit Number 17, Video of
23· · · · · · Rally, was marked for
24· · · · · · identification.)
25· · · · · · (Video playing.)


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·BY MR. LEVINE:
·3· · · ·Q.· ·Do you see yourself in that video?
·4· · · ·A.· ·I do.
·5· · · ·Q.· ·Did you see this video on an earlier
·6· ·occasion?
·7· · · ·A.· ·Yes, I did.· I saw it from other
·8· ·angles.
·9· · · ·Q.· ·And was that you waving the group
10· ·from the top of the steps down back into the
11· ·street?
12· · · ·A.· ·Yes, it was.
13· · · ·Q.· ·And what was your purpose in doing
14· ·that, sir?
15· · · ·A.· ·There were allies of us who were
16· ·wearing white shirts that were trying to get
17· ·into the park, and they were being beaten and
18· ·brutalized by the crowd, and the police were
19· ·standing by doing nothing.· We felt we had no
20· ·other choice but to rescue them and guide
21· ·them into the park.
22· · · ·Q.· ·And was that you throwing one of the
23· ·protesters to the ground?
24· · · ·A.· ·I did not see that.· I don't know.
25· · · ·Q.· ·Let's replay it.· Do you remember


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·who the people were that you claim you were
·3· ·rescuing?
·4· · · ·A.· ·They were wearing white shirts.                    I
·5· ·don't remember what organization they were
·6· ·with.
·7· · · · · · (Video playing.)
·8· ·BY MR. LEVINE:
·9· · · ·Q.· ·Did you have a picture of someone
10· ·that you were focusing on, now that you
11· ·recall, who was trapped, as you testified to?
12· · · ·A.· ·There were a number of men wearing
13· ·white polo shirts.
14· · · ·Q.· ·Can you identify where in this
15· ·picture they were?
16· · · ·A.· ·The picture is not very clear.                    I
17· ·believe they were coming up that street
18· ·directly behind the stop sign.
19· · · · · · (Video playing.)
20· ·BY MR. LEVINE:
21· · · ·Q.· ·Do you see -- do you see yourself
22· ·right there having just thrown someone to the
23· ·ground?
24· · · ·A.· ·No.· I missed that.
25· · · ·Q.· ·Do you see yourself right in the


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·middle?
·3· · · ·A.· ·I see myself there, yes.
·4· · · ·Q.· ·Right there?
·5· · · · · · (Video playing.)
·6· ·BY MR. LEVINE:
·7· · · ·Q.· ·So did you see anyone in those 30
·8· ·seconds with a white shirt that you were
·9· ·rescuing?
10· · · ·A.· ·I see them there to the right of the
11· ·stop sign behind the guy with the pink shirt.
12· ·They're coming towards the stairs.
13· · · ·Q.· ·The black man with the pink shirt?
14· · · ·A.· ·All I can see is a man with a pink
15· ·shirt.· They're standing behind him.· I think
16· ·that's them.
17· · · ·Q.· ·But you've already now -- you've
18· ·done your fighting and you've now returned to
19· ·the steps.· This is at the end of the video.
20· · · ·A.· ·Yes.
21· · · ·Q.· ·So those people with you when you
22· ·returned to the steps, what was your belief
23· ·that they needed to be rescued?
24· · · ·A.· ·They were obviously being beaten in
25· ·the crowd, and nobody was intervening from


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·the police department.
·3· · · ·Q.· ·Isn't it a fact that you just
·4· ·brought your group, gave them the charge sign
·5· ·with your right arm and brought the group
·6· ·down into the street to engage the protesters
·7· ·in some more violence even after you had
·8· ·gotten to the park?
·9· · · ·A.· ·No, that is not an accurate
10· ·statement.· We were defending our allies.
11· · · ·Q.· ·How did you know they were allies,
12· ·sir?
13· · · ·A.· ·Well, you can see to the left of the
14· ·stop sign there is a Confederate flag in the
15· ·crowd, and all them were wearing white polo
16· ·shirts, the majority of the gentlemen I was
17· ·talking about.· They were obviously on our
18· ·side.
19· · · ·Q.· ·Those -- the Confederate flag is --
20· ·is this the Confederate flag you're talking
21· ·about?
22· · · ·A.· ·It's the blue flag with the red
23· ·cross and stars in it.
24· · · ·Q.· ·Where I have the pointer?
25· · · ·A.· ·Yes, that's a Confederate flag.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·And that's across the street at the
·3· ·other side of the street.· Isn't that right?
·4· · · ·A.· ·Yes.· That's where they were
·5· ·initially assaulted over there.
·6· · · ·Q.· ·But you -- you led your crowd just
·7· ·about ten yards from your side of the street.
·8· ·You never took your crowd all the way to
·9· ·the -- across the street to liberate those
10· ·people, did you?
11· · · ·A.· ·By that time the rioters had
12· ·disbursed and allowed the gentlemen with the
13· ·white shirts to proceed towards the stairs.
14· · · ·Q.· ·Those people are still across the
15· ·street.
16· · · ·A.· ·Yes, that is correct.
17· · · · · · MR. LEVINE:· Let's look at
18· · · ·Exhibit 18.
19· · · · · · (Exhibit Number 18, Video of
20· · · · · · Rally, was marked for
21· · · · · · identification.)
22· ·BY MR. LEVINE:
23· · · ·Q.· ·Do you recall the announcement of --
24· ·do you recall at the time of this last video
25· ·the announcement of unlawful assembly that we


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·heard?
·3· · · ·A.· ·I don't recall that announcement
·4· ·being made during the filming of that video.
·5· · · ·Q.· ·We're playing Exhibit 18.
·6· · · · · · (Video playing.)
·7· ·BY MR. LEVINE:
·8· · · ·Q.· ·Have you seen that video before?
·9· · · ·A.· ·I have seen that video and a longer
10· ·version of it which shows men with the white
11· ·shirts entering the stairs at the 5-minute
12· ·and 20-second mark which you have removed
13· ·from this video.
14· · · ·Q.· ·Well, this is the video that I'm
15· ·showing you, sir.· So Mr. Jones can bring out
16· ·that video if you believe that that supports
17· ·your view.
18· · · · · · Now, did you learn -- withdrawn.
19· · · · · · After -- after you heard the -- did
20· ·you ever come to hear the declaration of
21· ·unlawful assembly?
22· · · ·A.· ·Yes.· We eventually heard it over
23· ·the loud speakers.
24· · · ·Q.· ·And what did you do?
25· · · ·A.· ·Went into the park, told our people


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·2· ·we needed to leave.· Some of the people from
·3· ·other organizations said we're not leaving.
·4· ·They're going to have to push us out.                I
·5· ·talked to police officers and told them that
·6· ·our route was blocked on the street, that we
·7· ·needed another exit.· They refused to speak
·8· ·to me.· So we took our people and a portion
·9· ·of us and exited the park down the stairs and
10· ·took a right down the street, trying to exit
11· ·the rally.
12· · · ·Q.· ·Isn't it correct that there were no
13· ·speeches that day?
14· · · ·A.· ·I'm sorry?· What was the question?
15· · · ·Q.· ·Isn't it correct there were no
16· ·speeches that day?
17· · · ·A.· ·That is correct.
18· · · ·Q.· ·There was no rally, correct?
19· · · ·A.· ·The rally had been interrupted.
20· · · ·Q.· ·No speaking rally ever took place,
21· ·correct?
22· · · ·A.· ·No.· The speakers were not allowed
23· ·to speak before it was declared an unlawful
24· ·assembly.
25· · · ·Q.· ·Dr. Hill never spoke, correct?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·That's correct.· He was denied that
·3· ·opportunity.
·4· · · ·Q.· ·And after unlawful assembly was
·5· ·declared, you and other members of the League
·6· ·returned to the garage, correct?
·7· · · ·A.· ·Attempted to, yes.
·8· · · ·Q.· ·And you got there, didn't you?
·9· · · ·A.· ·Yes.
10· · · ·Q.· ·And did you learn -- withdrawn.
11· · · · · · Did you witness in the garage the
12· ·beating up of a black man by League of the
13· ·South and other people at the entrance to the
14· ·garage?
15· · · ·A.· ·That's not what I viewed.· I heard a
16· ·commotion, turned around, saw that there was
17· ·a fight, and moved in that direction to make
18· ·sure that none of our people were involved
19· ·with it.· I did not see any of our people
20· ·involved with it, and I continued walking
21· ·towards the rear of the parking garage.
22· · · ·Q.· ·So you didn't see Tyler Davis in the
23· ·middle of the fight?
24· · · ·A.· ·No, I did not.
25· · · ·Q.· ·Did you see three or four white men


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·2· ·beating up a single black man?
·3· · · ·A.· ·I didn't really know what was going
·4· ·on.· I knew there was a fight.· I knew that
·5· ·more of our people had been severely injured,
·6· ·and I was moving to render that man first aid
·7· ·and dress his wound.
·8· · · ·Q.· ·Didn't you have occasion to
·9· ·literally stand in front of and look down at
10· ·the beating of the black man by those three
11· ·or four white men?
12· · · ·A.· ·I was walking by the situation.
13· · · ·Q.· ·Is it your testimony that you didn't
14· ·actually see the beating take place?
15· · · ·A.· ·I didn't observe the details of what
16· ·was taking place.· I just knew there was a
17· ·fight in that area.
18· · · · · · MR. LEVINE:· Let's take a look at
19· · · ·Exhibit 25 -- Exhibit 19.
20· · · · · · (Exhibit Number 19, Photograph,
21· · · · · · was marked for identification.)
22· ·BY MR. LEVINE:
23· · · ·Q.· ·Is that you with the red circle?
24· · · ·A.· ·Yes, that's me.
25· · · ·Q.· ·And you're walking right towards


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·those three white men beating that black man
·3· ·on the ground, correct?
·4· · · ·A.· ·That is correct.
·5· · · ·Q.· ·That's standing -- that's taking
·6· ·place directly in front of you, isn't it?
·7· · · ·A.· ·Yes, it is.
·8· · · ·Q.· ·That's not what you just testified
·9· ·you recall; isn't that right?
10· · · ·A.· ·I see from the video what you're
11· ·describing.· At that time all I recognized
12· ·was there was a fight going on.
13· · · ·Q.· ·But it wasn't a fight.· There are
14· ·three white men, all with sticks, two with
15· ·sticks and one with a shield, beating this
16· ·black man on the ground; isn't that right?
17· · · ·A.· ·By that time of the morning, I had
18· ·witnessed so much brutal and violent action
19· ·directed against our people in a similar
20· ·fashion that it all looked the same to me at
21· ·that time.· It was another fight.
22· · · ·Q.· ·Was there any other occasion earlier
23· ·in the day when one of your men was beaten by
24· ·three people while he was on the ground?
25· · · ·A.· ·Yes, there was.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·Which was -- when was that?
·3· · · ·A.· ·That would have been at the 5-minute
·4· ·and 43-second mark of the video which you cut
·5· ·short.
·6· · · ·Q.· ·Well, we will go look at that over
·7· ·the lunch hour, sir.
·8· · · · · · But did you try to stop this fight?
·9· · · ·A.· ·No.· I was focused on approaching
10· ·the man who had been hurt and rendering first
11· ·aid and making sure that nobody else was
12· ·getting involved with the fight, specifically
13· ·League members.
14· · · ·Q.· ·Let's look at -- isn't it a fact
15· ·that one of the League members was
16· ·participating in the beating of this man?
17· · · ·A.· ·In that photo that you just showed
18· ·me, there was no League member present in
19· ·front of me.
20· · · ·Q.· ·I asked you, isn't it a fact that
21· ·there was a League member that was involved
22· ·in the beating of that man.
23· · · ·A.· ·In hindsight, I learned that there
24· ·was a League member involved but not -- I did
25· ·not know that at that time.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·His name was Tyler Davis, correct?
·3· · · ·A.· ·That is correct.
·4· · · ·Q.· ·And you didn't recognize Mr. Davis
·5· ·as you walked by?
·6· · · ·A.· ·In the photo that you showed me,
·7· ·Tyler Davis was not involved in that
·8· ·incident.· I did not see him at that time.
·9· · · · · · MR. LEVINE:· Let's look at
10· · · ·Exhibit 20, which is a video of the
11· · · ·incident.
12· · · · · · (Exhibit Number 20, Video of
13· · · · · · Garage Fight, was marked for
14· · · · · · identification.)
15· ·BY MR. LEVINE:
16· · · ·Q.· ·Is that Mr. Davis right there on the
17· ·ground?
18· · · ·A.· ·Are you saying kneeling?
19· · · ·Q.· ·Yes.
20· · · ·A.· ·I don't know.· I can't identify that
21· ·person.
22· · · ·Q.· ·He has khaki -- he has khaki pants
23· ·and a black shirt, correct?
24· · · ·A.· ·Yes, as does all League members.
25· · · · · · (Video playing.)


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·BY MR. LEVINE:
·3· · · ·Q.· ·Did you -- could you identify
·4· ·Mr. Davis?
·5· · · ·A.· ·Yes.· I saw Mr. Davis wearing a
·6· ·boonie cap.
·7· · · ·Q.· ·And is it your testimony that at
·8· ·that moment at that time you didn't recognize
·9· ·Mr. Davis as being involved?
10· · · ·A.· ·I don't recall where I was standing.
11· · · ·Q.· ·It shows you standing on the -- on
12· ·the other side.· Do you see yourself walking
13· ·past this fight, the beating?
14· · · ·A.· ·I don't know.· Could you play that
15· ·again?
16· · · ·Q.· ·Sure.
17· · · · · · (Video played.)
18· ·BY MR. LEVINE:
19· · · ·Q.· ·Right there.
20· · · ·A.· ·Oh --
21· · · ·Q.· ·Do you see yourself --
22· · · ·A.· ·-- I'm not looking at the fight.
23· · · ·Q.· ·-- right there?· Right?
24· · · ·A.· ·I'm looking straight ahead.
25· · · ·Q.· ·Well, this is -- you're walking now


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·after you -- you were walking in the street,
·3· ·in the driveway area.· You then got up on the
·4· ·ledge and then walked past.· Isn't that
·5· ·correct?
·6· · · ·A.· ·That's what it appears.
·7· · · ·Q.· ·So when you were standing in front
·8· ·of the men beating the black man, did you see
·9· ·Mr. Davis?
10· · · ·A.· ·Well, as you can see from that
11· ·video, I was looking straight ahead and would
12· ·not have seen Mr. Davis.
13· · · ·Q.· ·Well, you then -- you must have
14· ·walked up on to the ledge because in the
15· ·picture that we showed you, which was
16· ·Exhibit 19, you were not on the ledge.· You
17· ·were actually in the driveway area staring
18· ·right at the men beating him.
19· · · ·A.· ·Yes.· When I was standing in the
20· ·road, the picture that you showed me, I was
21· ·looking at what was going on and Tyler Davis
22· ·was not in that picture.
23· · · ·Q.· ·That you could see?
24· · · ·A.· ·That I can see.
25· · · ·Q.· ·He was obviously in the picture.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·You just didn't see him.
·3· · · ·A.· ·No, I did not see Tyler Davis in
·4· ·that first picture you showed me.
·5· · · ·Q.· ·I mean, he was obviously at the
·6· ·scene.· You didn't see him in the picture.
·7· · · ·A.· ·At the time of the event, I did not
·8· ·see any League member, Tyler Davis or anyone
·9· ·else, involved in that scuffle.
10· · · ·Q.· ·But you realize now that a League
11· ·member was involved?
12· · · ·A.· ·Yes, I do, in hindsight.
13· · · ·Q.· ·And I take it you were walking into
14· ·the garage?
15· · · ·A.· ·Yes, that is correct.
16· · · ·Q.· ·And you got to your car or into a
17· ·car with others and went back to the camp?
18· · · ·A.· ·At that point right there I was --
19· ·immediately after that scene you're showing I
20· ·was bandaging a head wound.
21· · · ·Q.· ·Of whom?
22· · · ·A.· ·One of the men who had been attacked
23· ·in front of the parking garage.
24· · · ·Q.· ·Who was that?
25· · · ·A.· ·All I know him by is the name Alex.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·Was he a member of the League --
·3· · · · · · (Indiscernible crosstalk.)
·4· · · ·A.· ·-- that evening.
·5· · · ·Q.· ·Was he a member of the League?
·6· · · ·A.· ·I don't believe he was at that time.
·7· · · ·Q.· ·Did he become a member of the
·8· ·League?
·9· · · ·A.· ·I don't think he did.
10· · · ·Q.· ·You didn't take any steps to try to
11· ·prevent that beating that you were -- that
12· ·you briefly observed; isn't that right?
13· · · ·A.· ·I was more concerned with keeping
14· ·others from being involved with it.
15· · · ·Q.· ·What steps did you look like -- what
16· ·steps did you take to keep others involved?
17· · · ·A.· ·I was walking around between the
18· ·fight at the entrance of the parking garage
19· ·to keep others away who were approaching that
20· ·scene.
21· · · ·Q.· ·So you took -- but you took no steps
22· ·to prevent four men, three of them with
23· ·sticks, from beating this black man who was
24· ·lying on the street; isn't that right?
25· · · ·A.· ·At that moment I didn't know what


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·the details of the fight were.· I knew that
·3· ·there was a fight.· I didn't know the exact
·4· ·details of what was happening.
·5· · · ·Q.· ·Now, you came to realize that that
·6· ·garage attack on that black man was going to
·7· ·be the subject of a criminal case, correct?
·8· · · ·A.· ·No, I did not.
·9· · · ·Q.· ·After the events were you worried
10· ·that there would be charges against any
11· ·League members, a League member for
12· ·participating in that beating?
13· · · ·A.· ·I don't recall.· I had seen so much
14· ·violence that day that -- and the police
15· ·weren't doing anything about it.· It didn't
16· ·seem like anything was going to be directed
17· ·at anybody as far as charges go.
18· · · ·Q.· ·After the events, Mr. Tubbs, didn't
19· ·you get worried that members of the League or
20· ·a member of the League might be charged in
21· ·connection with the beating of that black
22· ·man?
23· · · ·A.· ·Once I learned that Tyler Davis had
24· ·been involved with it, I probably had some
25· ·concerns.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·And didn't you discuss with Dr. Hill
·3· ·what legal strategy the League had in order
·4· ·to deal with that event?
·5· · · ·A.· ·I don't recall that discussion.
·6· · · · · · MR. LEVINE:· Let's mark Exhibit 21.
·7· · · · · · MR. JONES:· If we could do lunch in
·8· · · ·just a couple minutes, sir.
·9· · · · · · MR. LEVINE:· You know what?· We're
10· · · ·starting this new subject.· So we can
11· · · ·break for lunch now.
12· · · · · · MR. JONES:· Okay.· Great.· Thank
13· · · ·you.
14· · · · · · THE VIDEOGRAPHER:· The time is
15· · · ·12:48 p.m.· We're off the record.
16· · · · · · (Luncheon recess from
17· · · · · · 12:48 p.m. to 1:31 p.m.)
18· · · · · · THE VIDEOGRAPHER:· The time is
19· · · ·1:31 p.m.· We're on the record.
20· · · · · · MR. LEVINE:· I'm showing you what
21· · · ·we're going to mark as Exhibit 21.
22· · · · · · (Exhibit Number 21, Email from
23· · · · · · Michael Hill to Michael Tubbs,
24· · · · · · dated 8/27/17, Bates-stamped
25· · · · · · MH00015425, was marked for


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · · · · identification.)
·3· ·BY MR. LEVINE:
·4· · · ·Q.· ·Mr. Tubbs, this is Exhibit 21 that's
·5· ·marked.· Is it an email from Mr. -- Dr. Hill
·6· ·to you on August 27th, 2017, on your
·7· ·ProtonMail account?
·8· · · ·A.· ·Sorry.· Was that a question?
·9· · · ·Q.· ·Yes.
10· · · ·A.· ·Yes, that appears to be what it is.
11· · · ·Q.· ·Thank you.· And is Dr. Hill telling
12· ·you, "In conjunction with our attorneys, we
13· ·have developed what I consider to be a sound
14· ·and effective legal plan for any criminal or
15· ·civil actions being laid against us for the
16· ·'parking garage' incident.· Please keep this
17· ·completely confidential.· I will provide you
18· ·details once I am able."
19· · · · · · Did you receive that notice from
20· ·him?
21· · · ·A.· ·I don't recall, but I probably did.
22· · · ·Q.· ·And did you have any conversations
23· ·before receiving this email or after with
24· ·Dr. Hill about the garage incident?
25· · · ·A.· ·If so, I don't recall.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·Do you remember what the plan was
·3· ·that Dr. Hill is referring to?
·4· · · ·A.· ·No, I don't because I never saw -- I
·5· ·never saw the plan implemented.
·6· · · ·Q.· ·Did you ever hear of the plan from
·7· ·him again?
·8· · · ·A.· ·I'm sorry.· Could you repeat that
·9· ·question?
10· · · ·Q.· ·Did you ever discuss a plan with
11· ·Dr. Hill?
12· · · ·A.· ·I don't recall.
13· · · ·Q.· ·And did you take it upon yourself to
14· ·warn League of the South members to refrain
15· ·from contacting any of the men involved in
16· ·the garage incident?
17· · · ·A.· ·I don't recall because I don't -- I
18· ·didn't know who those people were at that
19· ·time.· I don't remember.
20· · · ·Q.· ·Well, did you come -- did you come
21· ·to learn that at least one of them was Tyler
22· ·Davis?
23· · · ·A.· ·Later at some time, yes, I did.
24· · · ·Q.· ·Well, didn't you learn that he was
25· ·arrested -- later arrested for charges


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·relating to the incident?
·3· · · ·A.· ·Yes, I did.
·4· · · ·Q.· ·And once you learned that he was
·5· ·arrested on charges, did you reach out to
·6· ·other League of the South people to try to
·7· ·confine discussions with Mr. Davis?
·8· · · ·A.· ·I believe at some point I might
·9· ·have.
10· · · ·Q.· ·Were you concerned about other
11· ·League of the South people getting involved
12· ·in the case that the government -- government
13· ·brought against Mr. Davis?
14· · · ·A.· ·I don't believe I was because I
15· ·believe that Tyler Davis was the lone League
16· ·member involved in that incident.
17· · · · · · MR. LEVINE:· Let's look at
18· · · ·Exhibit 22.
19· · · · · · (Exhibit Number 22, Message
20· · · · · · from Michael Tubbs to Brad
21· · · · · · Griffin Via VK, dated 2/8/18,
22· · · · · · Bates-stamped LOS00053882, was
23· · · · · · marked for identification.)
24· ·BY MR. LEVINE:
25· · · ·Q.· ·Is this a VK message from you to


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·Brad Griffin in or about February of 2018?
·3· · · ·A.· ·It appears to be so, yes.
·4· · · ·Q.· ·And it says, "You are friends with
·5· ·Tyler Davis on VK.· Tyler was arrested on 24
·6· ·January on charges related to the 12 August
·7· ·Unite the Right valley in Charlottesville,
·8· ·Virginia.· The Feds apparently have
·9· ·possession of his phone and 'Tyler' has been
10· ·friending people while he is in jail.· You
11· ·need to remove."
12· · · · · · Did you write that?
13· · · ·A.· ·Yes, I did.
14· · · ·Q.· ·What's VK?
15· · · ·A.· ·It's a social media platform.
16· · · ·Q.· ·Is that a social media platform that
17· ·you used?
18· · · ·A.· ·I'm sorry.· Could you repeat that?
19· · · ·Q.· ·Is it a social media platform that
20· ·you used?
21· · · ·A.· ·Yes, it is.
22· · · ·Q.· ·And how did you learn that Tyler
23· ·Davis was arrested January 24th, 2018?
24· · · ·A.· ·I believe Tyler Davis had contacted
25· ·me in some form and let me know that deputies


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·from his county had come to his house, and he
·3· ·believed they were there to identify him.                  I
·4· ·don't recall who told me that he was
·5· ·arrested.· I might have seen it in the
·6· ·newspaper.
·7· · · ·Q.· ·And was that conversation with Tyler
·8· ·Davis on the phone or in text?
·9· · · ·A.· ·It was -- I don't recall.· It was
10· ·probably in text.
11· · · ·Q.· ·Did you delete those texts?
12· · · ·A.· ·No, I did not.
13· · · ·Q.· ·I don't think we've seen those
14· ·texts.· They weren't produced in this case.
15· · · ·A.· ·Is that a question?
16· · · ·Q.· ·Yeah.· Did you delete those texts?
17· ·Because we haven't -- they weren't produced
18· ·in this case.
19· · · ·A.· ·I already answered your question
20· ·about whether I deleted those texts.· I said
21· ·no.
22· · · ·Q.· ·Did you take text steps to
23· ·produce -- withdrawn.
24· · · · · · What phone did you use to text?
25· · · ·A.· ·I don't recall if it was a phone or


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·texting on social media.
·3· · · ·Q.· ·What are the different ways that you
·4· ·texted during 2017 and 2018?
·5· · · ·A.· ·I'm sorry.· Could you repeat that
·6· ·question?
·7· · · ·Q.· ·What are the different mediums that
·8· ·you used to text during 2017 and 2018?
·9· · · ·A.· ·I don't recall.· I can only guess
10· ·that they were through VK and ProtonMail
11· ·probably.
12· · · ·Q.· ·What about your cell phone?
13· · · ·A.· ·It's possible, but I don't recall.
14· · · ·Q.· ·Did you provide your cell phone to
15· ·Mr. Jones for imaging?
16· · · ·A.· ·I did.
17· · · ·Q.· ·And before you -- was your text
18· ·phone on -- was your phone on auto delete for
19· ·texts?
20· · · ·A.· ·I'm not even aware of that feature.
21· ·I don't know.
22· · · ·Q.· ·Did you delete texts?
23· · · ·A.· ·I don't recall.
24· · · ·Q.· ·So it's possible that you did?
25· · · ·A.· ·I'm sorry.· Was that a question?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·Yes.· It's possible that you did
·3· ·delete your phone texts; is that right?
·4· · · ·A.· ·It's possible.
·5· · · ·Q.· ·So did -- how did you learn that --
·6· ·that Mr. Griffin was a friend of Tyler
·7· ·Davis's on VK?
·8· · · ·A.· ·Are you asking how or when?
·9· · · ·Q.· ·How.
10· · · ·A.· ·I believe that I looked at his list
11· ·of friends on VK and saw Tyler Davis as one
12· ·of them.
13· · · ·Q.· ·Did you ever look at Tyler Davis's
14· ·friends on VK?
15· · · ·A.· ·I might have, I don't recall.
16· · · ·Q.· ·Did you talk to Dr. Hill before you
17· ·reached out to Brad Griffin about alerting
18· ·Brad Griffin for defriending?
19· · · ·A.· ·I don't recall.· I might have.
20· · · ·Q.· ·Did you reach out to any other
21· ·members of the League of the South to advise
22· ·them to defriend Tyler Davis?
23· · · ·A.· ·Yes, I did.
24· · · ·Q.· ·Do you recall who?
25· · · ·A.· ·No, I don't.· I think I just went


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·down the list of League friends he had.
·3· · · · · · MR. LEVINE:· Let's look at
·4· · · ·exhibit -- what we'll mark as
·5· · · ·Exhibit 23.
·6· · · · · · (Exhibit Number 23, Message
·7· · · · · · Thread Between Michael Tubbs
·8· · · · · · and Brian McCoy, Bates-stamped
·9· · · · · · MT00000218 - 220, was marked
10· · · · · · for identification.)
11· ·BY MR. LEVINE:
12· · · ·Q.· ·Is Brian McCoy a member of the
13· ·League of the South?
14· · · ·A.· ·I think he was a member at one time.
15· · · ·Q.· ·Is he somebody that you communicated
16· ·with by text?
17· · · ·A.· ·I probably communicated with him by
18· ·text at one or more times.
19· · · ·Q.· ·Is this a picture of the VK page of
20· ·your text with Brian McCoy?
21· · · ·A.· ·It looks like an unfamiliar format,
22· ·but I'm not familiar with it.· I can't tell
23· ·if that's from VK or not.
24· · · ·Q.· ·I represent to you that it is.
25· ·Let's look at February 4, 2018.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · · · · You see there next to the date
·3· ·February 4, 2018, it has you, comma, at
·4· ·10:27:51 p.m. on February 4?· It says, "You
·5· ·are friends with Tyler Davis.· The Feds
·6· ·apparently have possession of his phone and
·7· ·'Tyler' has been friending people while he is
·8· ·in jail.· You need to remove him from your
·9· ·friends list immediately and delete any
10· ·conversations you might have had with him via
11· ·Signal, Messenger, or any other format."
12· · · · · · Do you see that?
13· · · ·A.· ·Yes, I see that.
14· · · ·Q.· ·And how did you learn that Tyler --
15· ·first of all, how did you learn Tyler was in
16· ·jail?
17· · · ·A.· ·It was after he had been arrested.
18· ·So he had to be in jail.
19· · · ·Q.· ·How did you learn that he was
20· ·arrested and jailed and didn't get bail?
21· · · ·A.· ·I don't recall.· I never heard
22· ·anything about him getting bail.
23· · · ·Q.· ·How did you learn that he was in
24· ·jail?
25· · · ·A.· ·We had heard that he had been


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·arrested.
·3· · · ·Q.· ·Who told you?
·4· · · ·A.· ·I think it was from a newspaper
·5· ·article.
·6· · · ·Q.· ·Did he reach out to you while he was
·7· ·in jail?
·8· · · ·A.· ·No.
·9· · · ·Q.· ·Do you know if he reached out to
10· ·Dr. Hill while he was in jail?
11· · · ·A.· ·I don't know.
12· · · ·Q.· ·Do you know if the League tried to
13· ·help him while he was in jail?
14· · · ·A.· ·Yes.
15· · · ·Q.· ·And did the League provide him with
16· ·a lawyer?
17· · · ·A.· ·No.
18· · · ·Q.· ·Did he get a lawyer?
19· · · ·A.· ·I understand that he did, yes.
20· · · ·Q.· ·Did he retain a lawyer?
21· · · ·A.· ·I'm sorry.· What do you mean by the
22· ·word "retain"?
23· · · ·Q.· ·Hire.
24· · · ·A.· ·Yes, he hired an attorney.
25· · · ·Q.· ·And did you take it upon yourself to


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·give Brian McCoy this instruction about
·3· ·removing Tyler Davis from his friends list
·4· ·and deleting conversations, or was that
·5· ·something Dr. Hill asked you to do?
·6· · · ·A.· ·That was my idea.
·7· · · ·Q.· ·And had you communicated with
·8· ·Mr. McCoy or other people in the League by
·9· ·Signal?
10· · · ·A.· ·I don't recall, but I probably did.
11· · · ·Q.· ·What's Signal?
12· · · ·A.· ·Signal is a secure texting
13· ·application.
14· · · ·Q.· ·And did you use it?
15· · · ·A.· ·I have used Signal in the past.                   I
16· ·don't remember when I started using it.
17· · · ·Q.· ·Do you remember when you stopped
18· ·using it?
19· · · ·A.· ·I'm still using it.
20· · · ·Q.· ·Were you using it at the time of
21· ·Charlottesville?
22· · · ·A.· ·I don't recall.
23· · · ·Q.· ·Do you have Signal on an auto
24· ·delete?
25· · · ·A.· ·I don't think that's a feature on


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·Signal.· I think you can -- I think it
·3· ·automatically -- it allows it to be deleted
·4· ·after a certain amount of time.
·5· · · ·Q.· ·Did you change that feature?
·6· · · ·A.· ·I think it's pretty much the same
·7· ·where we're -- whoever I'm communicating with
·8· ·on Signal.
·9· · · ·Q.· ·What about Messenger?· What's
10· ·Messenger?
11· · · ·A.· ·I believe that's a Facebook texting
12· ·app.
13· · · ·Q.· ·Isn't it a fact that one of the
14· ·reasons why you used Signal was because it
15· ·has a delete function?
16· · · ·A.· ·Well, the primary use -- reasons for
17· ·using Signal over Messenger is Messenger is
18· ·tied to Facebook and Facebook was always
19· ·taking down our profiles and we were losing
20· ·everything.
21· · · ·Q.· ·But here you're telling Brian McCoy
22· ·to delete conversations that he may have had
23· ·with Tyler Davis, correct?
24· · · ·A.· ·Yes, I am.
25· · · ·Q.· ·What's the purpose of that?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·Because we were under the impression
·3· ·at that time that someone other than Tyler
·4· ·Davis was using his phone and trying to
·5· ·communicate with people.
·6· · · ·Q.· ·And what would be the danger of
·7· ·that?
·8· · · ·A.· ·The danger of having strangers
·9· ·pretend that they are someone else and
10· ·communicate with you.
11· · · ·Q.· ·How did you believe -- why did you
12· ·believe that was happening?
13· · · ·A.· ·A couple of people had notified me
14· ·that they were receiving messages from Tyler
15· ·Davis and they believed that Tyler Davis was
16· ·still in jail and would not have had access
17· ·to his phone.
18· · · ·Q.· ·Who were those people?
19· · · ·A.· ·I don't recall at this time.
20· · · ·Q.· ·Were they people that were in the
21· ·League?
22· · · ·A.· ·Yes.
23· · · ·Q.· ·Did you have concerns that other
24· ·people in the League might be charged in the
25· ·Harris beating?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·I'm sorry.· Can you repeat that
·3· ·question.
·4· · · ·Q.· ·Did you have concerns that other
·5· ·people in the League might be charged in the
·6· ·Harris beating?
·7· · · ·A.· ·No.· I was unaware of anyone else in
·8· ·the League who was involved with it.· So I
·9· ·had no concerns.
10· · · · · · MR. LEVINE:· Let's take a look at
11· · · ·Exhibit 24.
12· · · · · · (Exhibit Number 24, Message
13· · · · · · Thread Between Michael Tubbs
14· · · · · · and Charleen Braun,
15· · · · · · Bates-stamped MT00000250 - 261,
16· · · · · · was marked for identification.)
17· ·BY MR. LEVINE:
18· · · ·Q.· ·Do you know a woman by the name of
19· ·Charleen Braun?
20· · · ·A.· ·I do not recognize that name.
21· · · ·Q.· ·This is another VK -- they're
22· ·messages between you and a woman by the name
23· ·of Charleen Braun.· Take a look at
24· ·February 4, 2018.
25· · · · · · Do you know -- you don't recognize


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·the name.· Is there a woman in the League
·3· ·that you communicated with, might be known by
·4· ·some other name to you?
·5· · · ·A.· ·I'm not sure if this is a real name
·6· ·or a fake name.· What -- what entry am I
·7· ·supposed to be looking at?
·8· · · ·Q.· ·Entry for February 4.· It says, once
·9· ·again, you at 10:35 p.m. on February 4, "You
10· ·are friends with Tyler Davis.· The Feds
11· ·apparently have possession of his phone and
12· ·'Tyler' has been friending people while he is
13· ·in jail.· You need to remove him from your
14· ·friends list immediately and delete any
15· ·conversations you might have had with him via
16· ·Signal, Messenger, or any other format."
17· · · · · · You sent this woman the same
18· ·message, correct?
19· · · ·A.· ·Yeah.· That was basically a
20· ·cut-and-paste message to anybody who I could
21· ·find on his friends list or --
22· · · ·Q.· ·And it's your --
23· · · ·A.· ·-- whatever source.
24· · · ·Q.· ·I'm sorry.· Finish your answer?
25· · · ·A.· ·It was basically a cut-and-paste


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·message that I sent to anybody who I could
·3· ·find was associated with Tyler Davis on
·4· ·social media.
·5· · · ·Q.· ·And what sources did you look at in
·6· ·order to identify the people that you needed
·7· ·to send this message to?
·8· · · ·A.· ·I don't recall.· I think it was VK.
·9· · · ·Q.· ·Pardon?
10· · · ·A.· ·I don't recall.· I think it was VK.
11· · · ·Q.· ·Did you tell Dr. Hill what you were
12· ·doing?
13· · · ·A.· ·I don't believe I did.
14· · · ·Q.· ·Did you reach out to the people that
15· ·Dr. Hill told you were going to run the legal
16· ·strategy to find out whether the people that
17· ·were running the legal strategy relating to
18· ·the garage incident would want you to be a
19· ·witness?
20· · · ·A.· ·No, I didn't.· I don't know who
21· ·these people were.
22· · · ·Q.· ·Did you have any concern that you
23· ·were telling people to destroy or delete
24· ·evidence that might be relevant in a criminal
25· ·case?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·No.· At that time my concern was
·3· ·other people being endangered by being led
·4· ·into a trap or something from a -- someone
·5· ·masquerading themselves as Tyler Davis.
·6· · · ·Q.· ·But you knew at the time that Tyler
·7· ·Davis had been arrested, correct?
·8· · · ·A.· ·Can you repeat that question?
·9· · · ·Q.· ·You knew at the time you were doing
10· ·this that Tyler Davis had been arrested,
11· ·correct?
12· · · ·A.· ·I knew that he had been arrested,
13· ·yes.
14· · · ·Q.· ·And what you believed was the police
15· ·might be conducting an investigation of the
16· ·people that Tyler Davis had friended,
17· ·correct?
18· · · ·A.· ·What I believed was that somebody
19· ·masquerading as Tyler Davis was using his
20· ·phone to make friend requests, for one thing.
21· · · ·Q.· ·And the people -- somebody that you
22· ·were worried about were the police, correct?
23· · · ·A.· ·We also thought it might be his
24· ·wife, and we had somebody contact his wife to
25· ·see if she was using his phone.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·And what did you learn?
·3· · · ·A.· ·She never got back with us.
·4· · · ·Q.· ·But didn't you say that you learned
·5· ·that the Feds took possession of his phone?
·6· · · ·A.· ·It was a suspicion.
·7· · · ·Q.· ·You said the Feds apparently have
·8· ·possession of his phone.· You didn't believe
·9· ·that -- you didn't know that to be a fact?
10· · · ·A.· ·Well, that's why I used the word
11· ·"apparently," because I didn't know.
12· · · ·Q.· ·Wasn't it a fact that what you were
13· ·concerned about was the police using his
14· ·phone and you didn't want people from the
15· ·League entrapped by the police?
16· · · ·A.· ·That was probably one concern,
17· ·entrapment, yes.
18· · · ·Q.· ·So do you see what Charleen Braun
19· ·responded to you?· She said, "Done, sir."
20· ·Correct?
21· · · ·A.· ·I see that.
22· · · ·Q.· ·So you don't know the person
23· ·Charleen Braun?
24· · · ·A.· ·I don't recognize that name, no,
25· ·sir.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·Isn't it a fact that you're
·3· ·communicating with that person before
·4· ·February of 2018; isn't that right?
·5· · · ·A.· ·I'm sorry.· You're cut and broken
·6· ·up.· What was that question?
·7· · · ·Q.· ·Look through the bottom of this VK
·8· ·series of chats.· You're communicating with
·9· ·this person back in January.· Isn't that
10· ·right?
11· · · ·A.· ·It appears so.
12· · · ·Q.· ·So you didn't -- this wasn't a
13· ·random person that you learned of on Tyler
14· ·Davis's friends list; isn't that right?
15· · · ·A.· ·Yes.· That would be apparent.
16· · · ·Q.· ·And in reading these messages from
17· ·January of 2018 does that refresh your
18· ·recollection who this person is?
19· · · ·A.· ·From January -- what day?
20· · · ·Q.· ·January of 2018.
21· · · ·A.· ·Yeah.· I -- yeah, I'm recognizing it
22· ·now.
23· · · ·Q.· ·Who is it?
24· · · ·A.· ·The content.· I'm sorry?
25· · · ·Q.· ·Who is it?


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·2· · · ·A.· ·It's a fellow League member named
·3· ·Charleen, but I don't know what her last name
·4· ·is.
·5· · · ·Q.· ·You're -- you are responding as
·6· ·early as November 2017.· Do you see that?
·7· ·You say, "Thank you, Ms. Charleen.· And you
·8· ·and yours as well"?
·9· · · ·A.· ·Yeah, I see that.
10· · · ·Q.· ·Go back up to -- do you remember
11· ·where Charleen is from?
12· · · ·A.· ·Somewhere out west.· I can't recall
13· ·what state she's in.
14· · · ·Q.· ·Have you ever met her face to face?
15· · · ·A.· ·Yes, I have.
16· · · ·Q.· ·Where have you met her?
17· · · ·A.· ·At League events.
18· · · ·Q.· ·Do you see an entry for January 10,
19· ·2018?
20· · · ·A.· ·Yes, I do.
21· · · ·Q.· ·Did you own a Third Reich coin?
22· · · ·A.· ·Yeah.· It was a gift.
23· · · ·Q.· ·You say here to her, "I still have
24· ·my Third Reich coin, and I'm very proud of
25· ·it.· The chain did, indeed, break when it


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·fell on the floor at my feet.· But I did not
·3· ·lose the coin."
·4· · · · · · When did you get a Third Reich coin?
·5· · · ·A.· ·I can't remember when she gave it to
·6· ·me.· It was at some League event.
·7· · · ·Q.· ·Who gave it to you?
·8· · · ·A.· ·Charleen.
·9· · · ·Q.· ·Did you also communicate with a
10· ·woman by the name of Jessica Reavis?
11· · · ·A.· ·I'm sorry, could you repeat that?
12· · · ·Q.· ·Now, did you also communicate with a
13· ·woman by the name of Jessica Reavis,
14· ·R-E-A-V-I-S?
15· · · ·A.· ·Is anybody else having a problem
16· ·with this audio besides me?
17· · · · · · I'm having difficulty hearing some
18· ·of what you're pronouncing, sir.· I'm not
19· ·trying to be trouble or anything, but --
20· · · ·Q.· ·I appreciate that, Mr. Tubbs.
21· ·You've been cooperative.· Let me -- I'll try
22· ·to remove it from the screen maybe --
23· · · ·A.· ·Could you say the lady's name again,
24· ·please, sir.
25· · · ·Q.· ·Jessica Reavis, R-E-A-V-I-S.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·Yes, sir, I know Jessica Reavis.
·3· · · · · · MR. LEVINE:· Okay.· Let's look at
·4· · · ·Exhibit 25.
·5· · · · · · (Exhibit Number 25, Message
·6· · · · · · Thread Between Michael Tubbs
·7· · · · · · and Jessica Reavis,
·8· · · · · · Bates-stamped MT00000243 - 245,
·9· · · · · · was marked for identification.)
10· ·BY MR. LEVINE:
11· · · ·Q.· ·Who is Jessica Reavis?
12· · · ·A.· ·She's a League member.
13· · · ·Q.· ·Where is she from?
14· · · ·A.· ·State of Virginia.
15· · · ·Q.· ·And how long have you known her?
16· · · ·A.· ·I haven't known her long.· I don't
17· ·believe that she came into contact with the
18· ·League until the Charlottesville event.
19· · · ·Q.· ·And was she from Charlottesville?
20· · · ·A.· ·I don't believe so, no.
21· · · ·Q.· ·Did she join the League after
22· ·Charlottesville?
23· · · ·A.· ·I'm not certain when she joined the
24· ·League, but it would be after
25· ·Charlottesville.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·Let's go to February 4th, 2018,
·3· ·right here.· Once again, you sent the same,
·4· ·what you called cut and paste to her,
·5· ·correct?
·6· · · ·A.· ·I'm sorry.· Where is the date?
·7· · · ·Q.· ·February 4.
·8· · · ·A.· ·Yes, sir.· Yes, I probably sent that
·9· ·message.
10· · · ·Q.· ·And, once again, you had a prior
11· ·relationship with Jessica Reavis, correct?
12· · · ·A.· ·I knew Jessica Reavis from prior to
13· ·February 4, 2018, yes.
14· · · ·Q.· ·And you gave her the same warning on
15· ·VK?
16· · · ·A.· ·Yes.· I probably sent it out to
17· ·everybody on the same day.
18· · · ·Q.· ·Do you remember how many people you
19· ·sent it out to?
20· · · ·A.· ·No, I do not.
21· · · ·Q.· ·We have identified four people that
22· ·you sent it out to.· Do you remember sending
23· ·it out to more than that?
24· · · ·A.· ·I don't recall the number.
25· · · ·Q.· ·Now, are you also aware -- are you


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·also aware that one of the defendants in this
·3· ·lawsuit is a man by the name of James Field?
·4· · · ·A.· ·I remember the name James Field,
·5· ·yes.
·6· · · ·Q.· ·And you know among other things,
·7· ·besides being a defendant in this case, he
·8· ·was charged criminally with driving his car
·9· ·into a crowd of protesters on August 12th; is
10· ·that right?
11· · · ·A.· ·I'm sorry, sir.· Was that a
12· ·question?
13· · · ·Q.· ·Yes.· Did you know that?
14· · · ·A.· ·I knew it after the fact, yes.
15· · · ·Q.· ·And were you present on Fourth
16· ·Street when that car attack took place?
17· · · ·A.· ·No, I was not.
18· · · ·Q.· ·Have you -- had you ever met James
19· ·Field before the car attack?
20· · · ·A.· ·No, sir.
21· · · ·Q.· ·Did you know that he marched with
22· ·Vanguard America on August 12th?
23· · · ·A.· ·I did not.
24· · · ·Q.· ·When did you first learn of the car
25· ·attack?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·I heard it on the news on the way
·3· ·home.
·4· · · ·Q.· ·And did you ever watch any videos of
·5· ·the car attack?
·6· · · ·A.· ·Yes, I did.
·7· · · ·Q.· ·Which videos?
·8· · · ·A.· ·I'm not sure how to identify those
·9· ·videos to you.
10· · · ·Q.· ·Where did you see those videos?
11· · · ·A.· ·On YouTube.
12· · · · · · MR. LEVINE:· Let's look at
13· · · ·Exhibit 26.
14· · · · · · (Exhibit Number 26, Photographs
15· · · · · · Posted on Twitter,
16· · · · · · Bates-stamped
17· · · · · · NOCUSTODIAN00004097, was marked
18· · · · · · for identification.)
19· ·BY MR. LEVINE:
20· · · ·Q.· ·This is a photo of the car in black
21· ·and white, there in color, that you posted on
22· ·Twitter.· Where did you get that photo?
23· · · ·A.· ·I don't recall.· It was all over the
24· ·Internet.
25· · · ·Q.· ·Why did you post the photo on


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·Twitter?
·3· · · ·A.· ·Because the photo seemed to
·4· ·contradict the official narrative.· I found
·5· ·that to be interesting.
·6· · · ·Q.· ·In what way did this photo
·7· ·contradict the narrative?
·8· · · ·A.· ·It appeared to show the victim
·9· ·standing on the sidewalk rather than in front
10· ·of the car.
11· · · ·Q.· ·Which victim are you talking about?
12· · · ·A.· ·Heather Heyer.
13· · · ·Q.· ·Where is -- where is she?
14· · · ·A.· ·Well, she appears to be circled in
15· ·the red mark there.
16· · · ·Q.· ·Is that -- did you circle that?
17· · · ·A.· ·No, I did not.
18· · · ·Q.· ·Do you know when that picture was
19· ·taken?
20· · · ·A.· ·It had to have been taken
21· ·August 12th, as far as I can tell.
22· · · ·Q.· ·Do you know that Mr. Field drove the
23· ·car down Fourth Street twice, not once?
24· · · ·A.· ·I'm not certain how he could have
25· ·drove down the street twice.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·Do you know -- have you ever seen
·3· ·the video -- complete video of Mr. Field
·4· ·driving the car on that day?
·5· · · ·A.· ·I'm not sure what constitutes a
·6· ·complete video.· I've seen numerous videos of
·7· ·the car driving down the road.
·8· · · ·Q.· ·Well, do you know -- did you know
·9· ·that there are at least some videos that show
10· ·that Mr. Field drove the car down Fourth
11· ·Street, then backed up out to Market, and
12· ·then drove back down to Fourth Street at
13· ·30 miles an hour or so, and that's when he
14· ·rammed into the protesters and that's when
15· ·Heather Heyer was killed?· Did you know that?
16· · · ·A.· ·I don't know that.
17· · · ·Q.· ·Do you know whether the picture that
18· ·you took that you retweeted was a picture of
19· ·the first time Mr. Field drove down the
20· ·street?
21· · · ·A.· ·I would have to believe that since
22· ·it shows -- that since it shows the impact,
23· ·it would have to be the only time.
24· · · ·Q.· ·Did you know before I just told you
25· ·that there actually -- that Mr. Field drove


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·his car down that street on two occasions
·3· ·that day?
·4· · · ·A.· ·I was not there for the trial so
·5· ·there's a lot of information about that
·6· ·situation that I have not been made aware of.
·7· · · ·Q.· ·And yet you've taken the position
·8· ·that Mr. Field did nothing wrong; isn't that
·9· ·right?
10· · · ·A.· ·That's what I believe, based on the
11· ·information that I received.
12· · · ·Q.· ·In fact, you've said in the social
13· ·media more than once that Mr. Field did
14· ·nothing wrong; is that right?
15· · · ·A.· ·That is my understanding based on
16· ·the knowledge that I have received.
17· · · ·Q.· ·And did you ever take -- did you
18· ·ever read any part of the trial transcript?
19· · · ·A.· ·I believe I have seen some of it.
20· · · ·Q.· ·Did you read all of it?
21· · · ·A.· ·I don't recall.
22· · · ·Q.· ·Do you know what the evidence was,
23· ·all of the evidence was against Mr. Field?
24· · · ·A.· ·I was not there for the trial so I
25· ·was not privy to that information.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·But in spite of not being privy to
·3· ·all of the information about the case, you've
·4· ·proceeded in social media as the leader of
·5· ·the League of the South to be taking the
·6· ·position Mr. Field did nothing wrong; isn't
·7· ·that right?
·8· · · ·A.· ·That's my personal opinion and not
·9· ·the official position of the League of the
10· ·South.
11· · · ·Q.· ·Do you --
12· · · ·A.· ·I'm entitled to my personal opinions
13· ·and expressing them.
14· · · ·Q.· ·You certainly are.· I'm just asking
15· ·you how much fact your personal opinion is
16· ·based on.· I'm trying to establish that.· I'm
17· ·not being critical, sir.· I'm trying to
18· ·establish how much you knew about it for you
19· ·to be expressing the personal opinion that
20· ·you are.· That's all.
21· · · · · · What steps did you take to find out
22· ·what the case was about before you expressed
23· ·your personal opinion?
24· · · ·A.· ·There were a lot of videos and
25· ·statements made on YouTube and the Internet.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·There were investigations privately conducted
·3· ·that showed a lot of information.· But I did
·4· ·not have what was available in the courtroom.
·5· · · ·Q.· ·Do you -- do you dispute that you
·6· ·tweeted that Mr. Field did nothing wrong?
·7· · · ·A.· ·No, I do not dispute that.
·8· · · · · · MR. LEVINE:· Let's look at
·9· · · ·Exhibit 27.
10· · · · · · (Exhibit Number 27, Twitter
11· · · · · · Feed, was marked for
12· · · · · · identification.)
13· ·BY MR. LEVINE:
14· · · ·Q.· ·Is that one of the tweets by you on
15· ·or about May 30th?
16· · · ·A.· ·That appears to be.
17· · · ·Q.· ·"James Field did nothing wrong"?
18· · · ·A.· ·It appears that I wrote that.
19· · · ·Q.· ·And do you know who Hunter is?
20· · · ·A.· ·That would be Brad Griffin.
21· · · ·Q.· ·And he responded, "WOAH
22· ·Twitter.com."
23· · · · · · Do you see that?
24· · · ·A.· ·I don't believe that's responding to
25· ·me.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·Pardon?
·3· · · · · · Was he tweeting back at you, sir?
·4· · · ·A.· ·I believe, based on that format, it
·5· ·appears that I was retweeting something that
·6· ·he had tweeted, adding my words to it.
·7· · · ·Q.· ·Ah.· I see.· What about --
·8· · · · · · MR. LEVINE:· Let's look at
·9· · · ·Exhibit 28.
10· · · · · · (Exhibit Number 28, Twitter
11· · · · · · Feed, was marked for
12· · · · · · identification.)
13· ·BY MR. LEVINE:
14· · · ·Q.· ·Did you become aware of a Twitter
15· ·address Free James Fields?
16· · · ·A.· ·Yes, I did.
17· · · ·Q.· ·Do you know who authored that
18· ·Twitter address?
19· · · ·A.· ·I'm not sure where that originated
20· ·from.· I don't know.
21· · · ·Q.· ·I guess that's a hash tag; is that
22· ·right?
23· · · ·A.· ·It would appear so, yes.
24· · · ·Q.· ·And you repeated your tweet,
25· ·correct, "James Field did nothing wrong"?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·Yeah.· I retweeted that hash tag.
·3· · · · · · MR. LEVINE:· Let's look at
·4· · · ·Exhibit 29.
·5· · · · · · (Exhibit Number 29, Twitter
·6· · · · · · Feed, was marked for
·7· · · · · · identification.)
·8· ·BY MR. LEVINE:
·9· · · ·Q.· ·Is this an instance of your also
10· ·retweeting something relating to James Field?
11· · · ·A.· ·It would appear so.
12· · · ·Q.· ·Saying the same thing, "James Field
13· ·did nothing wrong," correct?
14· · · ·A.· ·I believe that was Americat saying
15· ·in this case that James Field did nothing
16· ·wrong.
17· · · ·Q.· ·Ah, okay.
18· · · ·A.· ·I'm not sure.
19· · · ·Q.· ·Who is Americat?
20· · · ·A.· ·I don't know.· Somebody on Twitter.
21· · · · · · MR. LEVINE:· And let's look at
22· · · ·Exhibit 30.
23· · · · · · (Exhibit Number 30, Twitter
24· · · · · · Feed, was marked for
25· · · · · · identification.)


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·BY MR. LEVINE:
·3· · · ·Q.· ·Is this an instance -- is this also
·4· ·from your Twitter account?
·5· · · ·A.· ·I'm sorry?· Say again.
·6· · · ·Q.· ·Is this also a retweet from your
·7· ·Twitter account?
·8· · · ·A.· ·It would appear so, yes.
·9· · · ·Q.· ·And you retweeting of a car plowing
10· ·through rioters in Portland, Oregon, correct?
11· · · ·A.· ·That was the subject of the video,
12· ·yes.
13· · · ·Q.· ·And you tweeted, "James Field did
14· ·nothing wrong," correct?
15· · · ·A.· ·Yes, that's correct.
16· · · ·Q.· ·Now where did you go on Saturday
17· ·after the rally or the -- the aborted rally?
18· ·Did you go back to the campground?
19· · · ·A.· ·Yes.
20· · · ·Q.· ·What were the accommodations at that
21· ·location?
22· · · ·A.· ·It was several cabins scattered
23· ·throughout a field in a wooded area.
24· · · ·Q.· ·So they were actually wooden cabins?
25· · · ·A.· ·Wood frame cabins, I believe.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·Were they open to the outside or
·3· ·closed?
·4· · · ·A.· ·They were closed.
·5· · · ·Q.· ·Did you have to share a cabin?
·6· · · ·A.· ·Yes, I did.
·7· · · ·Q.· ·Who did you share a cabin with?
·8· · · ·A.· ·There were several bedrooms in every
·9· ·cabin.· So there were several -- several
10· ·people in that cabin.
11· · · ·Q.· ·Who did you share the cabin with?
12· · · ·A.· ·I only recall Dr. Hill and Ike
13· ·Baker.· I can't remember who the other people
14· ·were sharing that cabin.
15· · · ·Q.· ·Was Dr. Hill's wife there?
16· · · ·A.· ·I don't recall.· I don't think so.
17· · · ·Q.· ·Is Ike Baker married?
18· · · ·A.· ·I'm sorry.· Will you repeat the
19· ·question?
20· · · ·Q.· ·Is Ike Baker married?
21· · · ·A.· ·I believe so.
22· · · ·Q.· ·Was his wife there?
23· · · ·A.· ·No, sir.
24· · · ·Q.· ·Are you married?
25· · · ·A.· ·Yes, I am.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·Was your wife there?
·3· · · ·A.· ·No, sir.
·4· · · ·Q.· ·Was there a beer party that night?
·5· · · ·A.· ·I think there was a beer party
·6· ·outside the cabins in the field, yes.
·7· · · ·Q.· ·Do you know a man by the name of
·8· ·David Duke?
·9· · · ·A.· ·I'm sorry.· Can you repeat the name?
10· · · ·Q.· ·David Duke?
11· · · ·A.· ·Yes.· Of course I do.
12· · · ·Q.· ·Do you know him personally?
13· · · ·A.· ·I have met him personally, yes.
14· · · ·Q.· ·Was he there at the campground that
15· ·night?
16· · · ·A.· ·I don't recall.
17· · · ·Q.· ·You don't recall?
18· · · ·A.· ·No, I don't.· I don't recall --
19· ·remember seeing his face that evening.                I
20· ·don't remember.
21· · · ·Q.· ·Have you heard him speak before?
22· · · ·A.· ·Yes, I have.
23· · · ·Q.· ·Do you know who arranged for
24· ·Mr. Duke to -- do you know -- withdrawn.
25· · · · · · Did you learn from Mr. -- from


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·Dr. Hill that there were -- that there was an
·3· ·invitation to David Duke to come to speak at
·4· ·the after party?
·5· · · ·A.· ·I don't recall that.
·6· · · ·Q.· ·You don't recall learning that from
·7· ·Dr. Hill, that he talked to Kessler about
·8· ·inviting Duke and Dr. Hill invited Duke?
·9· · · ·A.· ·It may -- that may be the case.                   I
10· ·just don't remember.· I -- first of all, I
11· ·don't drink beer and I don't attend beer
12· ·parties, and honestly no offense to Dr. Duke,
13· ·I don't really listen to his speeches much,
14· ·but...
15· · · ·Q.· ·Now, after -- after the unite --
16· ·withdrawn.
17· · · · · · You got up Sunday morning and drove
18· ·back to Jacksonville?
19· · · ·A.· ·Yes, sir.
20· · · ·Q.· ·And did you communicate with
21· ·Dr. Hill when you got back to Jacksonville?
22· · · ·A.· ·I don't recall, but that would be a
23· ·most likely scenario.
24· · · ·Q.· ·You listened to podcasts of Dr. Hill
25· ·and Harold Crews?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·It's embarrassing to say, but I'm
·3· ·really not very computer skilled and I'm not
·4· ·real sure how to listen to podcasts.· I might
·5· ·have been able to download something at one
·6· ·time or another, but I may have heard some
·7· ·podcasts by Dr. Hill.· I don't know.
·8· · · ·Q.· ·Were you banned by the City of
·9· ·Charlottesville from going to Charlottesville
10· ·after the event?
11· · · ·A.· ·I don't believe that my name
12· ·specifically was banned from Charlottesville,
13· ·as I recall.
14· · · ·Q.· ·Do you remember hearing that
15· ·Dr. Hill described the Unite the Right rally
16· ·as a success?
17· · · ·A.· ·I don't recall him labeling it a
18· ·success, but I don't doubt that he did.
19· · · ·Q.· ·Do you remember hearing Dr. Hill say
20· ·that he couldn't be happier with the way
21· ·things turned out at the Unite the Right
22· ·rally?
23· · · ·A.· ·No, I don't recall that.
24· · · ·Q.· ·But you definitely recall hearing
25· ·Dr. Hill describe it as a success, correct?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·At some point after that rally, I
·3· ·don't know when, but I probably heard him use
·4· ·the term "success" to describe it.
·5· · · ·Q.· ·Do you agree with him that it was a
·6· ·success?
·7· · · ·A.· ·With all due respect to Dr. Hill,
·8· ·sir, no, I do not.
·9· · · ·Q.· ·In what way -- do you agree with him
10· ·at all that it was a success?
11· · · ·A.· ·I'm sorry.· Could you repeat the
12· ·question, sir.
13· · · ·Q.· ·Do you agree with him at all that it
14· ·was a success?
15· · · ·A.· ·Again, no disrespect to Dr. Hill,
16· ·but I really can't find any success in the
17· ·trip to Charlottesville.
18· · · ·Q.· ·Do you believe anything was
19· ·accomplished in engaging in the violent
20· ·confrontation with the black -- the BLM
21· ·protesters?
22· · · ·A.· ·Could you restate that question,
23· ·sir?
24· · · ·Q.· ·Do you believe anything was
25· ·accomplished by League of the South in


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·engaging in the violent confrontation with
·3· ·the BLM and the group of protesters?
·4· · · ·A.· ·You're coming in a little bit broken
·5· ·again, but I believe I understood the
·6· ·question.
·7· · · · · · Any violent confrontation with BLM
·8· ·was instigated by BLM, and I don't feel that
·9· ·there was anything that could be called a
10· ·success with that.
11· · · ·Q.· ·Do you think anything was
12· ·accomplished in that violent confrontation?
13· · · ·A.· ·No, I don't.
14· · · ·Q.· ·Well, do you think that League of
15· ·the South, including you standing up to the
16· ·Black Lives Matter protesters, was --
17· ·accomplished scaring the Black Lives Matter
18· ·protesters?
19· · · ·A.· ·I'm sorry, sir.· You're coming in
20· ·distorted.· Could you repeat that.
21· · · ·Q.· ·Do you believe -- do you believe
22· ·that the violent encounter with the Black
23· ·Lives Matter and Antifa supporters scared
24· ·them?
25· · · ·A.· ·No, I don't believe it scared them


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·at all.
·3· · · ·Q.· ·Do you believe it scared them from
·4· ·engaging with you guys?
·5· · · ·A.· ·No.· I believe the evidence shows
·6· ·the contrary, that they were hellbent on
·7· ·violence against us.
·8· · · ·Q.· ·But having engaged in the violence,
·9· ·do you think they were scared once that
10· ·violence had taken place?
11· · · ·A.· ·Scared of what, sir?
12· · · ·Q.· ·Scared of you.
13· · · ·A.· ·No, I don't believe that anything we
14· ·did made them scared of us.· They fought us
15· ·all the way to the parking garage.
16· · · · · · (Exhibit Number 31, Message
17· · · · · · from Michael Tubbs to Michelle
18· · · · · · Tubbs, dated 1/15/18,
19· · · · · · Bates-stamped MH00000076, was
20· · · · · · marked for identification.)
21· ·BY MR. LEVINE:
22· · · ·Q.· ·I'm showing you a text that you sent
23· ·to Michelle Tubbs, and it says -- and it was
24· ·in January 2018, and it says, "The
25· ·leftist" -- "The leftists are scared to death


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·about what happened in Charlottesville.· They
·3· ·will be talking about it for years until we
·4· ·give them something better to talk about."
·5· · · · · · Did you write that?
·6· · · ·A.· ·I don't recall it, but the format
·7· ·again appears to possibly have been a source
·8· ·for me.
·9· · · ·Q.· ·So this is your text, sir?
10· · · ·A.· ·I don't know.· It could be.
11· · · ·Q.· ·And does it look like something
12· ·familiar that you sent?
13· · · ·A.· ·It doesn't look familiar.
14· · · ·Q.· ·Do you deny -- who's Michelle Tubbs?
15· · · ·A.· ·I'm sorry.· Could you repeat the
16· ·question.
17· · · ·Q.· ·Who is Michelle Tubbs?
18· · · ·A.· ·Michelle Tubbs?
19· · · ·Q.· ·Yes.
20· · · ·A.· ·Does that name appear in this
21· ·message?
22· · · ·Q.· ·Yes.
23· · · ·A.· ·That would be my daughter.
24· · · ·Q.· ·How old is your daughter?
25· · · ·A.· ·Approximately 32 or so.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·So do you recall telling her in
·3· ·January of 2018 that the leftists are scared
·4· ·to death about what happened at
·5· ·Charlottesville?
·6· · · ·A.· ·Do I recall it?
·7· · · ·Q.· ·Yes, sir.
·8· · · ·A.· ·I don't recall it --
·9· · · ·Q.· ·You see it --
10· · · ·A.· ·-- I don't recall having the entire
11· ·conversation like that with her.
12· · · ·Q.· ·Pardon?
13· · · ·A.· ·I'm not denying that I said it or
14· ·wrote it.· I just don't recall it.
15· · · ·Q.· ·And you produced this document.· Do
16· ·you realize that?
17· · · ·A.· ·The document that I'm looking at?
18· · · ·Q.· ·Yes.
19· · · ·A.· ·If you say that came from me, it
20· ·came from me.· I just don't recall it.                I
21· ·didn't say I denied it.· I just don't
22· ·remember it.
23· · · ·Q.· ·This document has an MT number on
24· ·the bottom, which means it was produced by
25· ·you.· So isn't it a fact that at one point


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·you believed that the leftists were scared to
·3· ·death about what happened in Charlottesville?
·4· · · ·A.· ·I might have believed that at one
·5· ·time.· I don't know.
·6· · · ·Q.· ·And, actually, having a violent
·7· ·encounter with that Black Lives Matter and
·8· ·Antifa was something that you wanted on that
·9· ·day; isn't that right?
10· · · ·A.· ·That is not correct, and I don't
11· ·believe there's any evidence to support that.
12· · · ·Q.· ·Well, you saw them 30 yards away and
13· ·continued to walk into them in order to have
14· ·the violent encounter.· Isn't that right,
15· ·Mr. Tubbs?
16· · · ·A.· ·Honestly, when we got into
17· ·Charlottesville, we had no idea about the
18· ·amount of violence that was going to be
19· ·directed at us.· It was a shock.· We thought
20· ·it would be very similar to events that we
21· ·had attended in other states.· But it was
22· ·nothing like that.· We had not expected this
23· ·kind of violence.
24· · · ·Q.· ·Well, when you were on McIntyre
25· ·Street and they were 30, 40 yards away, you


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·could have chosen not to march into them;
·3· ·isn't that right?
·4· · · ·A.· ·That's not correct.· We had nowhere
·5· ·else to go.· They were closing in behind us
·6· ·because they had been assaulting us for a
·7· ·block or two before we got to that roadblock.
·8· ·The police had the street to the right
·9· ·blocked off, and Antifa, Black Lives Matter,
10· ·Redneck Revolt and other Communist anarchist
11· ·groups had completely blocked off every other
12· ·exit.· The only place we had to go was the
13· ·park and we had to get through rioters to get
14· ·to the park.
15· · · ·Q.· ·But you proceeded to walk 30, 40
16· ·yards into them; isn't that right?
17· · · ·A.· ·I walked towards the direction that
18· ·would take us to the entrance of the park.
19· · · ·Q.· ·Knowing that the protesters were
20· ·there arm in arm blocking you, correct?
21· · · ·A.· ·I realized they were blocking us.                 I
22· ·didn't realize it would be difficult to get
23· ·through.
24· · · ·Q.· ·Let's go back to Exhibit 24.
25· · · · · · Isn't it a fact, Mr. Tubbs, contrary


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·to what you've testified to here today, that
·3· ·you actually like this kind of violence?
·4· · · · · · MR. JONES:· Objection.· Asked and
·5· · · ·answered.· Argumentative.
·6· ·BY MR. LEVINE:
·7· · · ·Q.· ·Answer the question, sir.
·8· · · ·A.· ·Could you say the question again?
·9· · · · · · MR. LEVINE:· Would the reporter
10· · · ·please read it back.
11· · · · · · (Previous question read back.)
12· ·BY MR. LEVINE:
13· · · ·Q.· ·Could you answer the question,
14· ·please?
15· · · ·A.· ·I'm thinking about it.
16· · · · · · I did not enjoy any of the violence
17· ·that was directed against us that day.
18· · · ·Q.· ·Now, you -- you actually
19· ·communicated with Charleen Braun about the
20· ·violence of that day, didn't you?
21· · · ·A.· ·I don't recall.· I might have.
22· · · ·Q.· ·You -- on September 16th you said to
23· ·her at 5:16 p.m. -- do you see that where you
24· ·wrote, "It's been hard for me to do the
25· ·traveling I used to"?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·I'm sorry.· What is the date?
·3· · · ·Q.· ·September 16th.
·4· · · ·A.· ·Yes, I see that.
·5· · · ·Q.· ·She was asking you if you were going
·6· ·to Tennessee, correct?
·7· · · ·A.· ·I'm trying to find where she's
·8· ·asking me if I'm going to Tennessee.
·9· · · ·Q.· ·Right below that.· It's the earlier
10· ·text.· She says, "Yes.· That video of the
11· ·burning is going crazy on Twitter.· Really
12· ·hate that you won't be in Tennessee.               I
13· ·understand, though."
14· · · ·A.· ·Yes, I see that.
15· · · ·Q.· ·And then you respond, "It's hard" --
16· ·"hard for me to do the traveling I used to,"
17· ·correct?
18· · · ·A.· ·It appears so, yes.
19· · · ·Q.· ·And then she said, "I bet.· You will
20· ·be missed, especially if there is
21· ·confrontations.· Your presence is always a
22· ·great thing to witness."
23· · · · · · You see she said that to you?
24· · · ·A.· ·I see that.
25· · · ·Q.· ·And you said, "I pray I don't miss


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·any good violence."
·3· · · · · · Didn't you say that?
·4· · · ·A.· ·I see that.
·5· · · ·Q.· ·And then moving up farther, you
·6· ·say -- she said, "I must admit, when
·7· ·recruiting, besides Paddy's video, I share
·8· ·pictures of Charlottesville and you and your,
·9· ·uh, background if you will.· What a total
10· ·badass you are.· You helped me recruit
11· ·20-something guys."
12· · · · · · Do you see that?
13· · · ·A.· ·I see that.
14· · · ·Q.· ·And you responded, "I pray I can
15· ·live up to the stories," correct?
16· · · ·A.· ·I see that.
17· · · ·Q.· ·So at least in respect of Charleen
18· ·Braun, you freely admitted to liking the
19· ·violence and leading the violence and the
20· ·reputation that you have as a badass; isn't
21· ·that right?
22· · · ·A.· ·Could you break that down into some
23· ·separate questions there?
24· · · ·Q.· ·In your communications with
25· ·Ms. Braun, you freely admitted to liking the


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·violence, correct?
·3· · · ·A.· ·That was probably a bit of bravado
·4· ·on my part.
·5· · · ·Q.· ·You said I don't miss -- "I pray I
·6· ·don't miss any good violence"; isn't that
·7· ·right?
·8· · · ·A.· ·I did say that.
·9· · · ·Q.· ·And she also told you you had been
10· ·an example that helped her recruit people to
11· ·League of the South; is that right?
12· · · ·A.· ·It appears that she says that.
13· · · ·Q.· ·And you said, "I pray I can live up
14· ·to those stories," right?
15· · · ·A.· ·I did say that there.
16· · · ·Q.· ·And that would mean pray that you
17· ·could live up to that reputation, correct?
18· · · ·A.· ·I pray every day that I can be the
19· ·man that people expect me to be in defense of
20· ·my people and the land.· That's about it.
21· · · ·Q.· ·And that person, that person,
22· ·Michael Tubbs, is a man who does not back
23· ·down from violence and who likes good
24· ·violence; isn't that right?
25· · · ·A.· ·I don't necessarily like it, but I


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·will not back down from it.
·3· · · ·Q.· ·Well, you actually said that you
·4· ·don't miss good violence.· That's more than
·5· ·not backing down, isn't it, Mr. Tubbs?
·6· · · ·A.· ·I'm sorry.· Could you restate that
·7· ·question.
·8· · · ·Q.· ·When you say you don't miss good
·9· ·violence, that's more than not backing down.
10· ·Wouldn't you agree?
11· · · ·A.· ·I wouldn't want my friends to be
12· ·involved in any violence by themselves that I
13· ·could not help them out in.· I would rather
14· ·be there to defend my friends.
15· · · ·Q.· ·This says -- this says nothing about
16· ·defending friends.
17· · · ·A.· ·Well, there's a lot of thoughts that
18· ·could be included in a sentence when one is
19· ·writing a sentence, sir.· Since I wrote that
20· ·sentence, I should know what it means.
21· · · ·Q.· ·Well, you also wrote the sentence,
22· ·"Maybe we all hope for it," and you now --
23· ·you testified earlier today that you weren't
24· ·referring to yourself.· Do you remember that?
25· · · ·A.· ·That is correct, because I used the


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·word "we," and I was including other people
·3· ·whom I had heard talk about it.
·4· · · ·Q.· ·And you testified earlier today that
·5· ·that "we" didn't include you; isn't that
·6· ·right?
·7· · · ·A.· ·Could you restate that question,
·8· ·please, sir.
·9· · · ·Q.· ·Didn't you testify earlier today
10· ·that when you texted/emailed Dr. Hill about
11· ·the "we hoped there would be violence," that
12· ·you testified that the "we" did not include
13· ·you?
14· · · ·A.· ·In that particular example, in that
15· ·specific message, I used the term "we" and
16· ·was not including myself.
17· · · ·Q.· ·But here, in responding to Charleen
18· ·Braun on basically the same subject, you told
19· ·her, "I pray I don't miss any good violence,"
20· ·correct?
21· · · ·A.· ·I did say that.
22· · · ·Q.· ·So how can the person who told
23· ·Charleen Braun in September 2018 say that he
24· ·doesn't miss good violence be a person six
25· ·months earlier denying when he's hoping for


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·violence he's talking about other people?
·3· · · ·A.· ·Sir, you're calling me a liar.· I've
·4· ·told you on more than one occasions when I
·5· ·used the word "we," I was not specifically
·6· ·mentioning myself but others instead in that
·7· ·particular sentence.
·8· · · · · · This is another message from six
·9· ·months later, you say, dealing with another
10· ·subject, another time.· We had people that
11· ·were going to an event in Tennessee, and I
12· ·was worried about them, and I don't want to
13· ·see my friends beaten and bloodied without me
14· ·being there to help them out.
15· · · ·Q.· ·Were you proud of the fact that
16· ·Ms. Braun was telling you that she used the
17· ·videos of Charlottesville to recruit new
18· ·members?
19· · · ·A.· ·Really, I've been kind of
20· ·embarrassed by the videos.
21· · · ·Q.· ·But you learned the videos -- the
22· ·violence demonstrated by League of the South
23· ·in the videos actually attracted new members,
24· ·didn't you?
25· · · ·A.· ·Could you state that question again.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·I said didn't you learn that the
·3· ·violence demonstrated by the League of the
·4· ·South in the videos actually attracted new
·5· ·members to the League of the South?
·6· · · ·A.· ·That's what she says in that
·7· ·sentence.
·8· · · ·Q.· ·And you were proud of that, aren't
·9· ·you?
10· · · ·A.· ·Did I say that I was proud somewhere
11· ·in that text?
12· · · ·Q.· ·I'm asking you.
13· · · ·A.· ·I don't recall being proud about
14· ·that.· I think actually I felt kind of
15· ·embarrassed about it.
16· · · ·Q.· ·And the point that Ms. Braun is
17· ·making is that in all of those videos, you
18· ·are seen in the front of the column leading
19· ·the group into the charge, correct?
20· ·Withdrawn.
21· · · · · · The point that Ms. Braun is making
22· ·is that in all of those videos, you are seen
23· ·in front of the column leading the group into
24· ·the violence; isn't that right?
25· · · ·A.· ·I'm not sure how people attacking


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·us, denying us our permitted rally, is
·3· ·somehow leading people to violence.
·4· · · ·Q.· ·In all of the videos, you are in the
·5· ·front of the column; isn't that right?
·6· · · ·A.· ·I am in front of the column, along
·7· ·with others.
·8· · · ·Q.· ·You were actually leading the
·9· ·column.· Isn't that right, Mr. Tubbs?
10· · · ·A.· ·No, that's not correct.
11· · · ·Q.· ·You were the commander of operations
12· ·that day.· Isn't that what Dr. Hill appointed
13· ·you as?
14· · · ·A.· ·I don't recall acting in that
15· ·capacity.· I was still under the leadership
16· ·of Dr. Hill and following his instructions.
17· · · ·Q.· ·Didn't we look at an email earlier
18· ·today in which Dr. Hill appointed you as
19· ·commander of operations of League of the
20· ·South on August 12th?
21· · · ·A.· ·Yes, we looked at that.
22· · · ·Q.· ·And didn't you function in that
23· ·capacity on August 12th?
24· · · ·A.· ·In some respects, in certain
25· ·instances, yes, I did.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·And you were in the front of the
·3· ·column marching when violence ensued; isn't
·4· ·that right?
·5· · · ·A.· ·Yes.· I was at the front when we
·6· ·were attacked.
·7· · · ·Q.· ·And then later when we saw you on
·8· ·the steps of the park, you led your group
·9· ·down the steps into the street for more
10· ·violent confrontation; isn't that right?
11· · · ·A.· ·I led that group into the street to
12· ·rescue our allies who were being beaten.
13· · · ·Q.· ·And those would be the videos and
14· ·the pictures that Ms. Braun is talking about;
15· ·isn't that right?
16· · · ·A.· ·I don't know what pictures she was
17· ·talking about.· She did not provide them in
18· ·that message.
19· · · ·Q.· ·Given your role in front of the
20· ·column and your leading the charge of the
21· ·League of the South people, why does it
22· ·matter to you so much that you're not
23· ·carrying a weapon to prove that you weren't
24· ·responsible for the violence?
25· · · ·A.· ·My goal that day was to prevent as


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·much violence as possible.· Watching the
·3· ·video, you can see that we had taken up a
·4· ·defensive position in front of those stairs.
·5· ·I was keeping their people away from our
·6· ·people and our people away from them as much
·7· ·as possible.· And whenever you saw me going
·8· ·into the crowd of those videos you can see
·9· ·that I was breaking up fights.· If we wanted
10· ·to confront the enemy with violence we could
11· ·have gone into that crowd with no other
12· ·purpose than to commit violence, but we
13· ·maintained a defensive position on the side
14· ·of that park until we were ordered back into
15· ·that crowd to return to our parking garage.
16· · · ·Q.· ·You think that the videos show that
17· ·you did everything you could to keep them
18· ·away from your people and keep your people
19· ·away from them?
20· · · ·A.· ·Yes, I do.· I know what my intention
21· ·was that day.
22· · · ·Q.· ·And you think that the videos show
23· ·that you did everything you could to keep the
24· ·League of the South and the others in your
25· ·column away from the counter-protestors and


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·did everything you can to keep -- could to
·3· ·keep counter-protestors away from your group?
·4· · · ·A.· ·Yes, I did.
·5· · · ·Q.· ·That's your testimony?
·6· · · · · · That's your testimony?
·7· · · ·A.· ·That is.
·8· · · ·Q.· ·Now, did you reach out to Mr. Jones
·9· ·to represent you or did Dr. Hill arrange for
10· ·Mr. Jones?
11· · · ·A.· ·Dr. Hill did.
12· · · ·Q.· ·And did you agree to be represented
13· ·by Dr. Jones -- by Bryan Jones?
14· · · ·A.· ·Yes, I did.
15· · · ·Q.· ·And did you receive from your lawyer
16· ·requests served on you and Dr. Hill to
17· ·preserve and produce evidence and documents
18· ·in discovery?
19· · · ·A.· ·Yes.
20· · · ·Q.· ·Now, you -- did you use Discord?
21· · · ·A.· ·I think I tried to use Discord, but
22· ·my lack of computer skills and equipment
23· ·would not allow me to properly converse on
24· ·that platform.
25· · · ·Q.· ·Did you ever get a channel or --


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·I don't think so.· I'm not certain
·3· ·how Discord works.
·4· · · ·Q.· ·Did you ever get a handle?
·5· · · ·A.· ·I'm sorry.
·6· · · ·Q.· ·I'm sorry.· Let's stop.· We're
·7· ·talking over one another.
·8· · · · · · Did you ever get a Discord handle?
·9· · · ·A.· ·I don't recall.
10· · · ·Q.· ·Isn't it a fact that you did use
11· ·Discord at some point?
12· · · ·A.· ·I think I might have, but I don't
13· ·recall.· It was -- I don't recall.
14· · · ·Q.· ·And you don't have any record of
15· ·what your handle was?
16· · · ·A.· ·No.· If I did get on Discord it was
17· ·a one-time short affair, I believe.· I could
18· ·not get it to work for me.
19· · · ·Q.· ·And what do you recall -- what
20· ·channel or server or what organization do you
21· ·recall on -- being on Discord for?
22· · · ·A.· ·I don't know anything about how
23· ·Discord works.· So I don't know what the
24· ·answer to that question is.
25· · · · · · MR. LEVINE:· Let's take a short


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·break.· Five-minute break.
·3· · · · · · THE VIDEOGRAPHER:· The time is
·4· · · ·2:46 p.m.· We're off the record.
·5· · · · · · (Break taken from 2:46 p.m. to
·6· · · · · · 2:56 p.m.)
·7· · · · · · THE VIDEOGRAPHER:· The time is
·8· · · ·2:56 p.m.· We're on the record.
·9· · · · · · MR. LEVINE:· I want to mark as
10· · · ·Exhibit 32, 33, and 34, three discovery
11· · · ·requests made of you in this case,
12· · · ·Mr. Tubbs.
13· · · · · · (Exhibit Number 32, Michael
14· · · · · · Hill, Michael Tubbs, and League
15· · · · · · of the South's Answers to
16· · · · · · Plaintiffs' First Set of
17· · · · · · Interrogatories to All
18· · · · · · Defendants, was marked for
19· · · · · · identification.)
20· ·BY MR. LEVINE:
21· · · ·Q.· ·Do you recall receiving discovery
22· ·requests from Mr. Jones that were served by
23· ·the plaintiffs on you?
24· · · ·A.· ·Yes, I do.
25· · · ·Q.· ·And this is the first one that


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·was -- you responded to.· Go to the end.
·3· · · · · · Is that your signature?
·4· · · ·A.· ·Yes, it is.
·5· · · ·Q.· ·And is the information above it
·6· ·information that at least as it relates to
·7· ·you is provided by you to your lawyer?
·8· · · ·A.· ·I'm not sure I understand the
·9· ·question, sir.
10· · · ·Q.· ·Well, there's information in here
11· ·about your phone number, correct?· Is (904)
12· ·483 --
13· · · ·A.· ·Yes, sir.
14· · · ·Q.· ·-- 0634 --
15· · · ·A.· ·Yeah, that's correct.
16· · · ·Q.· ·That's your number?
17· · · ·A.· ·Yes, it is.
18· · · ·Q.· ·And you see this was a question
19· ·asking for any means of communication
20· ·concerning Unite the Right and the other
21· ·events?
22· · · ·A.· ·Yes.
23· · · ·Q.· ·Okay.· Including the 18 digit
24· ·account identifier.
25· · · · · · Do you see that?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·Yes, sir.
·3· · · ·Q.· ·And --
·4· · · · · · MR. LEVINE:· Go to the end.
·5· ·BY MR. LEVINE:
·6· · · ·Q.· ·Okay.· And now look at Exhibit 33.
·7· ·That was the only disclosure that was made of
·8· ·means of communication, correct, in that
·9· ·document, telephone calls, in-person
10· ·meetings, cell phone, land line from League
11· ·of the South, Michael Tubbs's T-Mobile, three
12· ·email addresses for Mr. -- are you
13· ·"floridas_son"?
14· · · ·A.· ·Yes, I am.
15· · · ·Q.· ·Those were the only disclosures made
16· ·in that interrogatory answer, correct?
17· · · ·A.· ·I believe so.
18· · · · · · (Exhibit Number 33, Michael
19· · · · · · Tubbs's First Supplement to His
20· · · · · · Answer to Plaintiffs' First Set
21· · · · · · of Interrogatories to All
22· · · · · · Defendants, was marked for
23· · · · · · identification.)
24· ·BY MR. LEVINE:
25· · · ·Q.· ·Okay.· Then let's look at


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·Exhibit 41.· Yes.· Oh, I'm sorry.· This is
·3· ·Exhibit 33, not Exhibit 41.· I'm sorry,
·4· ·reporter.· And the exhibit before was 32, not
·5· ·40, for the court reporter.
·6· · · · · · So let's look at Exhibit 33, and
·7· ·let's look at the end.· This is a
·8· ·supplement -- this is entitled Michael
·9· ·Tubbs's First Supplement to His Answers.
10· · · · · · Do you see that?
11· · · ·A.· ·I do.
12· · · ·Q.· ·Okay.· Do you see you filled in
13· ·"Identify any other means of communication,"
14· ·correct?
15· · · ·A.· ·Could you repeat the question?
16· · · ·Q.· ·Other than your email address, you
17· ·still didn't identify any other means of
18· ·communication.· You identified the email
19· ·address and using Facebook screen names,
20· ·correct?
21· · · ·A.· ·That appears to be correct, yes,
22· ·sir.
23· · · · · · (Exhibit Number 34, Michael
24· · · · · · Tubbs's Second Supplement to
25· · · · · · His Answer to Plaintiffs' First


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · · · · Set of Interrogatories to All
·3· · · · · · Defendants, was marked for
·4· · · · · · identification.)
·5· ·BY MR. LEVINE:
·6· · · ·Q.· ·Okay.· And then let's look at what
·7· ·we'll mark as Exhibit 34, which is identified
·8· ·as your second supplement to your answers to
·9· ·our interrogatories.· And in this -- also in
10· ·Item 1, the means of communication, you
11· ·identified one more means, the ProtonMail
12· ·address, correct?
13· · · ·A.· ·Yes.
14· · · ·Q.· ·And still no other means of
15· ·communication, correct?
16· · · ·A.· ·I believe that's correct.
17· · · ·Q.· ·Now, as we've seen today, you
18· ·communicated with people about
19· ·Charlottesville on VK, correct?
20· · · ·A.· ·I believe so, yes.
21· · · ·Q.· ·And VK wasn't identified in these
22· ·interrogatories, correct?
23· · · ·A.· ·I guess.· I don't recall that.
24· · · ·Q.· ·And you communicated with people on
25· ·Signal, correct?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·Yes.· Connected with my phone
·3· ·number.
·4· · · ·Q.· ·Did you identify Signal in the
·5· ·answer to the interrogatories?
·6· · · ·A.· ·I don't recall.· I figured that was
·7· ·part of my phone that would be researched.
·8· · · · · · MR. LEVINE:· Let's look at -- mark
·9· · · ·Exhibit 36.· Hold on.· First let's mark
10· · · ·Exhibit 35.
11· · · · · · (Exhibit Number 35, Email
12· · · · · · Chain, Bates-stamped MH00014834
13· · · · · · - 835, was marked for
14· · · · · · identification.)
15· ·BY MR. LEVINE:
16· · · ·Q.· ·Take a look at Exhibit 35.
17· · · · · · Did you -- this is an email in or
18· ·about January 2019 from a man Rainbow
19· ·Bangalore on the ProtonMail email address
20· ·that went to Mr. -- to Dr. Hill, correct,
21· ·that was forwarded to you?
22· · · ·A.· ·That's what it appears, yes.
23· · · ·Q.· ·And it's relating to a visit that
24· ·one of the League members received from a --
25· ·from two ATF agents, correct?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·That's what the message appears to
·3· ·describe.
·4· · · ·Q.· ·And ATF is the federal law
·5· ·enforcement agency, the Bureau of Alcohol,
·6· ·Tobacco, and Firearms, correct?
·7· · · ·A.· ·That's what I understand.
·8· · · ·Q.· ·And Mr. -- Dr. Hill told you after
·9· ·reading this email to destroy it, right?
10· ·Correct?
11· · · ·A.· ·That's what it appears to say.
12· · · ·Q.· ·Did you and Dr. Hill have a -- kind
13· ·of a standing understanding that you would
14· ·destroy communications between one another so
15· ·that people like the plaintiffs in this case
16· ·and government couldn't see what you were
17· ·saying to one another?
18· · · ·A.· ·No.· If that was the case, he
19· ·wouldn't have had to made the note, "Please
20· ·read and destroy."
21· · · ·Q.· ·Did you delete this communication?
22· · · ·A.· ·I don't recall.· Was it found in my
23· ·emails?
24· · · ·Q.· ·I think the record will reflect
25· ·where it came from.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · · · · Did you set your auto Signal on
·3· ·delete?
·4· · · ·A.· ·For what platform?
·5· · · ·Q.· ·Signal.
·6· · · ·A.· ·I think Signal automatically comes
·7· ·with a number of automatic delete times.
·8· · · ·Q.· ·And did you ever change that for
·9· ·them not to be deleted?
10· · · ·A.· ·I've always had it set to delete for
11· ·some amount of time.
12· · · ·Q.· ·Do you recall what kind of time?
13· · · ·A.· ·Anywhere from 30 minutes to a week
14· ·to a month.
15· · · ·Q.· ·Your Signal is set to delete within
16· ·a month?
17· · · ·A.· ·Can you say that question again?
18· · · ·Q.· ·So your Signal -- your use of Signal
19· ·is set to delete within a month?
20· · · ·A.· ·I think I have it set for at least
21· ·two weeks right now.· Like I say, it has been
22· ·different -- different time periods.
23· · · ·Q.· ·Since you got a document request in
24· ·this case have you changed the auto delete?
25· · · ·A.· ·Sorry.· What was the question?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·Since you got a document request in
·3· ·this case, did you take any steps to preserve
·4· ·any of your Signal texts?
·5· · · ·A.· ·Not since they took my phone and
·6· ·reviewed it.
·7· · · ·Q.· ·When they took your phone and
·8· ·reviewed it, that was some year or so after
·9· ·August 2017, correct?
10· · · ·A.· ·I believe so.
11· · · ·Q.· ·And during the time from the event
12· ·until they actually took your phone, your
13· ·auto delete function was working, correct?
14· · · ·A.· ·I don't know.· I don't remember what
15· ·it was set for back then.
16· · · ·Q.· ·Well, did you ever turn it off?
17· · · ·A.· ·I don't know there's a way to turn
18· ·that off on Signal.
19· · · ·Q.· ·Didn't you learn -- didn't you learn
20· ·for many months before you actually turned
21· ·your phone over that the plaintiffs had
22· ·served a discovery request that asked for the
23· ·imaging of the phones?
24· · · ·A.· ·Yes, I did.
25· · · ·Q.· ·And did you take any steps to


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·preserve any of your texts during that
·3· ·period?
·4· · · ·A.· ·Well, I lost my original phone that
·5· ·I had during Charlottesville.· I was only
·6· ·able to move the chip over to a new phone.                 I
·7· ·don't know what was preserved by that chip.
·8· ·I discussed that with my attorney.
·9· · · ·Q.· ·Isn't it a fact that you actually
10· ·deleted emails from your Proton account
11· ·during that period?
12· · · ·A.· ·My Proton account under that then
13· ·email address was froze up and
14· ·nonfunctioning.· I was trying to get it to
15· ·work again.· For some reason, it --
16· · · · · · MR. LEVINE:· Let's take -- let's
17· · · ·mark -- let's mark Exhibit 36.
18· · · · · · (Exhibit Number 36, VK Profile
19· · · · · · Log, Bates-stamped MT00000314 -
20· · · · · · 324, was marked for
21· · · · · · identification.)
22· ·BY MR. LEVINE:
23· · · ·Q.· ·This is your VK log, profile log
24· ·posted on your wall on VK.· "Is anyone else
25· ·having trouble with their ProtonMail telling


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·them that they are full and can no longer
·3· ·send or receive emails?· I deleted a whole
·4· ·lot of mails out of my mailbox and only have
·5· ·37 emails in it, and I'm still being told I
·6· ·cannot send or receive emails."
·7· · · · · · Did you write that?
·8· · · ·A.· ·I believe I did.
·9· · · ·Q.· ·And that was sometime in 2019,
10· ·correct?
11· · · ·A.· ·Yes.· That was last year.
12· · · ·Q.· ·And so when did you delete a whole
13· ·lot of emails out of your mailbox on VK?
14· · · ·A.· ·I think it might have been the day
15· ·before or the same day that I posted this.
16· · · ·Q.· ·And so as of that day, then, you
17· ·deleted what could be many texts -- VK --
18· ·texts on VK with League of the South members
19· ·about the events, correct?
20· · · ·A.· ·I don't believe there were any
21· ·emails related to the events in my emails.
22· ·It was just garbage emails.
23· · · · · · MR. LEVINE:· Let's mark Exhibit 37.
24· · · · · · (Exhibit Number 37, Messages
25· · · · · · Between Michael Tubbs and Tony


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · · · · Jenkins, Bates-stamped
·3· · · · · · MT00000289 - 291, was marked
·4· · · · · · for identification.)
·5· ·BY MR. LEVINE:
·6· · · ·Q.· ·Look here -- Mr. Jenkins is a League
·7· ·of the South person that you communicated
·8· ·with?
·9· · · ·A.· ·He was at one time.
10· · · ·Q.· ·Did you stop communicating with him?
11· · · ·A.· ·At what point?
12· · · ·Q.· ·I'm asking you.· Did you?
13· · · ·A.· ·Yes.· I haven't communicated with
14· ·him in some time.
15· · · ·Q.· ·You see your communication with him
16· ·on November 13th, 2017, at 10:04 he says,
17· ·"I'll get back to work.· I'm prepping this
18· ·week for Friday and Saturday move"?
19· · · ·A.· ·Yes, I see it.
20· · · ·Q.· ·And it says, "Be well" --
21· · · ·A.· ·Yeah.
22· · · ·Q.· ·And then, "Sounds good.· Take care,
23· ·sir.· I'm going to set our Signal
24· ·communications to be deleted after 12 hours."
25· · · · · · Do you see that?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·I see that.
·3· · · ·Q.· ·Does that refresh your recollection
·4· ·that back in November of 2017 you set the
·5· ·Signal for a 12-hour delete?
·6· · · ·A.· ·Well, he set it up on his end so
·7· ·that his communications would be deleted
·8· ·after 12 hours.
·9· · · ·Q.· ·This is you're saying to him.· "I'm
10· ·going to set our Signal communications up."
11· ·It says you at 10:04.· This is you speaking,
12· ·sir.
13· · · ·A.· ·Okay.· I got you.
14· · · ·Q.· ·Okay.· So was he -- was Mr. Jenkins
15· ·in the Florida League chapter?
16· · · ·A.· ·He was for a short time.
17· · · ·Q.· ·And did you have a falling-out with
18· ·him?
19· · · ·A.· ·No.· He just -- he just decided the
20· ·League wasn't for him.
21· · · ·Q.· ·Was he in Charlottesville in August?
22· · · ·A.· ·No, he wasn't.
23· · · ·Q.· ·Do you recall in November 2017 what
24· ·your Signal communications delete provision
25· ·was, what it was set at?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·A.· ·No, I don't recall what it was set
·3· ·for then.
·4· · · ·Q.· ·Did you ever complete forms for
·5· ·Facebook, for Facebook to produce to the
·6· ·plaintiffs your Facebook account?
·7· · · ·A.· ·Yes, I did.· I attempted to get
·8· ·Facebook to restore those under the
·9· ·instructions of my attorney, and I don't
10· ·believe they were successful.
11· · · ·Q.· ·And you don't record the Discord
12· ·handle that you used; is that right?
13· · · ·A.· ·I don't remember much of anything at
14· ·all about Discord except for bits and pieces
15· ·of a conversation that were taking place.
16· · · ·Q.· ·And did you ever produce a Proton
17· ·password?
18· · · ·A.· ·I believe I did.· I believe I
19· ·provided that to my attorney.
20· · · ·Q.· ·Now, Mr. Hill provided supplemental
21· ·answers describing the events just this week.
22· ·Did you ever decide whether you were going to
23· ·supplement the interrogatories with an
24· ·explanation for the questions?
25· · · ·A.· ·I had communicated with Dr. Hill.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·It was perhaps a misunderstanding that he was
·3· ·covering all the same questions.
·4· · · ·Q.· ·So Dr. Hill's response includes
·5· ·response from you?
·6· · · ·A.· ·We had -- we had discussed some of
·7· ·the questions that were on it.
·8· · · ·Q.· ·So Dr. Hill did submit a response
·9· ·from League of the South.· Would that League
10· ·of the South response have included
11· ·information from you?
12· · · ·A.· ·I believe so.
13· · · ·Q.· ·Did you have an opportunity to look
14· ·at what he wrote before it was filed and
15· ·served on us?
16· · · ·A.· ·I did.· I did.
17· · · ·Q.· ·And did you approve of it?
18· · · ·A.· ·I basically skimmed over it.                I
19· ·thought for the most part it would suffice.
20· · · ·Q.· ·Did you think of anything that was
21· ·missing?
22· · · ·A.· ·I didn't recognize anything.
23· · · ·Q.· ·Now, we have the text messages that
24· ·I showed you that identified your phone
25· ·number.· They were produced by Dr. Hill.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·They were not produced by you.· We have
·3· ·received no text message, I don't believe,
·4· ·that were produced by you.· Are all the text
·5· ·messages that you created deleted?
·6· · · ·A.· ·I have no idea.· You're talking
·7· ·about on what format?
·8· · · ·Q.· ·The phone format.
·9· · · ·A.· ·Well, I told you that I lost my
10· ·original phone.· I'm using a new phone.· The
11· ·new phone is the phone that they recovered
12· ·information from.
13· · · ·Q.· ·So the auto -- the Signal system had
14· ·an auto delete.· The Facebook forms were not
15· ·adequate to produce Facebook information.
16· ·You don't remember the Discord handle that
17· ·you used.· You don't know if you produced the
18· ·Proton password.· The VK site says, you said
19· ·in your own words you deleted emails, and the
20· ·text messages mostly that have been produced
21· ·are from Mr. Hill.
22· · · · · · MR. JONES:· Object to the form of
23· · · ·the question, if it is a question.
24· ·BY MR. LEVINE:
25· · · ·Q.· ·Have you taken any steps with your


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·lawyer to try to produce documents that you
·3· ·were required to produce in this case?
·4· · · ·A.· ·I've taken extensive steps under the
·5· ·directions of my attorney to recover as much
·6· ·information as possible from the sources that
·7· ·you cited.· I've tried to provide passwords
·8· ·and I have contacted Facebook and ProtonMail
·9· ·in efforts to bring up old accounts, and my
10· ·attorney can confirm this.
11· · · ·Q.· ·Finally, Mr. -- Mr. Tubbs, you were
12· ·in the military, correct?
13· · · ·A.· ·Yes, I was.
14· · · ·Q.· ·And in the U.S. Army?· Did you
15· ·enlist?
16· · · ·A.· ·Yes, I did.
17· · · ·Q.· ·And what was your highest rank?
18· · · ·A.· ·E-7.
19· · · ·Q.· ·And were you a Green Beret?
20· · · ·A.· ·I was a Special Forces Soldier, yes.
21· · · ·Q.· ·And did you have an honorable
22· ·discharge?
23· · · ·A.· ·I had a general discharge.
24· · · ·Q.· ·When was that?
25· · · ·A.· ·Approximately 1990.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·And do you have any convictions for
·3· ·misdemeanors or felonies?
·4· · · ·A.· ·Yes, I do.
·5· · · ·Q.· ·What's the oldest one that you have?
·6· · · ·A.· ·I have two of them, and both of them
·7· ·occurred at the same time.· Those are the
·8· ·only charges I've ever received.· It was in
·9· ·1990.
10· · · ·Q.· ·And did you go to trial or did you
11· ·plead guilty?
12· · · ·A.· ·I pled guilty.
13· · · ·Q.· ·And were they to federal charges or
14· ·state charges?
15· · · ·A.· ·They were federal charges.
16· · · ·Q.· ·What statute did you plead guilty
17· ·to?
18· · · ·A.· ·Theft of government property and a
19· ·conspiracy charge.
20· · · ·Q.· ·Were there other people charged with
21· ·you in the conspiracy charge?
22· · · ·A.· ·Yes.
23· · · ·Q.· ·Did they plead guilty or did they go
24· ·to trial?
25· · · ·A.· ·They pled guilty even though they


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·were found unindictable by a grand jury.
·3· · · ·Q.· ·Did you ever testify before the
·4· ·grand jury in that investigation?
·5· · · ·A.· ·No.
·6· · · ·Q.· ·Did you ever testify at a trial
·7· ·after you pled guilty?
·8· · · ·A.· ·No.
·9· · · ·Q.· ·What statute did you -- do you
10· ·recall the statute besides the conspiracy
11· ·statute that you pled guilty to?
12· · · ·A.· ·The exact charge was conspiracy to
13· ·transport in interstate commerce unregistered
14· ·firearms and explosive devices.
15· · · ·Q.· ·And did you end up serving a
16· ·sentence?
17· · · ·A.· ·Yes, I did.
18· · · ·Q.· ·For how long did you serve?
19· · · ·A.· ·Approximately four and a half years.
20· · · ·Q.· ·Where?
21· · · ·A.· ·Two federal correctional
22· ·institutions, one at Tallahassee, Florida,
23· ·and one in Jesup, Georgia.
24· · · ·Q.· ·How long were you in the Army, sir?
25· · · ·A.· ·Approximately 13 years.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·And did you serve overseas?
·3· · · ·A.· ·Yes, I did.
·4· · · ·Q.· ·Where?
·5· · · ·A.· ·Europe, Caribbean, North Africa,
·6· ·Middle Asian.
·7· · · ·Q.· ·What's Knights of the New Order?
·8· · · ·A.· ·That was a fictitious organization
·9· ·that never existed.
10· · · ·Q.· ·And was that a fictitious
11· ·organization that you created?
12· · · ·A.· ·Yes.
13· · · ·Q.· ·And did that fictitious organization
14· ·have targets of people that it was going to
15· ·focus on?
16· · · ·A.· ·No.· That's a newspaper fabrication.
17· · · ·Q.· ·Did the newspaper say that the
18· ·targets included businesses owned by Jews and
19· ·black people?
20· · · ·A.· ·Yes, the newspaper did fabricate
21· ·that story.
22· · · ·Q.· ·And was there a search done of your
23· ·premises at the time of your arrest?
24· · · ·A.· ·Yes.
25· · · ·Q.· ·And were weapons found in your --


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·was it your home?
·3· · · ·A.· ·No weapons were found in my home.
·4· · · ·Q.· ·Where was the search performed?
·5· ·Withdrawn.
·6· · · · · · Were you in the service when this
·7· ·arrest took place?
·8· · · ·A.· ·Yes.
·9· · · ·Q.· ·So were the -- what was found in the
10· ·search?
11· · · ·A.· ·There were numerous searches at
12· ·numerous locations, and basically the items
13· ·fell under the category described earlier as
14· ·unregistered firearm explosives and
15· ·destructive devices.
16· · · ·Q.· ·Did they include Soviet AR-15?
17· · · ·A.· ·There's no such thing as a Soviet
18· ·AR-15.· You're probably being misled by
19· ·another newspaper fabrication.
20· · · ·Q.· ·What weapons were found, sir?
21· · · ·A.· ·Rifles, shotguns, machine guns,
22· ·submachine guns, pistols.
23· · · ·Q.· ·Had you sold or tried to sell any of
24· ·those firearms in the United States?
25· · · ·A.· ·No.· That was a question asked by


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·the federal government.· I told them no at
·3· ·that time as well.
·4· · · ·Q.· ·What -- what did you acquire those
·5· ·firearms and explosives for?
·6· · · ·A.· ·I didn't have a particular purpose.
·7· ·Otherwise the purpose would have been
·8· ·demonstrated.
·9· · · ·Q.· ·When you were arrested or at some
10· ·point did you identify -- did you say this is
11· ·for the Klan?
12· · · ·A.· ·No.· That is another newspaper
13· ·fabrication.
14· · · ·Q.· ·Did you ever identify the weapons
15· ·that you had in your possession as being
16· ·associated with your White Nationalist
17· ·activities or your Southern Nationalist
18· ·activities?
19· · · ·A.· ·I was not a Southern Nationalist at
20· ·that time and I never shared knowledge of
21· ·those items with anybody.
22· · · ·Q.· ·But you said there were people
23· ·convicted with you in a conspiracy charge.
24· · · ·A.· ·That is correct.
25· · · ·Q.· ·So in order to plead guilty to a


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·conspiracy charge, the judge asked you who
·3· ·you conspired with.· Who did you testify in
·4· ·your allocution that you conspired with?
·5· · · ·A.· ·I did not testify that I conspired
·6· ·with anybody.· The ATF asked me if I had
·7· ·thanked anybody for assisting me while I was
·8· ·overseas, and I told them I said, "Thank
·9· ·you," and that was enough for me to be
10· ·charged with a conspiracy charge.
11· · · ·Q.· ·Well, when you appeared before the
12· ·judge to plead guilty, do you recall that?
13· · · ·A.· ·Yes.
14· · · ·Q.· ·And do you recall if the judge asked
15· ·you when you pled guilty what you did that
16· ·would make you believe that you were guilty?
17· ·Do you recall that question?
18· · · ·A.· ·I don't recall it.
19· · · ·Q.· ·It's a standard question asked
20· ·anyone pleading guilty to a federal offense.
21· ·You would have been asked what you did that
22· ·made you believe that you were guilty.· What
23· ·did you tell the judge -- or who did you
24· ·identify for the judge that you conspired
25· ·with in order to plead guilty to conspiracy?


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · · · · MR. JONES:· Objection.· Asked and
·3· · · ·answered.
·4· ·BY MR. LEVINE:
·5· · · ·Q.· ·Answer, please.
·6· · · ·A.· ·I did not tell the judge that I
·7· ·conspired with anybody, to the best of my
·8· ·memory.
·9· · · ·Q.· ·You had to identify someone, sir.
10· ·You couldn't have taken a plea to conspiracy
11· ·without it.
12· · · ·A.· ·These people were identified without
13· ·any help from --
14· · · · · · MR. JONES:· I'm going to object --
15· · · ·just a minute, Mr. Tubbs.· I'm going to
16· · · ·object.· It's argumentative.
17· ·BY MR. LEVINE:
18· · · ·Q.· ·You can answer, Mr. Tubbs.
19· · · · · · MR. JONES:· Was it a question?
20· · · ·Repeat the question.
21· ·BY MR. LEVINE:
22· · · ·Q.· ·Who did you identify, sir, if you
23· ·can recall, that you engaged in the
24· ·conspiracy with?
25· · · · · · MR. JONES:· Objection.· Asked and


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·answered.· This is the fourth time
·3· · · ·you've asked the same question.
·4· · · · · · MR. LEVINE:· Because I haven't
·5· · · ·gotten an answer yet, Mr. Jones.
·6· · · · · · THE WITNESS:· I did not have to
·7· · · ·identify anyone.· The federal government
·8· · · ·had already identified these people.
·9· ·BY MR. LEVINE:
10· · · ·Q.· ·Who did the federal government --
11· ·who did the prosecutor identify to the judge
12· ·while you were standing there were the people
13· ·that you conspired with?
14· · · ·A.· ·I don't recall that being the
15· ·situation.· It's been a very, very long time,
16· ·but it was two friends and a family member.
17· · · ·Q.· ·And where were the friends from?
18· · · ·A.· ·Jacksonville.
19· · · ·Q.· ·Do you know their names?
20· · · ·A.· ·I do.
21· · · ·Q.· ·What are their names?
22· · · ·A.· ·Why do I need to divulge that
23· ·information?
24· · · ·Q.· ·I'm asking you a question, sir,
25· ·that's not privileged.· This -- this


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· ·transcript is actually sealed until it's
·3· ·unsealed, and your lawyer can insist that
·4· ·this piece remain sealed if he chooses to do
·5· ·so.· You have to answer the question, sir.
·6· · · ·A.· ·I have to answer this question?· Is
·7· ·that what --
·8· · · · · · MR. LEVINE:· Mr. Jones, can I get an
·9· · · ·answer to the question, please?
10· · · · · · MR. JONES:· Sir, you're asking
11· · · ·Mr. Tubbs to answer the question?
12· · · · · · MR. LEVINE:· Yes, I am.· And all
13· · · ·counsel know that there's a
14· · · ·confidentiality order that applies to
15· · · ·all these depositions and that after a
16· · · ·period of time the confidentiality order
17· · · ·is lifted unless a counsel decides it's
18· · · ·not to be lifted, and then we discuss
19· · · ·it.
20· ·BY MR. LEVINE:
21· · · ·Q.· ·So Mr. Tubbs, you have no concern
22· ·here of this -- of this transcript and this
23· ·part being released unless you have no
24· ·objection ultimately to that happening.
25· · · · · · MR. JONES:· Do we have a good-faith


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·1· · · · · ·MICHAEL R. TUBBS
·2· ·basis for why this would lead to
·3· ·discoverable information relevant to
·4· ·this case?
·5· · · · MR. LEVINE:· I'm entitled to ask him
·6· ·about his background and convictions
·7· ·like this kind of conviction where the
·8· ·underlying facts reported in newspapers
·9· ·relate to white supremacy activities,
10· ·yes, I do have a good faith reason.
11· · · · THE WITNESS:· The two individuals
12· ·that were charged with conspiracy were
13· ·not White Supremacists.· They were
14· ·merely friends who were trying to help
15· ·me out while I was deployed overseas.
16· ·Their lives have been ruined 30 years
17· ·ago because of this.· And you want me to
18· ·tell me their names?
19· · · · MR. LEVINE:· Please, Mr. Jones,
20· ·instruct your client to answer the
21· ·question.
22· · · · MR. JONES:· If you need a break so I
23· ·can talk to my client, we can do that.
24· · · · MR. LEVINE:· Sure.· You know what?
25· ·I'll do better than that.· I'm going to


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·adjourn the deposition.· We're done for
·3· · · ·the day, and you confer with your client
·4· · · ·and you can provide me with the
·5· · · ·disclosure by letter.
·6· · · · · · MR. JONES:· Understood.· Thank you,
·7· · · ·sir.
·8· · · · · · MR. LEVINE:· And I'd like that
·9· · · ·disclosure within 30 days of your
10· · · ·receipt of the draft of the transcript.
11· · · · · · THE WITNESS:· And can you repeat,
12· · · ·sir, exactly what information that you'd
13· · · ·like to have?
14· · · · · · MR. LEVINE:· I'd like to know the
15· · · ·names of the individuals, the two
16· · · ·friends and the family that were your --
17· · · ·were identified as coconspirators in the
18· · · ·charge that you pled guilty to.
19· · · · · · THE WITNESS:· Yes, sir.· Can I
20· · · ·provide that information to my attorney
21· · · ·and have him send it to you?
22· ·BY MR. LEVINE:
23· · · ·Q.· ·That's exactly what I said,
24· ·Mr. Tubbs.· That's exactly what I said.
25· · · ·A.· ·I just wanted to be clear, sir.


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·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · ·Q.· ·Directly.· Sir, you don't send
·3· ·anything to me directly.· You send the
·4· ·material to your lawyer and I communicate
·5· ·with Mr. Jones.
·6· · · ·A.· ·My apologies for not knowing the
·7· ·proper channels, sir.
·8· · · ·Q.· ·No apology necessary.· Thank you
·9· ·for -- close the deposition at 3:34 p.m.
10· · · · · · THE VIDEOGRAPHER:· The time is
11· · · ·3:34 p.m.· We're off the record.
12· · · · · · CERTIFIED STENOGRAPHER:· Mr. Bryan,
13· · · ·do you need a copy of the transcript --
14· · · · · · MR. JONES:· Yes, I don't need --
15· · · · · · MR. LEVINE:· Oh wait.· Oh wait.
16· · · ·Madam reporter, go back on the record
17· · · ·for one second please.
18· · · · · · THE VIDEOGRAPHER:· Want me to go on
19· · · ·video as well or just the reporter?
20· · · · · · MR. LEVINE:· No, we don't need
21· · · ·video.
22· · · · · · THE VIDEOGRAPHER:· Okay.
23· · · · · · MR. LEVINE:· Mr. Tubbs raised
24· · · ·questions earlier in the day about
25· · · ·Exhibit 18, which was a YouTube video


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·1· · · · · ·MICHAEL R. TUBBS
·2· ·and identified as a YouTube video for
·3· ·August 12th, 2017, and he said in his
·4· ·testimony that if we, the plaintiffs,
·5· ·had only not cut off the video, and let
·6· ·it run until five minutes into the video
·7· ·that we would see whatever events he was
·8· ·suggesting were in the video.· And I
·9· ·represent to Mr. Tubbs and to you,
10· ·Mr. Jones, that the exhibit that we were
11· ·referring to, this Exhibit 18, it's a
12· ·YouTube video as it was identified.
13· ·That video on YouTube was 25 seconds
14· ·long.· We played the entire video during
15· ·this deposition.· I do not know the
16· ·video that Mr. Tubbs is talking about,
17· ·and I ask you to produce that video to
18· ·us.· Thank you.· Nothing further.
19· · · · MR. JONES:· Yes, please do prepare
20· ·and send a transcript.· I don't need it
21· ·rushed.· I can just have it sort of
22· ·standard.
23· · · · CERTIFIED STENOGRAPHER:· Do you need
24· ·a rough draft?
25· · · · MR. JONES:· No.


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                                                                           Page 227
·1· · · · · · · ·MICHAEL R. TUBBS
·2· · · · · · CERTIFIED STENOGRAPHER:· Thank you.
·3· · · · · · MR. CAMPBELL:· Madam Court Reporter,
·4· · · ·this is Dave Campbell.· I don't need to
·5· · · ·order at this time.
·6· · · · · · CERTIFIED STENOGRAPHER:· Okay.
·7· · · ·Thank you.
·8· · · · · · MR. CAMPBELL:· Thank you.
·9· · · · · · MR. KOLENICH:· Jim Kolenich, I'll
10· · · ·also pass at this time.
11· · · · · · (Concluded at 3:37 p.m.)
12
13
14· · · · · · ____________________________
15· · · · · · MICHAEL R. TUBBS
16
17· ·Subscribed and sworn to before me
18· ·this ___ day of ____________, 2020.
19
20· ·____________________________________
21· ·(Notary Public)
22
23· ·My Commission expires:______________
24
25


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                                                                           Page 228
·1· · · · · · · · ·CERTIFICATE OF OATH
·2
·3· ·STATE OF FLORIDA
·4· ·COUNTY OF POLK
·5
·6· · · · · · · I, the undersigned authority,
·7· ·certify that MICHAEL R. TUBBS remotely appeared
·8· ·before me and was duly sworn.
·9
10· · · · · · · WITNESS my hand and official seal
11· ·this 25th day of June, 2020.
12
13
14
15· ·_________________________________________________
16· ·Rhonda Hall-Breuwet, RDR, CRR, LCR, CCR, FPR
17· ·Notary Public - State of Florida
18· ·My Commission Expires:· 9/28/23
19· ·Commission No. GG 360849
20
21
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                                                                           Page 229
·1· · · · · · · · C E R T I F I C A T E
·2· ·STATE OF FLORIDA:
·3
·4· · · · · · · I, RHONDA HALL-BREUWET, RDR, CRR,
·5· ·LCR, CCR, FPR, stenographic shorthand reporter,
·6· ·do hereby certify:
·7· · · · · · · That the witness whose deposition is
·8· ·hereinbefore set forth was duly sworn, and that
·9· ·such deposition is a true record of the
10· ·testimony given by such witness.
11· · · · · · · I further certify that I am not
12· ·related to any of the parties to this action by
13· ·blood or marriage, and that I am in no way
14· ·interested in the outcome of this matter.
15· · · · · · · IN WITNESS WHEREOF, I have hereunto
16· ·set my hand this 25th day of June, 2020.
17
18· · · · __________________________________________________
19· · · · RHONDA HALL-BREUWET, RDR, CRR, LCR, CCR, FPR
20· · · · Stenographic Shorthand Reporter
21
22
23
24
25


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                                                                           Page 230
·1· ·NAME OF CASE:
·2· ·DATE OF DEPOSITION:
·3· ·NAME OF WITNESS:
·4· ·Reason Codes:
·5· · · · 1.· To clarify the record.
·6· · · · 2.· To conform to the facts.
·7· · · · 3.· To correct transcription errors.
·8· ·Page ______ Line ______ Reason ______
·9· ·From _____________________ to _____________________
10· ·Page ______ Line ______ Reason ______
11· ·From _____________________ to _____________________
12· ·Page ______ Line ______ Reason ______
13· ·From _____________________ to _____________________
14· ·Page ______ Line ______ Reason ______
15· ·From _____________________ to _____________________
16· ·Page ______ Line ______ Reason ______
17· ·From _____________________ to _____________________
18· ·Page ______ Line ______ Reason ______
19· ·From _____________________ to _____________________
20· ·Page ______ Line ______ Reason ______
21· ·From _____________________ to _____________________
22· ·Page ______ Line ______ Reason ______
23· ·From _____________________ to _____________________
24
25· · · · · · · · · · · · · · · ________________________




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